                                                                              Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 1 of 136



                                                                                                                                                                                                         Investigator Name: Remmel Jae Inabangan




                                                                            Evidence Collection Report
   Page Title
   Amazon.com: Smiley Car Charm,Rear View Mirror Charm,Acrylic Mirror Hanger,Car Accessories,Car Ornament Rear View Mirror Accessories Car Ornament White Clothing,
                                                                                                                                                          :         Shoes & Jewelry

   URL
   https://www.amazon.com/dp/B0C27P4BWR

   Collection Date
   Fri, 11 Aug 2023 08:24:44 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.167

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   s8zHMzxRHBSPY/5rVFdClI9j8yMTsEyZRp3CEZJAYRIE7Oxbiz90ipk2bhgRPhfh6ay+PTrzZ8hYGJVC3UHtiq5/UdqtvgpTAxdCnc/iv/3I7zZnz2RphZ8px/i+XoDAzvjJ5zBtMzKr0rFfGShzkYsYhnqGdyAMj2FSHw+ufB4IvmHDtLA0ZVWVNXKo6ryYhRY
   +m7XSB9PH9p1jryPwXgjNpsoLO3+u2J4QfSFtf1UMToKljR6ioQsUrhwrl586ze1y5jOTSU9GIvO8peuDPTQpiglwNVTy8iUahGwLvmd2vThiiUEGKlCzOiR0C/+12ASlXnabrYQPEmoDBxqvuA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0C27P4BWR]]_Fri,-11-Aug-2023-08-24-44-GMT.mhtml

   Hash (SHA256)
   1148d638c350581a5a985b18a5425d6b5227637400b17a870a4ebfcd051e54b4

   Signature (PKCS#1v1.5)
GRT6s33WcP0mI3/77gkqNyBhWSydZHaXrOWTRurRKUPj2uZGh+7lFw7bIgIajaeDj2apfux9XVpivDFbW+64sFHgbtg5CBJEItpKaft6rCUeC2ZETNwg6xjZBq//bSs23+E3/iUY+15xYNIrtbrCq0p/Am+vzvgFHz2mTeX
+LN3EiRXQAgNlrfUhWlaqPo8xDZdL8TtI6EfHTJxV3HIUMfbkKVyENzBCQXTdeFsbS/lVyhQ8dXKBTTp/pZYtr6gphVOnZhlXuh0Z2TW2tmd2pdgTpDu7+Yc8KU4F13QqgzMCwMkBFIw5nbh1SEJKZM2Rb1v8tocQbHi5bJ4yNgtbxw==
                                                                                 Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 2 of 136



                                                                                                                                                                                                             Investigator Name: Remmel Jae Inabangan




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 11 Aug 2023 08:29:31 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.167

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   uXArR1/B/pUMzHdESg1iWgWj6kAXjhc95q2NBc+tlc7FUo7PbMYiKPMSqAoGn8MKgTNH17iA01iHHgsC9lH8QU1TY7SqUTPNZTsV1m3AE7+rgt9MrJ997S/
   MZ5TQd6X1V8jWdUimg4pCVglH0cagIm9QGyxh6zYicray4INJKSHLU7SBhlJIBsATxR65OUOPcxf1pZojJu/0l2zUskNkPhRS0bLLrylTbJmJ/YusxBuB54ZfigBqeS5ZaoDxwckY1fcrPy5t1jjlgxnlPE0xLJidjyF99v34hHCIa9Zzrbuj9KZk7VX8NqzQuPdc/9XUZjZAxgsJuPQYEADN2c8xiA==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-11-Aug-2023-08-29-31-GMT.mhtml

   Hash (SHA256)
   26011fb69c544ecb146053dfe7e4161a270cecb13171ab604fd4eb0a0490e0ac

   Signature (PKCS#1v1.5)
LE4POhb/PCP0xga9URvo/hbVmiKtPktLVbH21IVvgrpQ03er4xmMFr6QSx6PZcoXGqcB842xoOr2d1vQRrJVild9EwqRgKu65tEcZesGTL463rPzyfclBacHhsj29VTgYmsCpEYbklcXGuOA2M4A0GaACQhhvBLAR2RWQkVoKHWfuEwnCwRdhmcGrMpwgThh5f5QxYiXr7jwXJY7L
+oR9maY5XTgYFNDUGbAHwKj1SnwdcrpNEpb4g6Fkb6Gtmv7fzAiJNGP3r4GvMVuFBbBxZbyhM/GP0GWowWkBXvPg4NC6ZWtpMC01vKH9rSNSLeHhPQNoSE77zax+Z6QEsJoPQ==
                                                                               Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 3 of 136



                                                                                                                                                                                                        Investigator Name: Remmel Jae Inabangan




                                                                             Evidence Collection Report
   Page Title
   Luxury 13 Types Multi Happy Smiley Face Open Rings For Women Creative Circle Cute Ring Party Hollow Adjustable Punk Jewelry | Wish

   URL
   https://www.wish.com/c/607173d175f10ed80eedbbe8

   Collection Date
   Fri, 25 Aug 2023 07:39:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   f75u+zDfjTzxZjhK4EurXbiziF6BmMB/QLTJlynq7zr3LEKuYUafV4sQTCoOqpM0RTD2bRpfSrsNJJOkpdHjoVEz18iqQD6JeNVC3DYix1B7y7PqssUBX9EC7Vj4KK0KvqMBj0q1uI1hL2vgCEXrY6K5jhlZHtDM6OsHvfLdY39bc0MvgwyDlsDlA8ZGLHLCrkRm42SCDmdkqRj8pkqzM8YU
   +IZdcsQHboMBCXbUdXBREyd61hVgeC17twAPwDTgNTm7lB6btV29BKtMaoI+6KM+fwd62r3GkXJ3nIoQ68lLMzWQvssJSYYgnOdF/fmD1s/50j2bVtMj6TZypTMRzg==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]c[fs]607173d175f10ed80eedbbe8]]_Fri,-25-Aug-2023-07-39-27-GMT.mhtml

   Hash (SHA256)
   169e9dcb27c92a59911b950955828715f9954fe18a661013839cf6dfd9ef3c15

   Signature (PKCS#1v1.5)
cDxh8vYNMM5RDbaDG6pyJOQ/1rbguggWYyUm+/87kBZHFqvWvM+7sc4DabPgHvSmmvoiIA5KNty4NW3B93y/1vzagb77QRPSCWDM/4wBQSm28bK9pNDv/aO/bbhbQObbmANaep3Mz8DhBIWjqYKyoBLK3EBzJzCrB9+vqfVCaqa861uDZyVb92+IEKA7PAt+aDxSZw34VD/
Asxfjx3WAPsYnMi3ggIjQ+fWVq95Vu8GMNqTiiOr6MnW+Eghq9ELdxqRtv8iAUqvHykS6aMOmEW299qB1rnkpMaaSV2cMaPS3KhOoh2r84sdTq2ILMMRnLWTYoMSdTHk6dtVW5tO7fg==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 4 of 136



                                                                                                                                                                                                     Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Cart | Wish

   URL
   https://www.wish.com/cart

   Collection Date
   Fri, 25 Aug 2023 07:41:17 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   vgFXAiN/bYgad/3HXIwqKsdJKuEJEl3Wyp9VPKBy5UifylqNedObRYmPZmJAHKe2U4E7883gMObfVjMgPm+oBxPbPoOY0+iFjz0zQ0cNqeF8j/DZUCPciHUA32m4ckuruz5jr6su9NORkVpSxl3+77ogVMJ3v4f4ZkJWjMIMyjcKALjkVKZ9+mmNBCsJSAX7M68ikvhsY4rtbli3FWXxBQO2/
   OFIRqGarxZrKtFhaowcWwxIFJ8zneGIDOguFlCYRzS4XW784JUrHQPcImpKjI25+01klP13FQmbhc6MrQGKr3gr45EzAUvw+FaSMi+Rp1CpNKcoDtv+WJdRfhyHFQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]cart]]_Fri,-25-Aug-2023-07-41-17-GMT.mhtml

   Hash (SHA256)
   95edd54cef1f7fb5473f1422ed55d94a31fb544ef03f850c02dcdf5e4f21f1aa

   Signature (PKCS#1v1.5)
AsnEti38Jm96qIax590RFcWP9PTveK5cttNwVc4s+wTWq+5fTSqW6P2jxkcyTB7sOwMI7rV7WYaBKZz9WML4407cK2dNSyalIv
+oyxzRRiIZ0UYBTQxSyFlBU1QGBTFiSNyLWCdwZhm1NKFic7mP9gWeihaK2A0KA1vIAcfZY3vNbeCwYpYgSOa0hh3fkvuG7Xd5iVkAw8p3peXUXdebKAAoN9HpW0UApqF2e+aJ2ARRu4MNKfVx/m/bHlyPBUJNPI7IwCMR3nKEcoyrLodqLmr9wbj2UIJIgzYiXZGSSETiXyC3R+Wz7PBX1/+SvTC/
UiHmUYk4ZGXd16BYdvQ/6A==
                                                                              Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 5 of 136



                                                                                                                                                                                                         Investigator Name: Remmel Jae Inabangan




                                                                            Evidence Collection Report
   Page Title
   MIYUAN 925 Sterling Silver Smiley Wide Face Pentagram Open Fashion Ring with Jewelry Gift Box|Amazon.com

   URL
   https://www.amazon.com/dp/B083HHNH6B

   Collection Date
   Sun, 27 Aug 2023 17:11:15 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.224

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   u/1SG6LHz4kBQRSMs/RXLmhqDtQtUfXlswetrxL9GKdpswwLhsJWKrPuB38gS+ALyCcep/fVsnQZ6uRxPSXzJ722c89R/QvmD92lqq3dU6VjQOQjmjTXpmv7OugA9moy7mCmWMwMFLCofKgty2TH1BlnPAuvXaVEECcgwGATd/ZB5L0BjDOIPLDHCBADfzvqCdLH8h4brB
   +nV7cxD3fveDLiI7shhN6XJqbNZmu+K7/OIVkI2avsryH50TD+VBZYWvxduYYPsWhFdgMaqMkJef/ZHxVtXmYTmAof0vEFiQ2+d9I0JxWEP+660jjiWnZ0jpJamL7lPe2KztMvvzwIIw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B083HHNH6B]]_Sun,-27-Aug-2023-17-11-15-GMT.mhtml

   Hash (SHA256)
   670d6713a6052c6f0da585dfe0f57913ebca90eba26bdcbde0f1750997501cc7

   Signature (PKCS#1v1.5)
XdSeXe6X4dZrvau1y9IaISDHxwiHzPKxc0V7dGsx8rhWq5/TKP1lPTaYUybjDfHEunfzs8CDUXSiybfcyMz0TOwc6I/fA4ZaUqyEG5kO1PrqepC/Q8CohzCcvk7eYWE6U/7ecmwTT/GQL/NukSELW+07TIIESW1XLA4v0HPiNNuo2Q1Z7p2cJBTbd0wajyR59iFSu1oZ7cylRfVSncEtSq1Cevri
+1caOP1zw/hZGfDWO4QKifMoXFDyn45dJ+vfxYHdx1CBW8jRFQ2eoG4UZV3apWwIpJyb+FO9xrD7u5hRD20FFFjg6fU2oI5TxsA7xuEnoFJGJ0LJIcHZ7RU3Jw==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 6 of 136



                                                                                                                                                                                                  Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sun, 27 Aug 2023 17:13:06 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.224

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   wzdui5w4uHXYyyhKuq3xxTXPuqJghmO5bOHUcEsrxyuhVzjxnAjQI1/3+Z+I6ddDogym661grFCuovRsbTLGyKrdVeTQwH8kYhxlP2iRoqC73QRZ/KxoBxgfQYO/IOJcKhWlS70ZMNOjSu1VdfJOyeFj65EpVNptcUJ9Za5uFKSJ/
   Icgn5rmUTi77MjIniRY4yZ/8AAgmIvTUDFxxogYlEgij1NYCqJmSwQSPifbG5iko+rlSFCrOrmyAgyeUd7d5FiQ7x42wLRONKolX1vRrwrcy+CkBO7hs4oqHI8m4ikFY/lM1ZSGAIIHzpH38W9idKNUkswTNhg+4VWsdGc42w==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sun,-27-Aug-2023-17-13-06-GMT.mhtml

   Hash (SHA256)
   cbaca658650755af49b3dd3fa839e432d366a949e2d164365f13dd281a445101

   Signature (PKCS#1v1.5)
WSSa3e7mnHtpTzxj2+mEgvGVaQhJOak259gsdcz8u/ThGtEuUCBRQR2Lv18wTY4MlECDhPaQ4rGPSaMD5zeh1mUEVAhZvskSf3gqOoEOGr/RrmX8Y/dkqKs+rfEZDJ6S/15zqHtKXOukJTNqf5Gg6BIaSA7ORDsHXpkpzq8q/uFgVfQkWcbHN0KY+0EsBz/
goHKdTwucY6o/8vzR7X2ZPJlKYgoceU2N89NxL7ub6UYbcbk8RJz5mkGYf2PVLKk00EhLqU871wcW5CieprK8kvww/HdaPmi1ZlqT6EhaPLuEjgstyxUpfAHX2m7Hjh28mzN9ZeXgDH1JBco7pBPugQ==
                                                                              Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 7 of 136



                                                                                                                                                                                                            Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   Blu Smiley Face Baseball Cap/Hat | eBay

   URL
   https://www.ebay.com/itm/374652280088

   Collection Date
   Thu, 03 Aug 2023 05:18:52 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4992:ac00:b095:adb9:19a9:f7f1

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Of0xBoP4WE5a+3c0PGAccZauoL44luPxsmo0BwEbKpoah8yeN3ZGzaoz7Ebb6sctiC7an917Y5gryV4Rqg8dKYoaz
   +b3lWMilUMylWCbfJlF99Odvk0rCy1V2gDnK1DVP0qUQRlQu5tQScITfm8M6REWakY5hD9505lbb/2Av66EfoBKEAzSywaaI9mXbtoXmB1WPEk1SgM8GS6kjasfVQp9s7KRHBFfy/wsJp/5EDnGPlvV2yMmWbnzYtniYUGTE1su3UFNJ3cOHpdQEKrbEsgC7UIohjflZLc504/lBzf7nRQ8JjJpPO
   +q+E93WHp8HfLFpo04dJZwvZ9D/nVvvg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]374652280088]]_Thu,-03-Aug-2023-05-18-52-GMT.mhtml

   Hash (SHA256)
   05a52e6a17ad629770ea15628ee60c822c32a4383a821bc29a2d96aee21a1b3c

   Signature (PKCS#1v1.5)
M5hko0QtG73tlrBFwwejRej6Jz2tnumtgiuVOHJYYBQ82SSl9ode3aW1VcE6VsDZH4FPChEXJyWPArUE7d2YnVuyuzWF11NlhMCCTCrH0ZDRLrJ2RIfqO48faD9qfd/HFDxSbIUhmJBcGD2OuCHSRgyklmA4hYgxuzcIH+jo4/3uai8tX/EReK3056fQFgtzLXH8XrXad0LqwFzYL1SwbJdK8yNG
+i7b5WBx5kskewCby0PX1AlkZ3Rke2ZQA+yLQ2e1n7aPyjq0LGp4QFvFARkBDpZlb/aGsBtEq3sMdSkplsdfXqCTRkxurcipfibQqKakIGBCVf95he/AWiQTnA==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 8 of 136



                                                                                                                                                                                                              Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Thu, 03 Aug 2023 05:19:55 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4992:ac00:b095:adb9:19a9:f7f1

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   clRcXgPedXdvGQU0WFdy8YU+uQg7i+Idyy1X1RIEVtvtLVWQibmHNLs7Al68JLL7rIm0Pd97M3oD+FeMo2+HZCp/flfpYijjZMR/8C/aTneGlwVZcOATe8Jngb5DjcmY2jSBRT7SfSG19bEXc8cuNxihK1DTKSGBiiJaO/oh93ismvaVsp7E9Im2UpGvGmF+b9X+9SY3i4O/
   M6JmwpwwOxtXSBXqoV37BnASugSYiXwQPDBauhAkcC+Gq/yqlRPIPbN7w69hbAYXeUYn7lMiAKGBmdMtNzPyqGc3rzWLCt5w0n9w+1kbUZRufisKx7JA+bksTFCBzcL0Yj3aoTl98Q==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Thu,-03-Aug-2023-05-19-55-GMT.mhtml

   Hash (SHA256)
   a57c98681aa7cd969a08ca836365fc56f0aa7f38fc40929449aa18b11022f400

   Signature (PKCS#1v1.5)
OaCt9U8QQakFJ+WQPyF+Voc3mfhtPQ5eJtGED6QM/RIWEStkdRBaU0IpCIvJ6clr8YaUBZvlD0TiiYFVjCIb6OWHwHqntCQy6mAk7TX0TZmBGW1StV5sfQXcJbVp5HDokZyUx7yHXxthYueXDcJPIGkjPPA2xGhy3XqRDssYS6uebfBFKYf2JLEuSKRo/GR77kSzKZ/
DH7hKyKuaYa6ipayRwmWJbVqZfAq01hpu77lvTOWo2Bk5j9mRfW+0b7pUmLHvwLbQsMdo109Ql0G7AjplfW+G3P3I96Fiuxl8m4Z+M2aOmVntETDWhKu6lIb4ptGlTkaeYd23ZOQ0OD5Eew==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 9 of 136



                                                                                                                                                                                                       Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Women Earring Enamel Cute Round Smiley 925 Sterling Silver 18K Gold Dangle Jewelry for Girls (Light Blue): Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/dp/B0957LWYZ3

   Collection Date
   Sun, 27 Aug 2023 16:45:01 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.224

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   qWZCkNv1XBGTyfS6uq6X6EieU0cddXM96IULAaFKhR+d/fHKJpJEq8ojucoOAoHraevZrNknmMDCKHEe/bK5sgkZLwiqzHdNpjJMPNUJ966EP+kFiJytZFL8pqoaNMMBb9cN7U5eiV1qtZtJS3OhASkcwiFfqqR3LithEjA78tK4E4UU
   +9gLV4Ts3TPIhReOHDf8kc9NLjDo2YmIBALj7ES74pRBnQU/XvbDIYvvaixfqApNwBYhxsCtOQ1IO7V1dvP8l9tX2tbPLNxIileycuVmirvsaKqvmeKb87YH1Kokru+Ccne11NyW3COeS9ZFZTfxV9dIWxFBUdQ9tJvwaQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0957LWYZ3]]_Sun,-27-Aug-2023-16-45-01-GMT.mhtml

   Hash (SHA256)
   cdf2efa7f2c0ebef353fd9abbb845c696d0449e9e6ec3fe07b37601b89ef5e81

   Signature (PKCS#1v1.5)
yCT/9TAl15trgvYR9WJA2OsID1JE5+LUadNV7JOkmqv+kaYj44xvVoPAXrMn9YBBcKR+WYk0RE4pmFTKZ0f61sIYBsakX79akmRAsnllEG5X7r7lwylp0EJ6yC9c5KIHbP6aYDXy7JfPWEI2NGYo/Gy2brUxEwijFz9Lv9DnBLZMc1NSp4JqEglISXRUTaVCjHbXNqNZ/
nUUHgCou9yiPoIz6sWzaUGhzI21X/reMpv9PeZ8BSyyeo/ujNtTG+XN/2dV9P0WOsZ6NuVGxVvRzWWzcWVLyE6Fah9zQRSEUzDFiY4FWGuT8r4Dd99ZMmuhHUJDTMdEtMnouBSjfwswNQ==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 10 of
                                                                                                                       136


                                                                                                                                                                                                       Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
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   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sun, 27 Aug 2023 16:46:53 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.224

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   i2BlH7fuLzCv/ANJkq+DTpoAP5ZRSHx8auTnN0U8FNqN5WGC7d4DJQoTyaJRqCKZvBzyS94vAVU/wm1cPYxuMyiG4CttZuyMIM4kGJOwNV0R4Zy2aqLTZwT6b7QnNnjVG/vbDQijAneYZpzxlDklczplnqyNV1ALoKS9nfRjQBkB5tHr8kv
   +u8OWNvIE1ifWGk3wac5t4ZKzc7EIAeF7kE1Csyl3rPcbwMvaPaWAFTLbzedVJZ5Aj9pN/QJYkmXpyWTDPNXL5w0tEt3pLT8GUDGiBbj3PCkUTI+jzXVuHRcGJXsgymmi18UM73gcnvLxaZ3+HTNSUuvdIBMcPNmr8w==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sun,-27-Aug-2023-16-46-53-GMT.mhtml

   Hash (SHA256)
   085080630fb458150e7a3347d7fdae1b94cc0f43633581386804eb80fb6d078a

   Signature (PKCS#1v1.5)
LAHzRpw71FKajTV+UmPJosR35Z9BhdkPweEiwlBNcUmnn/iiS+d/pW3FNLOtnQ1a50/T01xs65i71wW6rdPsZBVZgGeY80f4CL8/nVdlt9qTzGt0GSDetLCgS0p8rOxeamyOhhlaSrLd4/yB9H7mA8ral2CYoQxF0ZSvC2fIWiJPG9PeBaV7wHhoVFuUNRux1vkSn2S/
b4tXYpg06yGzwWdXzOS1LQ2q31QyvWbRu4mGQN+UG+BY/aguqTpTGvrfJEGESQd/0UmclZy4j/f99MV1a6o63XU/tbLp/AufEjeVgN8oaAJu14ec/9xxx4QTzbMAupm8Niqeo8tXa4TSEA==
                                                                                   Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 11 of
                                                                                                                        136


                                                                                                                                                                                                                         Investigator Name: Remmel Jae Inabangan




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Happy Smile Face Balloon Garland Arch, Yellow Black White Latex Balloons Smiley Face Balloons for 1st Birthday, One Happy Dude Birthday, Smiley Face Party, Hippie Groovy Party Decor : Everything Else

   URL
   https://www.amazon.com/dp/B0C13MVDN8

   Collection Date
   Fri, 11 Aug 2023 13:21:36 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.167

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   MPPPwafaDDyBPGFGNs8N/lWkGfFH5JzdWSzorlCplHS1+p+o/7++UW5Ww2cRrQ5QsFLFlJ248Ti+PL3+46Wzo+aiRF+74MqGZCLXbgs4l9khlVQXIAib3siFmCO3ZN+sAjBIfmks8fvomhRyJFvhAKV+B
   +X5w3uUfFfPNZKMPJU2WuYgcoJEtUwNwtEzfyfD58pDkRoZxZHu7vudigouL2lb6L7eWk0p4vrFeTlnUH4dwcBhVU+PUaJudVl4LqIjOK3LvkpXArV7CU/pemi5OVP68NnWm6vTfwlmvr4alEwa0ASvlPTtme2Nw0qhP8WAT9EVBfgA0aD4Glh+ISnxhw==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0C13MVDN8]]_Fri,-11-Aug-2023-13-21-36-GMT.mhtml

   Hash (SHA256)
   5cdb2682cc98e12b81f1e54f883d821431342a7e91c1033c0ae40ea24946b2a9

   Signature (PKCS#1v1.5)
pCxOXPE1q82aOTAgjRP/VS1JPDJmh8tyXLZeIUojRCVz+2NeHssag0Dni9f7MKrkx35sfyeVn5kG56/ul3YnDAs0Kwq8RGg+lkyiiRGFbZ/wE+60bgIsiyVscE/dG4Hf498qbthi55Gk/gWV70S33CyIPyLcQ5P3OblKFnYpH3C0gEBRcVOsyswaROWHSyHAD9Oj+/ETZjQijTuEDFQomUJiq
+FVk7LpuGBKS53Tm2SuY6CGIkcyZoRtCjYl9zEO9pujTR5h9BQ32mvCm0aDDpvQY/gLwIYNzjwt9eoU3ucxIKS6jEG65PIZlfh1C5ZPuQsMQ7LkeWxhmtFLL+todw==
                                                                                   Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 12 of
                                                                                                                        136


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   Page Title
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   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 11 Aug 2023 13:23:26 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.167

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   RJlKHykxZesHG8dSQKvJ0FQpHePyyZAswyDl6inZKZxnAC7PK1MTvZtB0HhX6j8DXvWKv1CfMXrOrbyvA73yEV6SVp+cmz+6EReSliGXOa1lsFuZGujHBiTjhv8Vn3eEw+z9UYnM180nf1PuHodwCm0hx87bId9gt6l+JwymB2pyf7G2mSTAUxPZ704Ht43TcuTaABnfwzvyy/+4tfkAJr/
   zQRkYPiZUHkZhRqWgqm7bNa+AlTr40d9SmkY3s4+8NNsJOmyJuRjwVO7wDNMLsZXLPu3GQGvbOVTCLtncX3/me6zuxQx1Zbv+GC1+wzV4F338idfdCR9roEEieGK64Q==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-11-Aug-2023-13-23-26-GMT.mhtml

   Hash (SHA256)
   c6116b59e1917126da6730bf8c4a17b7b64a5a8d0c540db742c6a812a1eec8b4

   Signature (PKCS#1v1.5)
K8WsDvxyUmYZSPGA7ye77WMGj0OeFxDL0A4UFjbmrvp7wovZAafRb7KIA+LftagUlYZ9dYH+7y1hO1YZr/rb1ma5wundA0X6drb2L4JdNZEFYm8KJ4OJJs/tIFsSYN+HwBOzRcIY1zV4SPnZmWuBHC8PUyEm8mo1TlSimUklOOGj
+VxZuOR5ZlrRd1W2XGf6ahgG8vqPjqWp0DaGNCj04yjN4NEYW5Nfn5QAF/6SMlg1lNNvl0ya8eRVYM/xF3zBigkb6O2HYVHaSm4LybHuZGbdncZN1thDU/CXD/AI5TtsuQ9S2OYOCjt8h+lVysRzteB5EAATjh1OOPXFQxMplw==
                                                                                   Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 13 of
                                                                                                                        136


                                                                                                                                                                                                          Investigator Name: Remmel Jae Inabangan




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Smiley Face Hoop Earrings • Happy Face Emoji Earrings • Gold Silver Hoops • Smile Face Dangle Earrings in Stainless Steel • Gift for Her 284 : Handmade Products

   URL
   https://www.amazon.com/dp/B0BRJ4D5XX

   Collection Date
   Tue, 15 Aug 2023 12:51:26 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   Dx3zDW3Ge72cfKJg6cEoJxv5758OKIF5+1wOAS0DtJOFCO7nTO7Q9p+6d6lDc/r05o60ijcbzA20IaGzC5jZivus71eSUqUI8EWwQgKeZTonsq6+Yvc5Y0FUSE+e3C32IDdry2fGsCFMKFfXnhf5/QoJ7Igvpu54E+KknkfzpS/4dhhc330QZYCVZcBlqxpVL+HtFtUhjMbbszW3l/
   G41mWlfNUq9ActreC5Kx6jKEeKiArcB54DN0Jp48Qr7eQK4NDt4yHiS0B7quQG3Oe8eILkg279bAYd1lo1I61KNrih0/C5ZNtd0FsQLJDODaVaaQXjLdEIYMYrhew+6nVohQ==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BRJ4D5XX]]_Tue,-15-Aug-2023-12-51-26-GMT.mhtml

   Hash (SHA256)
   4b0421d77a12175815a276451f16d1106eaf3c80ae7552e7bf45e739a3d867b2

   Signature (PKCS#1v1.5)
PV6b8RSPndlOXksLb5y8gd6nDeyln/8MfEM4WJul1mqv8BgHzzfPUTrbksCwnAPorVQnsrC4jia7AxOwJDuA+3a0wHA0d+EuWKicMyeO9yOBXyV8Q7wENPo83AjzhG1rp3ImG/mSFE7vbhlvJIHA7o3fy/G7ttuLfQSjaPF/tqTn6JE65Kamm4bjokW1YhTih9Za35byDzaXpZ
+FVLDAdjiUo6fFYEKrvbztVoQvwBHBoFxz6274SBpH/95h2WXmSyQ5BXK/JUQQ8+JfbXhk6M+n0b3Hd3Pehg7YYz9Qn4gb03+7/OKH0MqMicf9S1I1tNYvU4TkTp6hNIGmhh5v7Q==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 14 of
                                                                                                                       136


                                                                                                                                                                                                            Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 15 Aug 2023 12:53:11 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   V9eADVN1OK8I8WgzO9vGfVCQiwPsDk5XXcmz9cTf8mAShb/UXXmFe73P6CeDWQYbTs8GICZowR3nhfVkMPWOdP0SNNmmeNeUHp1iZMh72RiLlMDVcju1CS+Rqab/DEka1hSbrSsQZ+BeKQivI2qyxCJGtNRAI+tYpaFdYhw+4MRIBiGNMMi3H5/dajdNBZPGH/0iMp0NRlTDzTea/
   bGoITJHos+AoUhaIgA+PRk1YqbEF/IOcVfyIUNYlP0JRiOos38D57U/ApIytLSNlgA76n4faiHW48XNZ7YHqNwRLRlHrYpyKxzANMK9OCIRc1Wa9eKZcb92dk8PHTPBpDMubw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-15-Aug-2023-12-53-11-GMT.mhtml

   Hash (SHA256)
   c32826734cef231d7b77af3382bcf5477cfd4682b517540b6bcb1a7c84c727b9

   Signature (PKCS#1v1.5)
s3/xl2F+Sf0dUP1c+n3uusqn8BBbvaRrVir1u7fJ/Uo5xtHuPlFDVCX7prH807uVai68LLvm4r9y6jp1ih07WuYUDhxL2OF8+5+FBXe8mAnosRSCdkMl6uTLi3OJObxcfJfiElYi9+IcA29NC319/gN/NIRD9n9VKJyQXypMHqTipcR8XECItVfYkREdDKR03UtGJuhshSjMo0fNiOWmy0zI/knl
+67zoZvAeXDd7GJVqr+go/9BK23m/0go221UraCaiGv7eE/vOeazXmoOUksNBHpWiXGQZD7lEGv8VreAznFP6SGKjAN17TZ6jbma+6DTHsGc4gArvLVN/d9vug==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 15 of
                                                                                                                       136


                                                                                                                                                                                                    Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Radiate Positivity Gift Motivational Quote Flower Smiley Face Gift for Teens Kids and Adults Men Women Black T shirt : Handmade Products

   URL
   https://www.amazon.com/dp/B0CBF2NQ6L

   Collection Date
   Tue, 15 Aug 2023 15:25:40 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   fP2CCUBlVmibF8ITEKMVVp6OE1TgBbMNfQa1y03mPZOxP3FE1s4eaZEOwuberB+dZNKXOeoAe8eNgip08HbauGtMGbme8EfyHASdsTOfAJp5pDkHaC0b7Hq8GqP3o6C5egqKw0w/l4x9BHTkoDt+NqoEdDynjRR7wv+PX3C6SvYb5/PcQna3TwEEed2ppgrtYlbtOWOCscLkz2aN2X
   +8AQhFh/2K6dLKRjIEU0g92+Rv26zSE0tU81r47dnh6rt00oinuJVW3Rhi+VZ7ObyGnERV1DOVIPUGLd1zpL1FJOJqq6fGuh4zJ7hU9DMmRoVNwWQNKM6nYsSczY9fzdSsag==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0CBF2NQ6L]]_Tue,-15-Aug-2023-15-25-40-GMT.mhtml

   Hash (SHA256)
   1f6d9078cf4312855c2d912ed45d9c1f6b38a786bdf0262ee765f1af2b7d0f8d

   Signature (PKCS#1v1.5)
eD44ZXRz9yCOrorOgUWzlCsCuW9LBI/DXjj9hUO+JOUdrA9+cREroA7VSUZL8zkEpgS4ZNVZLrjK97MD6TaJ29WWCZ9RLLbSStT1DxZ3ITMGp3xlBSBMyhvO01oxHMnOqlQws45u/rvLYIvKpbBYV73M0hyxlei3FoCXICT8OSTNgWTepaoRb+Do9hEKIMuvm7rS9DuR/
K8gwzjMQq/8xskyjZmc3qutKw+Td1frZXIEdt8+ARP+QKLPcjeZSF5KsXTUGjheRm7iMNgbLsKE3ESU0vFVjlK8w1olNKx4q8lm1+QLBjUJSeqEtmzIUM/p9iO5l/N0w+4WbDuwAqp0kg==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 16 of
                                                                                                                       136


                                                                                                                                                                                                       Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 15 Aug 2023 15:31:05 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   aJstws0KdQ8h/a0QjqNeYVR1+meYdiTY6JL06Riw2bWTtVvofjP6Nwv725w/sgrTSZ/QsOmsdJA/m4ccBGz+mi2t8pQsGwRfSbjXn8J1AEC3Wy0+ia1llRvZyyY3IOeTiSXP2khFMJInL1qZZ20bc8SVZM6zAfgK+8VnpTq7d8hPsHr5PoZl7rishDNOfpK6XiNzqu1OFZh9tHD3SL+ko4K
   +3ulSMNCEV8gxUjRaV54LN5KGgOHFZeq4S22I7yls8IuowH9fLxydkooK9wbGQuTVIwbooxFQfm3gwi7ADD28ybHGz6b7OaTJdmVvPbYX5H4Yr1D7Z9xqmbbRC/Cu9A==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-15-Aug-2023-15-31-05-GMT.mhtml

   Hash (SHA256)
   3d7a7aac8d8124e7b0f0c611c41756b594b6515c93de7af58dfc09a9d787be81

   Signature (PKCS#1v1.5)
GTEbNFljOzwGp+eMy820Givha6c558JaXJi06v2UKR6dhLt5uQbTMlofgI73HMiIbyRbWh8k/pae5pWB4CvKsUhFSdxPMk5kV/UL3TJqBUlAAQAcX1goQ5HDL8ITJB1+bNFtsKUGm+Y5K5Aak/Jj6OSg/NXjvVS5BCpyU894FzsLmD013vxlvFU/OuIrysl8mTEm9KsEbT0/JJ7cHxOUH
+yStkthEJjMK7qbYIT5ijhPtLmR3GDp2uCxC/L0OeV7wnspIP4Z3pSDSgKUDoAB8TIj2Bp6rrHh4pERam6DTjMkHIczu5x5rinTsI7sTHj6JhFjxzCNJgAljgI52wCo3w==
                                                                                    Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 17 of
                                                                                                                         136


                                                                                                                                                                                                                Investigator Name: Michaela Borja




                                                                                Evidence Collection Report
   Page Title
   Printed Rubber Clip Phone Case Cover iPhone - Acid Smiley Face - Gift Design | eBay

   URL
   https://www.ebay.com/itm/185630670410

   Collection Date
   Tue, 08 Aug 2023 17:39:22 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   IoNZhsnRidMTX5i23xZLCkL7CItAU0ngqZT/Opg7tfWarvwqJF9AVt0BuYM7SxwUyRcf1OBzCgrUvaegLIXyH80WTBr5GSqArCxUbyaVf+j8k0yELgLzh9C09c0dXVXCEqD7ptqEMjYBvlPYUzGEt86m3uNTAyAfHxLHf38vqlffmSlAeu55vtFfB9x7Lamd9yyjpKE9I2CPSj/U/
   eSCsoKn92o1Rc0HidRXEfmozliYrkE15qcM8odUQO9Fc9VmLnGM5mm1yjHJBT/C37D9ahHNIuZtGix+YpFFg8YsqEfPDLdmMp5Cn75BfbGVSd+NCMBFq5QCcnsTWo9zGORI7A==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]185630670410]]_Tue,-08-Aug-2023-17-39-22-GMT.mhtml

   Hash (SHA256)
   5e557f80ede7518ad270579516bf13a883ee38cf6d3348331a02fd79ea22b798

   Signature (PKCS#1v1.5)
fFLrxpg+2v1Wn4W55JKQM51c9rwcRjyjBTdMPGIf3Gfsn9bZKmQN0iuFlR6T1ACuJvNkGwh7w4yyAI5dVS2wQBjz8wq6bmZO9wd637etPhg70nc+V+VDrN09t/0N1cKx0/HqdJGSr84LffKRoHHDhKPBS+pbx1UGZS8MhNMQNu4Zhr5v0/
YYpymKv83gAHVsMHK4L9wmMqZJCajOERyTuOLFrRDxEjCjhvlRdiynCk7zeCQfNquuMDqPuubSE+nXvhEPUO7syDYsOkMvBy9RJd8yPpofNUvpk4QMJG2X1X2WG4B8FLnHz+ZQswFq4RA1nhQx8YFsK85leOg+DFPv8Q==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 18 of
                                                                                                                       136


                                                                                                                                                                                                                Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 08 Aug 2023 17:40:50 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   OCDjeeOqgxXz8BIfcWYP+xG19ll27jzt/nTAiZzoFOuv0PtszeCj6/OZhf39uyIWn7ND90EJgFU0/Y2JyRqy
   +Lpby3B4zqD03TkHvijLIrXExrBbUThsCnpC/1BQvHHPsNqfpWp3dnc8pKa2Xv4JCgSWi3czkjw5imgugt57TzOSvs8THl43FZejrW55c2Q5XOcz15oMyjGUoBlAY7xhtkO4XCtEmn3H6tp5Q9SYd9b9bi6HEuMLiKYhzhZrN1zcaLciFlHfTrr/+/MXdnaKmnQyi53h+3SH7YfTWsi
   +Kblp43ZF2gg1LaFZ2bnAWu52dY8Cp09NkDsctJ030+9Atg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-08-Aug-2023-17-40-50-GMT.mhtml

   Hash (SHA256)
   2269dcb224be52681ab970cd92dc2cf1bff5c82aaed280653b88f42ee142b917

   Signature (PKCS#1v1.5)
eWO9nF5fCeOucoZWpw4mVXFxrkLd5xoLl+6hSWNe9kgq8u3E05RxkOro24JEOQ6rx9eAsPvjApsC+QOb9Tj8eZqqlXO2RpQ9Fta5D6AdKZcYGJXZLSidwqJJ94+FTLpN3zsHlBEkfnZ6+JtZld81Fw0BDCVzkqiROkLF/
VB3YpCKtwTNuc2dkJa9NjyMrUaKOQhlfmwcRjPQwcD04hEKtRXFWDtLJGNwekLPp8rqLMznkX5RECMJUjpiaKsWKMqHx6/GaTBePY5HVG+torVJEFv8+VbWffZ1zDXvNFLQykk8hV5X9pSAwoMQubQaTGgQVrzJmcurcCNMxVAxq2vRyQ==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 19 of
                                                                                                                       136


                                                                                                                                                                                                        Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Big size Strong Multi Colour Fridge Notice Board Magnetic Nails with Smiley Face 5019758059289 | eBay

   URL
   https://www.ebay.com/itm/324253655159

   Collection Date
   Wed, 30 Aug 2023 06:10:30 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   JSn+rYk5MtcdAv9hNLvvyavHIstSvMEtTGgiXz5w9CRwNtiBthjDmcBefgDBpowaoPMFGm6LhrWAr0zqueTmDZQosO4C8Vmg5K/tAwlTBEK9zbwiaUYfvsTrsFuhSg4v0j6vvLq8qeWh5uQxdHFVAMldpy6SYPo5qnV6al7a+d/BVLdV57Tforn7lEfaI9G1Mza/rf57DmbZWT55tHw0t5BCRs
   +WtE5TVefo2YJvdYQ+QWzoxQVfH1V74+mf0rgM98uCFI9eK6cQG5q8YRoIs3NyEQgeYOuUbRnpOSpNSRa+/UYGeGt/+oTiBB1/K6AS+aAbxHAzB43CJsZM12Mf1A==




                                                                                                           File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]324253655159]]_Wed,-30-Aug-2023-06-10-30-GMT.mhtml

   Hash (SHA256)
   c34bed77dceb1a3e3ff53174992301ec06ef75d34fd14e81b1598deceee882b9

   Signature (PKCS#1v1.5)
WlBZHYIw34jSgXm1785jD84ksPSgAj4REiEgaknycjZPUxgPdjp7UTkbhUVV+3PitKW4+wyDQlWmNq275t7eQQGTg7gSsZS03vdk4RcbOVNjsP95zLGk7tgp+tPkzECG9b5W5pR/FX/d6MJt+10Z+24PfS90xQUt92p63LplqnAVui9VARCpC09BQ55BaOejLjfpudEiImDs
+MDWVnURAEn0XaapVUhgMPZcFxgX/TC5+jgYzmTzsdUUd12bkOxl24f/cVlFu5fygH9Zk6CZhwmdNUETlkOUdvMrRdlD4p0I9YUKfa58ocASvjz/aDhbz7bvCJE0rGBWdxUap8DiJg==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 20 of
                                                                                                                       136


                                                                                                                                                                                                      Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 30 Aug 2023 06:11:38 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   JG4POZI6pPIiYdWS2k2ldgIBMVoYP1yh97yZAdddcCAd2bSkeDjKrO/2KmxTintIGhZ8kCRY0D37wFsiQTaeIbdRDmpCFg+xglECY9l8uYsW0+2VYogRgLmz0HmsdvFLhvR3ovvvp72D5b1RWSI+BahsyhY/GKn+ZsCkT5Fydu/OmmPmL9yj5Zsk4lkUD/
   Em469hub3pINyozqzJDO1OiK905VfvG8j1N5SNNFtn+CiBYpMHQXDjswg6+6urytai7kP0vR+HNOmJ38PFwO7EKihsMo5DskywMTO1eNLQ2bbd4/VMcpQH48FL0/Mxehl1rWvUfdYkWYPChrCX/evTxw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-30-Aug-2023-06-11-38-GMT.mhtml

   Hash (SHA256)
   1c2acfb05ef98a9fae8d8a6a63562b6b708337bba30022e318f2862bee285ea0

   Signature (PKCS#1v1.5)
aEXxXSXRStT1qPCmg7mkzeBiskKqnk8lu6uNtNAIG77vtSboW4SdefxMgHpVCryCl6zGIr/0Nj1kolAHJX96Ki/BFHsandWeJjwMl5vTWJ/5WHcuskJNj0D1hXz9x7puCKAZA0y9REq7Bd+L1q9aUed3Go2Un0RULjMWS1XXA6G5PiVBrYDHbxq2qHnS2982A8/
L5cctDpbA11cBwtE/8seevwRhPpaiN4LWtNLZsRsdPKYdbH4xLqWhq0zuv5+U4ms8RsfSJ3/zLYnZb94H5xjeml5F15BHXOiWdWLhZ9LNASxNZhP7f4G/yyeSjwMqTnB/3N4K2Iz0tOJnN03aeg==
                                                                                   Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 21 of
                                                                                                                        136


                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   20 Smiley Charms, Laughing Face, Brass, Silver, DIY Jewelry Accessories ZM753 | eBay

   URL
   https://www.ebay.com/itm/324747289308

   Collection Date
   Tue, 29 Aug 2023 06:13:05 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   AY7P0rRxbzUrsPcZCu6tR+SGyH4coLOFhs4NYb17xT58py946S69RHbW5SNZJ+mhSYEU9R5VqRS/Fy92qd7N+6eiZLd8rYX7bLLR8yhSZIEEoWh3xURPHeIYgpbfxU5yWU2lY8apBGzxO1I5SviZ6mEheWSssBZDkt4PEpWcG1g=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]324747289308]]_Tue,-29-Aug-2023-06-13-05-GMT.pdf

   Hash (SHA256)
   7eb2a358e52e0384c6861740b7c3814ab7ce796efc82803816eca044403aebfa

   Signature (PKCS#1v1.5)
rF/bXUzPfq2OZLf+yEDIKV01x8qd6ouzHJNqQH7agEwDPvtMDUlxQoRUaJ8KVJH0Dyens/36gidtW+7wGyMX116VMGXqTO3mF7ZvBoOSxhtljoZLJuQbpwwNIf/HBNDv3l4n37yzavlzPvdJpuqtUJL34HEV2bhfpuJODkMotzo=
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 22 of
                                                                                                                       136


                                                                                                                                                                                                          Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 29 Aug 2023 09:04:56 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   112.206.74.192

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Bukp+2B6QwkZh5H7gvFWaWcYvSZdMoGK8WZDKdOgviHYTiBBJui9OYaT8b76WPkW0aKU5PktgqUJTrmxAAG+boM+CvGB+LGnCuBVD+RpbAZSumjUgTqvluTUz65PL36GaUU13tg5d6nBZT62kfLV25D8LOK9ju9bbaztpTw0FB2Lu8PUhdNoKrj9oJec3iCbAzg3/
   sZpMUyxtZ2JGKluOksfYtXRSCtw7mlleRwICIW8p0QXiB1vEw7G7AYNCjETFkvw8fPJPe44IpanoLzv6+h1Wd16sdueIfkDBr3oLPWlCFg7ni7Zm8p9v5cs2hdM2o89+lihk/CplFr7YZdL9A==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-29-Aug-2023-09-04-56-GMT.mhtml

   Hash (SHA256)
   1380c1ccd4caf437cc0014e750483c47fa348a7e4ecb5cbc5a12d37c29a4e293

   Signature (PKCS#1v1.5)
Tt8/Bzm42nbV06EebQ92XMB8OfFp8Raxx0ffz1yg/6pqJxoRIEZ2Hr9iRWkrpiGU25za9EwhKrESkyP6DsNrEC25ZpFRnD/
GFu5qAH1x2zpyund4B6zmtDWUk4GCItQQ68bIRbIaKq8Pm0ArjGNpxLouWjZzQNeX9UPoaCKMkzebKQeaSAZSI6UQ0uibDHEaCrra068BpjFGwxIU4k0i7RCqYJ5rKusGzVgdOqtt9O1P8Z6FPYDSbc2jE0JFkDN8CHM2ck68aeAJtjMpp075wWZdXW2MDlj2iLhoeVmE1uwQGpIcAHofJ086RteKEK
OAnBNNWaN9Gola4t0rFPxXjQ==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 23 of
                                                                                                                     136


                                                                                                                                                                                                          Investigator Name: Remmel Jae Inabangan




                                                                            Evidence Collection Report
   Page Title
   Amazon.com: Vintage Retro Smiley Mama Shirt, Mom Shirt for mom for Mother's Day, Funny Mom Shirt, Mama T shirt, Mama Smiley Tee, Mama Shirt, Unisex Hoodie, Sweatshirt, Tank Top : Handmade Products

   URL
   https://www.amazon.com/dp/B0CBJR6YD2

   Collection Date
   Tue, 15 Aug 2023 12:59:04 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   FI7Uf/9DlN8Iliy1pe0Tdwx7vpARxe02TE+TQKzwwAwH5CogFvpgBP1fOGAL69zq936ms1tnFf9Un+DdE6sUM1TVidjCNwnIVJaW8exdEjuwvu7ZTw6dol4XDh2qs4L9apZtDiA6+qCn267WkGjJ/hy55yI0o1tkoGOqu4GcV1cuTLaAKPNEnicTO1n+m5ACdSk27/ulfeNwCbq63+LudlTOQTeRii0Sh
   +k79DWKVp42aRelAFbp2gDkLpCBj178Ykms5xDdRuV1YgFfW0bSxnIeEDjqtOBIKThrH4ff9H2aY1B+v5MO0WFju0TsXXDcL8CF5VhcT/J0uZqp2kUS/A==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0CBJR6YD2]]_Tue,-15-Aug-2023-12-59-04-GMT.mhtml

   Hash (SHA256)
   b4c8d3e26c2b705b6946bb5a96d22d6e576dfaa48dcd40f9ef67aab71977d665

   Signature (PKCS#1v1.5)
a4rcVEz9ty9aK7VxR9FDDzGTJPmX1ufsHD14PgMEc/0dRfW8xCnufkHs0rsRrIUKJoTq7KBtkwqBdU/Z3Bzq5wjuseY+wdz1ntipqfyLzmKKrdPXowAaNr0CfvJ2IZyh6EWFAsVP35xWQTZuMDZ9qmZp9eA1AgQR7+L5iCGV7kjZCyFqt0Sxvquw1Z4BVn/
mIr1JyxiVfOqZ2l59G3JYSYVNlHY51iOWp3T99u2hYDGG6wpFB7JQDkx4mUnsZIr1SYHMUQemFNwYiDmESs4ioihnRlmSkU2magGsxiXlfXcU6nBpGkxjoMOIZRbfU86gYGC0T/7oG4xCrvnz5fglUA==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 24 of
                                                                                                                       136


                                                                                                                                                                                           Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 15 Aug 2023 13:01:11 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   ESS9lQ06KYvXsW7O7G6UWjJMf+dedzdIMZLMy5kWZCBqVM18U5JRmBGXdB19T0c2+EPmRgudIjOn1HMoFNe25wKVZyAEedqJWYyEfk4VA33xiyO2lw9AH6xG2EsnA/tBqu9HFi9aQKPPTx6JhiezgYmJ6ctNYHjVZJ/
   DWq5BrSjVEAlIWJ8nprLON5X0ZIDyWdk4nfqO8JxYyMqhpVMcEbtKNfqEH4zt+sJvaZjOgjP+PSDQdLmI+74/t+nmz9d0ZoGoQMxKsD4OJKtbBJYZLzaSoCPgqbhaWZht2hsaqNmHWVASZZksjpXbvLX5Ran4tLgM1nbv4g12RPOnrOOL0g==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-15-Aug-2023-13-01-11-GMT.mhtml

   Hash (SHA256)
   0e9663637b0f0146d79ad16636743bf5f38a952cbc426ad58daa0be04a64998a

   Signature (PKCS#1v1.5)
vHcKfdWKwHiwH4wtdSCSSm0OrPyNm++6E7x57cF3dXZurAEIuBvfSQjiqOvttalEU0OXbr/euw6rMf/VtjHnfVXZrXWQi0v6BG0L3xVaT2VX3mDyNPoVWVyGFUBpBOq1KrRysf1yy1AJdRHmkaOjhI5fbKJsGR+mB5fs/cu3mPS
+bBmMkDuIvdoedkkrOsKHobWIT9QMSySJNv6dYnkkTJuPBtVPZwTF5Gv6v0ZcWb7jDPhTcmMp3SVHE8oDzAy3Eg3HCKBqgD6ESmUM7SRzMPkCLWcphKD17TxZfb+x9c6T01r3z7jtbMnSWwyXb3xSYLfgcEGH48vRaKGE2VGpPg==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 25 of
                                                                                                                       136


                                                                                                                                                                                                            Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Retro summer Shirt, summer smiley face Shirt, summer vacation Shirt, beach vibes Shirt, Unisex Hoodie, Tank Tops, Sweatshirt, Tshirt Multicolor : Handmade Products

   URL
   https://www.amazon.com/dp/B0CC8FC3VZ

   Collection Date
   Tue, 15 Aug 2023 15:08:29 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   uvmvM70JFKEu9o94WzFzd+zxde09xFEmQ+eQBSKf+SpqDk8/KwQptVrokkIRIdtCyfy1FaQP1g4XRnt71hF2c4LrgHZoIpS0+0rOBIVQZXq1dehVSOOynl/AHccs0K5i2lJWLA3RTsAQfGcvrH399Ha6W
   +R1ZbS3hhSV0auPkxddNs8wjoPR7tfvbZk1AkpP75fYWs607tnOqlxtXq5X4GCDz0BUvWNJ3GfKQhyFzf3l5MzPpAQskzDK6zHWjbYsELO79lXaGrmtokutUvyMrbVn4gToYjfIehYn6na2fcvnUfrZK9bngWBxkevza7fCM7XKWMAgyLPHl/TldNqdtA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0CC8FC3VZ]]_Tue,-15-Aug-2023-15-08-29-GMT.mhtml

   Hash (SHA256)
   8be2bc90e4f460e24ce5c48148a33c75130dc0971d516f675b57d8a359af2ea7

   Signature (PKCS#1v1.5)
hfbYYZvjUBs4byjMlM49helQWATJoE12bPkZgcW167/jHfpcawDCsku4TTeh8INr8f0DjyXkTvu5pIF/Vdw6e4CbzPU5gYzSNb7NmdHGWdP2xVSBCpBMX+3wcFzYkeXw8a8zQxKxJWkOve/
UB7slle9V3s1A00nx1ofqlnM75KL7u4STNdvB2IuhMpNVOIgABuBuBuGnoEiPUsOtxx5GWjAk0f6u3DiLFyHbkB0S3bxBkdH1IVog5d/5oAdyPo3LeX9yiUz327qpj/mXpBQtV2X9aiy09dWkkBT0doQJnQJM8X2MjJEeGk/I/SOGjJEPSj186ajkjEUr1qK84zvzXw==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 26 of
                                                                                                                       136


                                                                                                                                                                                                     Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 15 Aug 2023 15:11:02 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   P12j4wwz5lcisVm2e8BMaTXGV31oyyvjE+CK2c7yNgmw6/nG7eXV+F63jC5DfIOh8BOuS3HzAULdC9FCzXQfbXY1mnvj0bNFk0TOboH0XTkfsRvdVXYF2fEARJvQFTyjQrDZsOosolGksCbLFSPWhRD89T5cD9+CyxPsB2BjikgerpQt7e3VHVE7rQKX2NzSplSTOp4ImIV1VN9U5bEn7z53/
   LPEgBMQMCzociXoJHRntJDQ73WCkvEA51ruCOWB332DfZla8wsQagldAkS6BqY2wUHNToNdbFkvtQ3s4OGgKvFLru2pQ45FVEMNA2AhmXS0eNq8xxrcZF7JckAU4Q==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-15-Aug-2023-15-11-02-GMT.mhtml

   Hash (SHA256)
   d0b97cdc3de279cc83ff11148bb59a39bd6862cf2d722a6afa6f4889b2fad33c

   Signature (PKCS#1v1.5)
FIHeOsBT6h3lv3T29Sq8YGxN7mkLMiXWbB3H+qaEBDYseRje9Z6TBlzAEInDOX7YnC2Kz+8Iqi07CtcLRMBuVkFaxIojiRnUCNKTp2PFew7x5bN7R7CtC3pLpDsuuPtfzLHHctkCX3I4pmG7wzggOw+p7A2EJ6pW6Fmm99ymEXDB1uhwl4uKbImR8k9zipSGPOfQ9RYIhzZ5cOp/
XUXwU4qF2HDIj57XSWvzmUdVMCcwoS49CvXNL3U7sfcH/MCGW1+q0eNdBW1bQvJl4Unu5F2Wyb1PmSsMntc+/cS0ILvFYlAkh+othMtE5F5FVJRxm63eWE2aqPrjhwX5870r+g==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 27 of
                                                                                                                     136


                                                                                                                                                                                                             Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   Fashion Leather Smiley Face Phone Case For iPhone 14 13 12 11 Pro Max X XS XR XS Max 8 7 Plus Shockproof Cover | Wish

   URL
   https://www.wish.com/c/648c8341a6b2158e5e21493a

   Collection Date
   Sat, 12 Aug 2023 07:42:09 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4955:4700:5986:86e7:734b:2fc3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   dZPPG+1dgEzLUq4/P1suAOm+aZfz3lmefEA8sqtcmzUukh20xgcYzu1uBZzyCwSmq3EOTjBBs4lh/MMOfrQWQjoCzWtZCBP4XxMZxR8NR//E4tLfzzYqE8X+dxc3NYfOYwC0sXr/gv/ksiWQ4JvTwwxUE+HiqDlp+yRJMM2dpIuFq0MLO0E2Hu4kkhnqhOAYzvBP6K7r0cnZNpT6Y6+MZjg/
   J2HSn8TjTKMkLx/UU8vshhXWBQy2LcZhcgkoSTGgxNs5E3QWG2yWFw96DowqEnqJGlECPG/XOCJnzqICeerD4CcIRqFCuye34j5b09MzGAI67/akGcNcZJ/cS1pfgg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]c[fs]648c8341a6b2158e5e21493a]]_Sat,-12-Aug-2023-07-42-09-GMT.mhtml

   Hash (SHA256)
   1a039fd485ceff3489727727d4d69f89968a3b1ed571a6d111009ec9258a84f6

   Signature (PKCS#1v1.5)
cWEwK2zcv5lPoSrXWLgTQ5yC+zkPNwB8Tm34O6yMRDkudSTaJunnYl37XQ4kAo56hS147ttJggJQHjQ75L+OK2WK8izAyaiWTWpV3rbuduocojK/aBrRfho52AKIAEsdYX5LG1znVEEoexeCz6zCj8faMZGkUut4AikefoDDsjXwBND7O86lhXaZF90tnS1buVTrUNCVV+Hif7fjGOPIN+hj02Ve/w
+Yu8J/wuqyKB84riCjqCjAqenOBEVHZP1Dg/tiickze9tXeMhQJljAmeWKrlociX58NnATOgg7iB9ey27jTe0qrceSR1LA3/JKYsLXS/C8x/pZVG1J1Pp/oA==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 28 of
                                                                                                                       136


                                                                                                                                                                                                           Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Cart | Wish

   URL
   https://www.wish.com/cart

   Collection Date
   Sat, 12 Aug 2023 07:42:43 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4955:4700:5986:86e7:734b:2fc3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   DPyC+jgSD3vRpxs5/JB642nbOBdBwTVdFZfcQrGHX24bzV9KBeVA2Po3H1o6/EV+EE4EulK6FEoPlB/P09sMCVUV6+Yr9fx8J4ibvQ76Gl3Vj66Vqpjy0MnbXE2HxNMnpAvsWDQBDPxm0OztfcWgGlxCOiur02d3x0WxcXvDA/spbUIWe+t7Ta9lhy3ehA08ypMFSWaeU8/8ZJ8jQo2vG8L
   +zDpMdnN6j4Cgc+scYKoojo+leu6tlFQSGUoKda5lJE64euMmmXvdpFDmOWiM0qLNdQUhJ9StNKGGO79nnIxxjPdcreLkdDrQ4Uxehwh7bWGMHH+Ja/SMURb+No0kgg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]cart]]_Sat,-12-Aug-2023-07-42-43-GMT.mhtml

   Hash (SHA256)
   ee0963014517731eaa87e9c344a2ddb33b05b482c4bb7897b8ae92a9e3125bb0

   Signature (PKCS#1v1.5)
QHqaaYUqnkR++07kDXXiY+yElg9lDS3KdEB3d8VlyX5MJM0Hz+BF8NRA+OJoXVIRlAQPXkxZdqrc+3xLtT2g4C30RTsmb+HOGPvIh7Hk3xmvW3uKipt7LP+TGPTjCjDtR8ghigquNQQhtFvIjRueQhdpvyziBNfBu7oSt7/AjH/dmd/
q5ykXMnWp3lsGfVkTpRvQeIxuXFvw2hWKEIL8HidSgqkHoRbURGebut0NOGPeiEyobE8wkMkYGNN9AbS5CXrrCztSwwS3xlKqTZqNwZ/TuIwUXS33mRiAzOQ7r9ZNRC1ZnUWmMqPttdohx5H6LzPB0/yTwvz0MGatWdvHgQ==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 29 of
                                                                                                                     136


                                                                                                                                                                                                              Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   Classic Smiley Face Pinback Buttons - 2.25 Inch Round - 5 Pack | eBay

   URL
   https://www.ebay.com/itm/195840518371

   Collection Date
   Mon, 07 Aug 2023 14:29:42 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:497f:e600:b95b:2e52:205f:8608

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   MjoLw+52/+6PdF2y0HKKcM92j9r8S8t48reuEXoQnc6azBPTXZeIQnd4ZBlode080bCxi4GSTB9rFDke6Gbbv8WYa6VEa7QBv+65i49KuKxmdT6NHrJ6mR51IgL88Ndzw+DRd5ogRDxSPfY4t10YpC9gH7TsKIr0lRIPFb5Mbia5Tks4BWhDmazd0XPwpp
   +HCYCD1hohD10ZIzpeukY1M9Z5Rr9kCq0wVkVO7px6AWwCgU6W+LVwkJ6t5QK3VeQtx7kHmqtQ/3aZm9VULM1IZIaVRyRO6nHyvRx7ZX0I//Jfs6j3MuCjLsTFi+3Rol7Wu3yeDZ6JVWSZJwSTvhva7w==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]195840518371]]_Mon,-07-Aug-2023-14-29-42-GMT.mhtml

   Hash (SHA256)
   7abbe5ede5af507c1ffaf52a01e84a2ea407482b25af7de904158264797b8705

   Signature (PKCS#1v1.5)
OyUY7zJd8nailDD6WoPcu8bHFJnOR/9WyPfTUhbAJfUjprpefDDNJBkmmyWv+GfSKdLPVGRa85isIdluFZQO13ihvL6vMQpqONAYSzXFhpHHTkKcbaMkxbNaGJ9qva9/gvTRiPJ6/PYgybiSdsDjZi1Ct1QCbX3RvuAnQ2xdAC+r+8xjtk2q3S8EJ3SxvdNqY+939Zoj2er
+koYnOwKP3Pc7X94dD/7OOc1dG/qdrcO/rU/x/abL8oGFWkVec4NHiClyFXDDidSho9W2CFAlrydIUBnW1vk+N5OAoOA0CClloVJ2ekFfyJRBPFaQzj+BR10/VR71t2l2hF7Ntuq4dg==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 30 of
                                                                                                                       136


                                                                                                                                                                                                            Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Mon, 07 Aug 2023 14:33:21 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:497f:e600:b95b:2e52:205f:8608

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   TgnWXGtjovVYCRTf/VxFGhCdKGliFex4XMu9x2LNdFhKRyydTSudmsXq3Bt11vCrOwk7q0JzwRhwgxWO+M2IEZHKQPepqUFACqwFdDXtJXKcyVg1GjAUx9QfsKlq343vf/dIzpJnOgS9cY/lH1VhBFhOILfGXKdxHPoiw/U608es6eiIoQ+HvJP
   +3wNHFffz08YsUtHd094XuWnPySZLsyyMAcE0b4qrM55CD1JzzaVCjdfg9k4/zmFxjOkXGM2pWrCFNK/YvjKBNNY5Q6WxgMHho49ulf/2s8QGh4cFRsZ72qOyHlBbinrC/JGd1JtoCb9p57TOE5FVE+5fma9k9g==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Mon,-07-Aug-2023-14-33-21-GMT.mhtml

   Hash (SHA256)
   cfde54da258544f6fd252d2cc67ea06fcdbd3d703d8b94ea054414e207a608cd

   Signature (PKCS#1v1.5)
J2Q8mUHoYi32HWYMfPpyYw1DeJ8GBP2fZPwOiT13uXyJbSiCyiM41Or2tHe8kqQt55vV08GEAgqIQ+0nEuVpZxQhAPQKlfA3gnlSiQy1SHb5BeoRh5q892kje4qZQQOr97zla4UFGRjHA7aBE/+peiapm6XzBhNjc0e934/fDQcvpMsUF2MpFG8sqb2bim2vfIkT2JM/EVdjWA+fj4yRR
+U/09yRDFPOWzxN+u6BAuC+VI3Fu4SG/g1bmxSG+VZfu15NcwAc/+DteLY1ut85JfwMtuq9N6bd50ecpCMW4yPBAonKwe/4RuIb3IL4W1OQGUCiGsg35GQWrcjdXFIxcA==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 31 of
                                                                                                                     136


                                                                                                                                                                                                    Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   Smiley Face Rug Colourful Round Soft Carpet Rug Kids Room Home Decor Living Room | eBay

   URL
   https://www.ebay.com/itm/314049742240

   Collection Date
   Tue, 08 Aug 2023 11:00:06 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Q6VbGWTZtsLdm7uhOOFWb4XPGQmENfbACsjsz2aKC8jC5jDB/1WdlcjKcdnFVoYhOnA0kPIcRDqnEZy2QquMSA6r83YraGDvUHDMERmhQgUtXp2f9ZRSgpLyb1oQ9Q22osa8n3FsPMeqXRzvmHMpgam0KnQqL5vu9DYpMitbWaQCsqlD7xoVOV0u9Fzn4NeI4CJqCHsCO72Y9YzpIYkYGC7
   4I9D1IpSBwN8a1sroGH/K4g79xc/AzAuSdeznTzg4qkao+Ckzoaf9ZjWlF/ZADz9h1trukdHBTjlxBlxyGWrODSIpB7vLU9cUV9/riJyC47ooB8RKX+4SEHX6A+GKIg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]314049742240]]_Tue,-08-Aug-2023-11-00-06-GMT.mhtml

   Hash (SHA256)
   b60cfcfa6aeaa374e4629fdb3dba2efa1e8a04355c8d8451092839a403e50eec

   Signature (PKCS#1v1.5)
Jllau3jn81jxSELaMAm3/dECtovYb275f/kdOZs9Wq237h1WyCrfY/q5Fh3L44DiYQH1nu2aI+p/S4KNpt159RoU8Q71YZzWNwOMRnq2V1LgCJ8pmJK7/6b9qB7jtV/c3egUr6/Oe7cttAIpQktrCnuL4kTFXuaVVhaLmPSGLBm/
VJZxwU4EXWJcWWJ5foiUH8cSgGEGafBkdsm9qSqOu8RWTI5Ie1Di6qFA33jQOfiGxwRf6u4f1bR9Gc4vlOdI7k7V3mnQtLymt6qssScTQCioraJnFWSUEs09MvsJLindTT2Uav45UCAio8fywmBXtMpX9d7a7gvVrIVu8WqPjw==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 32 of
                                                                                                                       136


                                                                                                                                                                                                        Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 08 Aug 2023 11:01:02 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   jIU+wBLjztckqmpr2JSEjjjmEjg2C6avGMAG45pOH5UgE4DtmCMqUMt91HghHmJp/jvSLj4xZssm2kvVJXutyNBgAIERPZjqKPpuAOnp/6tS7ydgkH1jmteLt9qycKtbAuQ85DkPsxyebUEQvwChKf3y0Ct9NPXklnpNX0fv
   +fyAngIBU6MiAiHasDmRaAaoA4hf0MlrI4iur7s5Xt9jquGIPciRDs4AvX/7M3E9XssLYeWwKLKyz9JnRqli1acj7eeXhnR0IcLhhOzGE2bEkInSye+Yf7/leNBLGssuIE4XOyrmsFMamtnhKEp4n6+yAVj2gobUXrcKgwtPWLbL9A==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-08-Aug-2023-11-01-02-GMT.mhtml

   Hash (SHA256)
   cd2bc763830643fb8aa3cd4b950494df3d777bf418aae7c59a5e71be4d114bf5

   Signature (PKCS#1v1.5)
afYg7qUP0Dz5RzyHO1T6D4qiPT458r/k6qBPKVYBFWK7GmSiKiPykfQx4AsZYrpgJTtG6cT46X0eZ3bs8xrAfu1s8iAjAUj40HqrftQ2ESNm4R+Ugk/zNPBko7uZXoABkwucxrgRjA1X0EVfuErxGhwm6HjS40HgH6swgiSJaUOo/fa166T12PNY+HCc5emTRKHM/
H19NoYqkno29MQqytelxEwKt5kom77ko+N72SGfYAxRjc7Tc32EEvkG//1H6D/nFdfBddBRbLTOUYLIBImkcUIsqI8hajYn3HXQ5GKsX8kbuDhXRKl7FFzOqP0UrCdDpyrHtewFjIROevhgUA==
                                                                                 Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 33 of
                                                                                                                      136


                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Smiley Face Hook Loop Patch - Happy Face, Smile, Pride Embroidered Badge*1 | eBay

   URL
   https://www.ebay.com/itm/265786123455

   Collection Date
   Mon, 28 Aug 2023 05:19:20 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   YydeqL0O6XGSMj/7P1FnQ8p1ASgXHb2wjPcCCVq3HkNefE/NhbVHIHvDt1slcBX+62pcvWDiYWtUzFvVI5/wd+SH3UtzjsajDpK95WEKA972SvznysOh+gxydmeyqu8K/wqKlC4DX/d/9DFtRSLzJXRH7uy7dgw0tyRtmJF/QT4=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]265786123455]]_Mon,-28-Aug-2023-05-19-20-GMT.pdf

   Hash (SHA256)
   fbe94a0c84ff7cdd4ad106f601d0086ada5f4143faf8221e97a1ab1895bc2546

   Signature (PKCS#1v1.5)
QZ3rEbKUIL9l+1BLyGDhZvRIhUEOpWGaD5cgK1hVUcQpKQAKzMdM13vlSueIuuGlMF/YACUrona1J/73ImdqBMQqTOrq5/AlyWcMkYQlZ9JWYUNTaPWmMvGTZijWdJtDAxKe0Vhp8NzlENsEptxYQvFTN6Nz4fn2RXf8H8muNms=
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 34 of
                                                                                                                       136


                                                                                                                                                                                                                Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Mon, 28 Aug 2023 06:22:34 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:49ee:1900:1c80:a1a:adf8:9048

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   UATEDZBA/VJO/1NxA8T2p8hDEVEr/0FdO2iNnOAcotWKZRJhgvDnhGaipf3FXjc9JSR/
   zohFuwNQIdd8HETrcEK3pCwyu4vsGW74Utq4DlASndYlXiJzO4ghDG17bjWEg10SRrm3HVEhBZHIjeFzLcalc2z67dlGAixpvpCf2TzUC5kB4hshJkfKU4lVYbbmaP6WHyIE4euQvU0F8qciidHfvC425b44euT45L30q
   +pafidnLGZw8X0p0SywhBXeVnsaj8ftymc6HmF9wSYvRDZcyWamWQUFNiDhqRh+ZbvrjtZnivpXNv5noPrgvoaJ8CarkqiurCInOsGGBQN+KA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Mon,-28-Aug-2023-06-22-34-GMT.mhtml

   Hash (SHA256)
   2405fe34616bc072b496291dde5b409bc6e7e172d10efd253a2c0931e3f6f664

   Signature (PKCS#1v1.5)
J92sTI8ERK9q6jCPcYAtjnFG5PACi7A7pKu62iIkD7AtK1FZ7jPqJeTaNQUIgZ1gshXCddyKxBU7KSFsCZAKgafdpzJAlsHXduuGFkIUrMHVtyF3hpfvyx7FA6RLt/BDRXS55/
YFB6iIsuO2Z6M5UQgiD9VfErhqjNv7OLIhvZfa5YTDEqSbJvtUYtBcaDcbMastyr0a08P6+0MKaViNEDYmDkIZekqaHXxMzRz1GeBpdQpOkyLSTkT/+cZnnn3l34yhF8/6lZAhytBtWphBBX5RrcteB35U54Ok1ugdxySjXitbpVqRPj7wTps//DhHd5sgAM8F02GxHkUKjsEizw==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 35 of
                                                                                                                     136


                                                                                                                                                                                                            Investigator Name: Michaela Borja




                                                                             Evidence Collection Report
   Page Title
   13mm perforated round smiley diy hand-woven bracelet loose beaded 40 pcs | Wish

   URL
   https://www.wish.com/c/5b4700cefb10a243984e27ba

   Collection Date
   Fri, 11 Aug 2023 03:56:17 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4976:ab00:49ed:2e49:843c:fede

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   NycaYv4kR6K7fMQrUU4SF7ZMrGXTbREZAFYJd0kG8ZMKjn8hJoysFJaHYDF6wr0BqioZqGx3qmCFNg9rnUu9DtUtGIqC5EdpMS734FgnZMu171J7aFUB2FkMu6eSVLvshMSJlabx+9QSKhBJ1kXWr0YdgWt1a0jfwrJGi/
   VaKXWVXqsK4UQHiSmYDN9sDEGSSSXGEM6zx5vuIIrzhviHR64MXnhExnUyfN5UxXhkS+prtSPXYMUZ30nsIM3VBd9wJYEsoePspE+RL4dPOLOCG5PB56FP/B1mj0tmzpIPk/A1//JlfRM/k1bun7XFkGQUitDIzSIncJ/CA1qcYsR4mw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]c[fs]5b4700cefb10a243984e27ba]]_Fri,-11-Aug-2023-03-56-17-GMT.mhtml

   Hash (SHA256)
   3235f052533c0dc7e534d727ae11a3762f9b1176c7ad87baa54ea74522096865

   Signature (PKCS#1v1.5)
jP5TcDt5C6+3QS0Q5NTxLryRciigPqY9DlAPg/eelOfwJFs5bQfH7nyGL2FHF8YwC8IA7hgSfqxDGWTcEzzFGb0twJuRrDLtE3koDnpz6JJb3s57/NW/Vl3CpuGJT9rAWoiICmXDoXby+E1LEgcGLn0LYtlZvebnpPELDIPAgwJGqt7WDaWVLZ4lyGrrPQSjGKDY2fOSZ3KXQJ3aqlmON/XmYTQOg6/
TQuzWuTHZ5S+dlMMgTTQYkv88N/D8O7tEwJg3kAZ59XEV1FM8+oSd0Tv3CV27PmommcnvHvcwIHsuUzlYfd3xWRtfo9F9uWhBwT5lQ0mZuxuO8+YZOjCmeA==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 36 of
                                                                                                                       136


                                                                                                                                                                                                               Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Cart | Wish

   URL
   https://www.wish.com/cart

   Collection Date
   Fri, 11 Aug 2023 03:57:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4976:ab00:49ed:2e49:843c:fede

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   aUWP9BPR+BFFOIcAqcWqcLgM1h2sxq9gYNaBLO/KE5WmKkjF5uqCUMR9CBBVKEHbjIQb8FccCyfSo+O7XOHY7hdp9bTt8LjmHDAvCOg4HroVpl4cR8oYTlr/2dUTTVOROEkMWHUBkCahznuqUsmCnEMmGPEGJP43pmm1bADtcffgw5AtnyH7/
   KHb1K0Df4OvtlEi1ZoFFIozHSTrz8IN3oul8+GtNeGAjec89NJrrpus/R9hEQsO5W3Aji4eRpRL6IVliycnXEwHGGIiY6KH4xgjIE/Z8pL/WRM/Iwo1mVLhy3Gt/8EF2DeWl/DY3bTaYoMNOzjY7zR1ykCqeNhTmQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]cart]]_Fri,-11-Aug-2023-03-57-14-GMT.mhtml

   Hash (SHA256)
   611da12484a2cc550115aca45e0788198c48ff813f0f8deb6c3afdc5534091e8

   Signature (PKCS#1v1.5)
jFRVl8AetfwAofcvzB9GJhGJveuSD+XJYez8EoyesEUy5zCSHp6w+SR9FRyXIAO0NCrDjrSL8FQtvktg+1kU56Z1hdh2X6IBL9FRJLPxzv77wK/gtsRW8rymJ9LYLJNyiXbWzTt5JoAqqLLUVoZyAiV/k3LOvluCl1kzmFEtRNnJ5SU/1aFqe5e+0n40dX/GI4bcSnZZTYPS/7g3/OpGMD
+zwNknLe1DiGIOfnbOJBbKOTCSVxNbPLAOWJ7fS1QD5jFNBcrfh0/g3CsXlNlQ1jowD5fs8mTy837Ro0PI4/3jXFNH71z+1xtXQ5LG98/ct49/kaQPagxv2vtGLcVwIQ==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 37 of
                                                                                                                     136


                                                                                                                                                                                                    Investigator Name: Remmel Jae Inabangan




                                                                            Evidence Collection Report
   Page Title
   Yellow And Blue Ring With Purple Smiley Face 3 Handmade | eBay

   URL
   https://www.ebay.com/itm/234664255484

   Collection Date
   Wed, 30 Aug 2023 05:57:20 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   MuGZ/CVDLdr+6UVtvUyDwa1esYkGjo2+yioJbn1x4kaIF8Kmd+v/VSlVzvy7gAX7jaAAmBXitZ0Gm/0Zg0n4SngYUd32H2onyXknDN3aFGexuGtFMWnKrSZ40eNdC3PxHqVQ10J4owTEbtonmN/rztX+n/hN5Wg+WmtgLk1VnT1zuj/CPbZ+huG/F5abUeAUg/
   OLEl96ma8sEZDr80lYxO3IYQGDR/37NeaM5VYglBZBXcIsp3Bw+C9+IPIkVColy88hQr54YAZqU0IIXCGhB8K3njIkXXa/LelB45mNEOicld+As+o1yV4MSq0Y4gz7bMiJDbzX75WlmETML14KRQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]234664255484]]_Wed,-30-Aug-2023-05-57-20-GMT.mhtml

   Hash (SHA256)
   1c5586e02f90d491b14f31390ca8972e4732d400f38289edb29173959fc37e62

   Signature (PKCS#1v1.5)
Rteb97wh3QE+t0qCEV90Ya7+OH5oIQVZNd4Es0nh1v1FTxJsfFUhDcEh/
CA7pIi1DgMnEw4dwyOVpkwGh9lFNAn2ykDjFSLGNjevDAoOKkvxvCYh85+c7Df8qgSHgdgXWSBCoEWruiS2phLFdHm0leAke8d4lw2PQymYRjn8HIBhuZILd0jRgqnEZ5AX20JUIdwUCOfPo2BrNoCvOBZSMFFb5b6N6PD3HxrXqie8epGRA5qsqkfo5b6GrnMOXtxf79IaOJYNRR42Eo3fU/A2N/
FoN3ds67Hzf7ZLDx0UtwVMJhPd76rzWbJ/vZaH3LsDMcRkJc8nCSP+jqact55sVg==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 38 of
                                                                                                                       136


                                                                                                                                                                                                    Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 30 Aug 2023 05:58:34 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   PqI0aPJixQcddT6lyRMcot6Wk7Cs3HNigVR+07XNu4EgIjZPWVPlZnUyhTNIDwbhXem01kjsuNDh9IeG79SkXNv1e3wAmPrZ7lsOdIP1IvfaT27TPE2r3tArJv8B6UaoDU5tcTDNo/39KWrJT51x0Gd+lR7A4/PA9R63KSGyhVmAPZqEcNwm6WiMooAAgbmXJE4A/
   DEIKxM0OnvMrTOJKgPi679bOUDNYjWWc3piI9+uWsvWLWrbjAa8tAEJqt7CqFDTq2aqoem2lLTZECumyBqtfO97BdyEAC1hrWRd8BoEMrZt/5a4nmRZoohtT7RQWtJcqNJpsaV7nO1wSaD5hA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-30-Aug-2023-05-58-34-GMT.mhtml

   Hash (SHA256)
   ba0b2277720418747a60040dc2a2038263fba34862ab6bd9d0c180cf7cf22e75

   Signature (PKCS#1v1.5)
NgxDj2cuw6o6ayKEcxbJfLy10k0KCW2n5SlvdwFqnznMWASfSaRQdBH/2/fGCCxWnCZnZMOKd6NjTiyqDITOJjgjrSvvz7sy3xWDwQrryJRsofEG/G2rOU6GYjDHpYbyjyQRckdR2y5KAe3M+nlgmm1XiW+Jm
+U4r5jJVkYup8W0vPHmq8MeReuaElr6wamqjU2qt6oreGQvarvDtVxKx3TZzRNGysliVD/Xg0wtnXt2c4EFFmCqbH3aHO5v2XH0CaIWbE0LgadoJHOmdwT7YRYRIuqQORKg6FoZgqH3HKt/QKjRTzX6cE4VgrkiRU6QT2ebSDXutZBGlvFNZaHiAA==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 39 of
                                                                                                                       136


                                                                                                                                                                                               Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 08 Aug 2023 07:23:16 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   GMrza13YgLGVC5oD2JEHpM9F+g0Pls8Z+UkX2ZAN3TdU2PwN6jsrvI/TMY+QeZnpByf761270INzDvir+lnXFknwh6Ce7R/gQn9WvV8NuvDCOp7+ffKl6cHKbMtsVXo3IOP7DO7nkIN4PkSJimSJkMwFcx/
   BKE1FaepAcebHv8MNa4abmNQ26slkZFMCkMFTaqXeX8v0qyF6XpNVeJrcTHC2eNWNkDudVBMWBHy1r5NsrAQLtu8iuFbWkTXG7swze0k8SPDMgtkfZSxc08pU3F/uCu5AM/LHZROt3gzgQfDjPHqq3fEd3nOUZO0Irdsav1goou1K4VSOP82MNvKOww==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-08-Aug-2023-07-23-16-GMT.mhtml

   Hash (SHA256)
   2a5ae4c48a0361902d58c1dec3f099fbdb332caa991667bfd0f5d9d035be54ad

   Signature (PKCS#1v1.5)
nzlpaYYHfT0hFdjUODRO1uFzqo4CnY3d/tJ+N1ClgX9uc4gieJxdqJ0tghYZ1TO2NLL+VlyWu3gbrms3iwRTB6LrAeRPmHuftza0bhbbpPJ/qj9o/pLUJzR5A5uuaB1GrTHGXsStfpooiyD8S/szpkpjq1e49rJZrvwZlHaY39VyTqzLZm/UDOkls/
jpnIwkdwNektjFiXP44M6st5oueAXva9kG7bPigsan0FHH9Cz8lHITPMgIcsQ5iWAGll51SLknM+74q7c4CZKPgs6iT6oYSXAUKc4lnIhW2zCGPwGQH8GZ+f4PyPXqdI9iavA59owik/KTOl1o/4/N4XvV/g==
                                                                                 Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 40 of
                                                                                                                      136


                                                                                                                                                                                                                Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Smiley Face Slippers Retro Soft Plush Comfy Warm Slip-on Slippers Comfy Faux Fur House Slipper Scuff Slip on Anti-Skid Sole With Memory Foam : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/dp/B0B1C9D9Q8

   Collection Date
   Wed, 09 Aug 2023 05:13:30 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   AiH5ldLFc5krkmePPfryyu6c7aCtyx/AcZtHXTxlcg1INaM+um3UtXR0PrHjJZVJ7OVUXo1iEMmh//U6JcnA1kNembGJ7iPv9apyBLueoVj48lO0f9Y0b90imsujkP2+gKPHERHJ3/lbPQ4HUeKrl3qD7D3TnEpGEGhTfLnv1h0xW4TumSVwcgMn2xDWXJvkqCyKPPzIpN6UPwM
   +rquYU2rybDTWhlptq+xYlDRhySWshGbVtj7dZr8VyO0AJQcKbSOmPHonixWngzfrPta8WHVyg3MITgfZrfKGV672ah12mw7oM3VkGtncYR2+lc6plUsIdH2EKwyLDajHftzSrQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0B1C9D9Q8]]_Wed,-09-Aug-2023-05-13-30-GMT.mhtml

   Hash (SHA256)
   94e7686695875d79cee29f0fe63a0112802a054a6bcdd24700cad45753cef1d2

   Signature (PKCS#1v1.5)
hDAv15GGodHUvp/FjUT0QYe9ouHx/2g68t/R5z0buIHSVAA/vytWwLDgozpkbHT/KpYzfOZrkiUiqBKHtnY/nwRCoTy9HlpyiTT8jPO3NjMkJy9Et0/W5HU6qkqxByVTn+RuPJncLXoEBU18dE14QfSD6X0suye1CAq2fITeh/LRkVb2ctZepUtO73rcdaXcAPXnmu3YHC5wGIL6ZJ86i/
uRCtGUdXevn4+4RiMuVZlaSZg22qS8VnKPvFdLO2mtMUhuMS7Fvcv2irCQiFamiF1cXUKJQxXQESpZ4CtpBS+bzju26JIf65XLUDkDdOcg1Tm6jmSj/giCkkf9qdjQdQ==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 41 of
                                                                                                                     136


                                                                                                                                                                                                             Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   Smiley Face Bandana Headband Scarf Biker Acid Emoji Chemo Dog feeanddave | eBay

   URL
   https://www.ebay.com/itm/232857287821

   Collection Date
   Tue, 08 Aug 2023 16:03:07 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ZpzNhW7ocqyvtF5VKwnOvB5/CW3Kt8ZG9xnlJqhC5y4lb50zoMWAWYfUqvaxSTQQD53BAUSH9+UXczfoDdc4bzRzfzrNHghrMdAd9PJUAzLkoTOAgKsVO2ugEsbaDhmyTk+bg26JtqVMM5vkKeQykMWTI4OiPmMJiL6m4MALhqoc5Z6rNNgXD4SNfgzS3TFavFXxnPTog7E47d4OESy
   +bBmkHabiD8/P6Uql2a0XPl19vd1+9QDYBUaoJyiFe5CfGv6h25GIlP1tl/k6L6iHVmtFZ329fiqptaIwUP7FCp+yZ4zTQ/FzBFwVC9cZdfHVgUFigmr9VVlfQVooE1LdZw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]232857287821]]_Tue,-08-Aug-2023-16-03-07-GMT.mhtml

   Hash (SHA256)
   c2648e4fcac1ebd7687b335ae57d9ba16dc290e267c1c37df5cf2d0ec8f576e6

   Signature (PKCS#1v1.5)
BTdfwPRFGf6cJcnlkiAnt8S0j/+gbkDAgTPPentyQKEuYyJOvSKf+Ty4QfDTKSiUsdzmdoF8DG3Va11CgAVgGxdeX/SwK91/munsjj3Ej8+1Yhn5cTWQb29kSmm0A11ODwz4/+UDpMZlKgaBjEJq+6Xdx1q6Cdn9GQLAy2i+sOEEVNXCCjBEIXm/ZJYW4amjfVISDJ3PwUmvFIE7bxCtuxN5l++iFAl/
mQ9/qzHixLFR0a21fosqaVx44eGMs0osTfMOh9wznFwxbBkHh9HmnOZd2WOVVSPU1bZMh7QFfuLnYl5OfUGT2yWH/TiM7YtNKsVkZSWRO2eiddWNxGcwtw==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 42 of
                                                                                                                       136


                                                                                                                                                                                                            Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 08 Aug 2023 16:04:56 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   MjXGc/3V2N1f3hNVhKn4vaiqogfBGL6lTisjkIFMrkaRyCoIA/Lzxb28wLvW3lnS/qyP9A2f13PKSfPYH+A3tO2Qvka/ja3/gOYAMsV7Swlg07Q882lejyphsXuk5koywwMcaO+/03uHkwv8kxZvVJdIVCw2O/czYM7mUTIS5TLEQmIq9UbP6Dbt+o1IZmNdNsmup1486RrAKP/7cSr3NnAN1N4z
   +fvqJQ/+Z+IlAaZznNoHS272JG4RoAXQ4qECo3IV0uc96cv5tV28O02sA01phCULHXLa3fvmFJRvvWGR8VnWNQxk05olymsNwjUQzEXpVohM58h6/T4ds8OIoA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-08-Aug-2023-16-04-56-GMT.mhtml

   Hash (SHA256)
   f6b81a304971a8f9ad58b35d34da1047c8334189e1215617c39bc1087d7c29a1

   Signature (PKCS#1v1.5)
MD/e9adFGSRPNE4toov5Z5WYkmN4pVdAwArHjjw7nsEYFII9pa+bNhhe52HkhlXGVV8/
Pw4RQXINwoSaTvyxC7pnYiUv536IqIiPwpFfO1gmhUo48nvnn3MREStsSXrNRPo467YlMJp5znn55D6WS0kpGcuvxqCKgeuuAPXH56YQUbkwmHew2dSaooJUbC9gutIici7v8OfU8HpsrTjxMTNlKF9EaDjhinDPI/
fW9fcbszm6eVz7jLZ5+k7e8DfEFZ3EuW8sQpPHjFnzutsbsHJAb410swCCoyR5+5KG7tYc8Fznz3rENBGf5JHy50srZoVhLcfmVOICA1YhphL0Lw==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 43 of
                                                                                                                     136


                                                                                                                                                                                                       Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   Smiley Face mule Cosy Teddy Cartoon Emoji Uk Size 5, 6 and 7 | eBay

   URL
   https://www.ebay.com/itm/325733671655

   Collection Date
   Thu, 10 Aug 2023 01:16:38 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   193.27.12.196

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   EO8YSZpH8qkxIQzU0C0BDhMbSGlZqT+4DRej9i/1HsoBUyZZbqp3xsTQkehpav6ZGIu69cAJiUwAfFHDG14nLpVpiG646b7nSCoceU9jJ8tArfwRAq0clMjlckb/KGnpaBhdtDUt8OyyhmqHe0R8nG4jRs1bqRhkSVhyvRprH/hUUBfF8S78zLCwIZ0c
   +hzVKW9pKCpdiCwgRlu7ki2ouXUmsC1DvlZtBePsjSlSDGRYNKSLxsuz6AkJzU1voRmO8CxC3hISi07US0RBHPyaay52Hnemc/byE139GEuUgduyYH5Y86ts9p/TJqWcwWwlAbypv/MrML8zV5kB83El+w==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]325733671655]]_Thu,-10-Aug-2023-01-16-38-GMT.mhtml

   Hash (SHA256)
   3478a5f32fc3751d6ffd797b9619c1c054a2ce1903e9441255128a581547cc06

   Signature (PKCS#1v1.5)
b+/uffhvoKi/O4GWVdOT6izGPQscZe2FkmVI7wxRMPT8g6SCVHFdWwFEX/DVXNwRBrsB6RPJFkH/cxJkITVnF1sg1+TLH3diGaRqArd462+2x4JDydQAb2IWIdC3E15CZSbpplKgbZv+GYRqdt2+
+Ohtv4pwlylDmHke1F2Foq5wETXomwcOMv2u0u3UrDwPgjwxikrMlQPx1ZL2n6x013sCH6Ej4M3KuPVVP9LfedTTLPlUnslMqWBltifZlV1L0MXiwx5ETEYCYmsISjHZhaK8GuiC9d3fQS3iBH2Q+MuQQG6qsi2roQERHaFA7nZ8iR9Fiqr6sQVLEJYI8KOYZg==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 44 of
                                                                                                                       136


                                                                                                                                                                                                              Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Thu, 10 Aug 2023 01:18:30 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   193.27.12.196

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   LsC5pWhA768dCH/IawlZwz3ldtIyw8XpVlIoO1a4bPSeB+dgzGjL3fo8yoUjuMJj6PEuNiWqzIeh+IOwKTETKkXeoamiu8+m+CUWVeR8qCnV9XR5QQMxa8usjf7lN2UTMF6NFzhJ8wFAWQthVh55ksAXYn75bNy
   +RqSzoeS3o5zsvQ7rnsUlVkXaFwhisehdJfzmTGmoeQp3XUPms3+0jfQ6bx38OafI1vcISQADDkBkFcHySs9jO/5zudnl0UOqzcEo1c25iIn05mye2izhfYcW73Vp1qPATeySaMyX6gv42iC1eWmxEY3e0mEbOSvPyfADIJsZ2jy2oz0W+qxD3A==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Thu,-10-Aug-2023-01-18-30-GMT.mhtml

   Hash (SHA256)
   02ca6a70f4e51d1d023b947a806a2daa1f28c27c1b9801870ee178bf8bbd1b8c

   Signature (PKCS#1v1.5)
gl4/rT3WLVhtK5a6NbYSvaSLp+h2aeuRJcixSe1H/kNKB6PVr0eCkHAudEy/MVHrMcZczFOlyG+K0ofrjcAaQeZcVUHFIhYseDSpFQtTjeUvG/8oAS8Sjb7N3xcKOOeZyDMT/RjfQSv+htNcGAE1gg7TW92EiLYqKb+lHNiVXPUpLGpI7azOUNdWYH8gl4prU1gfie71+Y/cV8Tndh
+jXx3kCtn4jQjeeyboKOBkXHZLpXAaRuSAYwFBSc7vn3+mo3JigDFx9pZf0Sx5k8bybkJ/0JQh7/wc/2oIN5SOpYQDAuXpDL1cJm031Q52cx4e04XiPSwIUWd3GPN3+1WIyQ==
                                                                                 Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 45 of
                                                                                                                      136


                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   RAVER FOR LIFE Square Fridge Magnet Smiley Face 90's Old Skool Rave Club Dance | eBay

   URL
   https://www.ebay.com/itm/155513118588

   Collection Date
   Tue, 29 Aug 2023 06:09:00 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ZnKY5m+sIu+SL8/vFZ9xVZnVZYLNQVALw+0zb5QgfGoJ1/TbM7Q7P6xHDAj1V2V+KoIfkg9xQTLFExhy18yNlsRcDi77rfNAfO5zViEnAYU7/iRMXob+dxJJQcIqTbGucvMfoLBK0LPV71zKEFNll/ITl8bd021L5VJno95On2Q=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]155513118588]]_Tue,-29-Aug-2023-06-09-00-GMT.pdf

   Hash (SHA256)
   e221baade0367316a2ac6c37076bfcee921325f970246db188a16ffc2ccda149

   Signature (PKCS#1v1.5)
JEJwC3ZvFTfX/qoqXbwApFaJlf1sNPrS5nBQFjZqyJPGLVl+1Pf5wEPOrkZ3Q23rNY7/wyYHhOYoR+cwcaPH0HIWdk58bLNkt7MrZMgXh6nn8VhNPCJYj52s8+eUfQJ7odO/JWiq12DGROJISkIb2IqkcY/kw+VRfVFiLfpd/H8=
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 46 of
                                                                                                                       136


                                                                                                                                                                                                            Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 29 Aug 2023 08:20:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   112.206.74.192

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   HqrRjpSRTuun999tYjjjg/sB8+vd27vgwk7P0K8JWO+6RKWhx1K2iCCV8X9TofSry4tR+ynMSl+85o6siqpUF+YBsDfEt3R1t9l+R2ScDdCwm6kjDGP5ZCtkDJyKakVu+PNiM3VoaV9gzXy2DAwuuPM/XwnitAgL1lHZY4t1v2sH5pXI795IHCCU8YYJZoevtkE+TMA9oEPOQqvmdDbAr
   +sRKY9NfgLGPgUz7gRf8E2TkrKFMDtxhvU60qEJ0hz02RBBWdCv2tj4ZAlgrTC+AsTQf9kDsCzbLkNueoaXIq5wIdKURu+4UDE0o6ucATl0WAgq5VJz7hnqn3lbFwYPPg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-29-Aug-2023-08-20-27-GMT.mhtml

   Hash (SHA256)
   d6411d0ea8712882cad7e683a697973a3f0b12753f0654c69299f2a33d1f954f

   Signature (PKCS#1v1.5)
DOHslLWzhHj2ls7M4ERuSxpJ6WF9GiYd53MWzJB3GLGyM9w8IrrONanZfdliQuxyh3RDhVRd/H9nzVURWnzrPXMClTxsMN6T8zTDAWZMlYUhxS+iYcK3+oPL2GdcU80sC7PQbd2dDrg7Pd0cHYiYtiseP1PZU5Y5QI4RUFsStXSyViQb7mOgSk6UJaBTxhFdbomZgQixjziPnJpW2ikia7qKPWt/
UTBE0tbIVj/QjbhALECkkFGH1jdNyE/kLKDa3Cqdsj04U/eaM1HNssDc5OOaIKMm0bl+jS3Bs7gBIg/xAw9a1EoW3WzK3v6MRPd9tTxC0Ox0F6NSAfjhyrwzyw==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 47 of
                                                                                                                     136


                                                                                                                                                                                                                  Investigator Name: Michaela Borja




                                                                             Evidence Collection Report
   Page Title
   Boho Blue Preppy Smiley Face Inspirational Quotes Choose Happy Home Girls | eBay

   URL
   https://www.ebay.com/itm/285336352266

   Collection Date
   Wed, 09 Aug 2023 20:03:03 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   193.27.12.196

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   eXhFaGf44bw133l+dWlpmj9Bqbh7a1ws2gsFufEnLugckGqjI+kkxZGZw+og93WSpSaCZtGv5xz/PNXSqnfy+4zKVc+w41WvBuYahe/ITWNCORN2cROtrL6ZD7mDOd+mObYet95sy5PCvflvZz0SHBONTMCcjrnaoDZDniEYEWsqAXknAoj6Vgt0+8juVt0iD
   +W68GujxLTnCX0KUg6fuWQeM4DLBYu/qCmn+pJZJI0rEnbV6wt+hIhdR3cr+j6Xmyrbp9H1X5RqRzGHPYwA7qcG6Sd9UGB00t9vC0tY6Yl4EuiDmyAIULFoPb+nyWqTNMgLr+qkNtyuqCkQ4I1hBA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]285336352266]]_Wed,-09-Aug-2023-20-03-03-GMT.mhtml

   Hash (SHA256)
   cf83e3112d74637123bcb61ff5ab9162a9f0348b4b0fe4bf94c7edf353f27027

   Signature (PKCS#1v1.5)
DpoeM0Ea1vr3E2S/Jdhv8f8kkoLrtriFax8JrWWQPe2knKTPQa5rp7ZHgXHFOQsYjHiiHuypfMV9R45HUli+GXXPSjQ3afhgn6ZmNO2YJ86/SIUIHYgU0vvLk80tdkyy6/Z2k5yFHmIDkzeIdtnUaT6q3D0IysBnqZ7bcl2a3nGrzBVnfOMNpsBdxoqe9rHcukHjPFsWr7wD/P/
BovjMwroC8y7E3zXNAcmPF3W7rYZC1UrzUwoqKCgesdqbJi+ZutFmsL4hqTYIpK1RRjG4DUPHVjCRd1zWbw5WSnHFxJRnB+oaqyxeK5vWtH5hVUI/hYvMKadYLqBAFjx4bBXlpw==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 48 of
                                                                                                                       136


                                                                                                                                                                                                         Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 09 Aug 2023 20:04:00 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   193.27.12.196

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   jLQjo/V2/opa73d+RoEwDC4hx7q9sUQ+QQB3nYfy5ruxssp1GeP/hM2BIViQUHjzksk3J/huGiBnNNsAWnmHOH1Hb81IV6B6yXFtsSG2j1yEjVzAPso/kqXWESUI2t+7o5KDP1A5+M/8sKmWAFwbnVFnbpD4+Z+s/eVqtUKlJYzo/e2svO6BNw+0Ixp8QRmnOFFzS+N
   +KwIbDswXC7rlN09Zik5x2eUJXtKN/u5nUJttrn/T3KXJgaHwURIbeLU77U67eUyWRtSb+ipcRAeajd12lsq4hP3VxWOSi2HBkR+Op7KmNCWWMFWCVebG6V+EuE9ax+Johc0NUxjvpYItdA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-09-Aug-2023-20-04-00-GMT.mhtml

   Hash (SHA256)
   983963fdbea47f91b10b3921487f36f60a6635f6aa634502b2a7e79450e64e49

   Signature (PKCS#1v1.5)
Nn4Yp68oWZfWPwgqsWGIEbooMi8us4E0NVs0Q7NUe0EzY7sbXFvcK6ftZXrWpSMNFz4J+kdFanaPb6JX365cBBeV/cYVvXGSQi1gT6LKvagkBfWbFX71/
HAwdeYsrEV30w0amPIsDq9gU1RFvv7fNgBwnAurcqdMeHwxbK4FBPBIS58EpvKjbHyfqKAp171XXDBdPK9gEHJ43MoQ4iQp3J9NUOPgIf0lpWSgmXc/aDIqJETBUGOkRbPlGSToQC3X4RE9RGvxv0P6h+Emcal86FJ2P7puNGYlpajKR7k4+8m5/LL64LmZ/ww
+ZABYuyttYCeYbXKozW6DQbStx4Buxw==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 49 of
                                                                                                                     136


                                                                                                                                                                                                            Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   Smiley Face Pancake Mold Baking Cooking Rubber Silicone Form Breakfast Food Safe | eBay

   URL
   https://www.ebay.com/itm/313601680882

   Collection Date
   Wed, 09 Aug 2023 21:02:45 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   193.27.12.196

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   YnzTmAnLbpPqmzrAt1TOHyhTOMwPNuFG2exN600ko9qNnl709w9oOqhx7zk1vc1ALnITPWTpdWs2l+ftGNcni0MaWa5z/icDA0p+3wp5LAeK1n/ki87TnJfI3jxfSdhIyf4YuyUF3N0BuWw0QvvX0aCaxcIouY5YvrZ2HtsKoBweqXy2dkjGW9vLLN77Mgw4NTrEHVBskI57fpLEx
   +vxfMjiQxCZqegHzf+U0dMg1YJk0rhkGvN1uBy0Hcdq0G+liJUdVAKHozkaob9uyyOzXyPP/mquYad1VO6GBmW8TNS0lNcdCscz6d2izBK+mN49BGw01UEE9gOz4Ofj1Fj91w==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]313601680882]]_Wed,-09-Aug-2023-21-02-45-GMT.mhtml

   Hash (SHA256)
   cad3a9edaf435fde1cf9fca1df0cdede4232d167fdbe591c5891362711d5b7e5

   Signature (PKCS#1v1.5)
RVzdPPc+z66WFCCMrfQjhNAM+Ok+czAZLw6OwQSaUlx4VvpN1/FPeiY1vypFpnSyp/CdN1n2HKjdkzaGdSlLjAh9sAI9fidaj1pGqZOtn5/9VN1ZISNfUSSkxIIxsHm89HcHrlJ2J1UtQ0z4xFBDKv5iR1nayGfeKYidgmDdACzV3K9e2men1Uva7Cmb1chIio
+y0GHgmkqOLIfDYIyiKloki426045avd18FLvyFGN8/sH6WG5Sk/KLrt6lKtU+0rfMUD/9xANdkqwqqkCv6U8pN0Tzx7U5sHknPIWVlzOd4aLiA0Q3oep9en5rGGsCc62b22vMVriPuRrKn5e+3w==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 50 of
                                                                                                                       136


                                                                                                                                                                                                               Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 09 Aug 2023 21:03:44 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   193.27.12.196

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   OEedoPWW1aiyEGARA6cYx860liabcS4wrJXK/XsjBN3VNYhsHDmCEfp54m8JR9U4tqV4ypANu/l0Hihddw/Efwrb+s6Ifqv0ynSm2cchjl6GLxRcYk3sqaLDY2kKAaMeeA/PTztFYRfs6GUzzExLZndJl43hCkm1punQgV7tKv78ODzAEkteLOyd1vbjCUK3SXOMJ8uok5tZGR6B7JEdkP2Ir6/5/
   IU9sRzuyfnvscdI5cJUHqZweAXAY/QQjahpGdHFe09lLagHPxjS6zbdbqnn/Kue0nlTfBAk74haixbE7ZCtavFc5GHnhics2S5qqzmLDLf3eKMpQITuu5pROg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-09-Aug-2023-21-03-44-GMT.mhtml

   Hash (SHA256)
   74058b08f3109aae2b0534281cfd53659cf7b285ad1a7a03025f583b1d6c490e

   Signature (PKCS#1v1.5)
Q5EJjJH/WkLf4ao5a3oK5/3Ndb2ufjizuAG7zzn321GsbGVtN9wSUgB5BRB12gDbRIVaagBoHtDNNNRs7lwlgddSPfjP80Pfzpad3Fls35iHPGOzWvRF0vh/TzxfunsYRDK6UWHyY7kEef0YkX9GxATRr1qKibtqhBQq1gFBszMnCISDMLwMYwhiTGpBEYJeNjorEgB2tfZiynlGlr
+waYidvgD7WgYyoHy5UW1tLupMF5jXGGvGcWPO52CH6SZNhowGBtxnLkElbuU/CFdjO0HLhbTL3DBcVlleIbHJFzG9A3edtexgh2fcWTbtBFFxzM3S9/aBLEqMReG71vuzrQ==
                                                                                 Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 51 of
                                                                                                                      136


                                                                                                                                                                                                            Investigator Name: Michaela Borja




                                                                             Evidence Collection Report
   Page Title
   1.50 Ct Round Cut Simulated Diamond Smiley Stud Earrings 14K Yellow Gold Plated | eBay

   URL
   https://www.ebay.com/itm/295470312767

   Collection Date
   Wed, 09 Aug 2023 18:25:08 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   193.27.12.196

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   FlH8cqZr9n9MUY+t17B6B4Bu2eEvJ/EhOhWKRkBeugb1E63ew/c7TV1Jjtdc3Lv9ZV2EBXO+qVANEITN6rnWGNZNUsD0k5N+aBKM9jb2N3JOOKur4C1rV2XzOEksgJWFM4jDT96u6MhvrnKLC707AFexN6ob09ilvt/2VIK7mKIiaJ64grQlPl/
   VsWXq55KuoabMarNYYuWd1QONRmdthBGUsgaymUO5AHqqgkL1cBVfkxsRFdKp4MKY7pTf5pgLY8o4X1BamDaZ641HGT1QtdpGfKfQfVGweABzaj732vkl5wT/4tclQoAUI1dRR9KPfRjTY4LO2NbkXjs9bVHBWg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]295470312767]]_Wed,-09-Aug-2023-18-25-08-GMT.mhtml

   Hash (SHA256)
   0b27cd2982be49a65f689155d6d5c3be817c0d4c1164ee0d3f361ae1f0423017

   Signature (PKCS#1v1.5)
YkN1+pGIvUeDqO7OWZg0ClNLIRGBUz1xlZ5sPqSgdkenqywOHGe6FncRM+UnGjXG+AQDh4jMENDiuyRygDz1L69illmXuyQSDiHgrfi0y2G9MdT0tLmIslsnnl5DVzsa01eNw6UJmj+c1WKf0s8xNcwWYix9MNBT5Zr17pqWg/o247o3JK7SU3JkajzbFcnD4Dln7XjkWDK3i6yYfzicxQwQSgb9O/
S7EKlqQAKUWC+OkY+rah+THGNPgciQu0SsxFqLuMRdlj4+nLSE534l5afWuevlXIhLuDEDDCn6cdEtc1Jfqe6QwxpMNCRqgClPDxLJ3QxBTA0HvNlx84xe3A==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 52 of
                                                                                                                       136


                                                                                                                                                                                                        Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 09 Aug 2023 18:27:20 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   193.27.12.196

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   FxglARsQv6nVybtMaLPJIHNJOaFfr4PKM0lqfPpIBi+14kp8ya1ZVB0dDDEIfgKr7x/tvp1F4NsT908SAUJobnekcgzVTIAR+gcLE91Yl+6Ne8PwD3g2Ib3+eEPgmnBeuHHokcY8Rfjq35gZ5CeFd5QM4VL3wehJG1H09EDf/
   CckkEah3rEvmJuQDCT2JMx4NiVSgB3CbWGoWm6xSx49bDjCKAc82Oyf9zsaY5B0LnWaK2FC0x4BWsMu1cFu5MF1uTwggx0ddeYZ6tF7xBdjg8FVqSEp77Gwcfw0E3A2frzHNECcc4M7X2PADDnFc5SqW/sCahbBDoWYaL+/Vf77CA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-09-Aug-2023-18-27-20-GMT.mhtml

   Hash (SHA256)
   c0511244e94bbe5b164f4e782d5d689374ee65c37e118996d4ff5879ab18a653

   Signature (PKCS#1v1.5)
KAn017orDIl3bR3EQ2x8aLOgbBE6jbip7CIjE4pBMsw6qoo89EBwbrlCHeuSMagcg/fjikRxsCUG8dqksEyHyNX/4DhH/1mxmtR569hDPCI4E9KAmEzfymQkc+4OwvP7OgbFETMCHhdrpJvnOdDDG5DaoyJQUo12y/n19jQnWvB/+iTwo/AJ7+86jECWt2oiIui6z
+C6ZDJzvUkR36308+phHSjXZ3GoOZsvsyT5KFTtj+Yu7OAvZDDnwtaK1CbPWh38AZlodD9OK5RDLMJ5GBYf0hF6NFrygCr3bnAzirJ/AAc/CI4dmGLX+Qd61LWKnQ+b79f1CY6EAQxHjkAQew==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 53 of
                                                                                                                     136


                                                                                                                                                                                                             Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   Smiley Face Fridge Magnets Strong Magnet Memo Magnetic Whiteboard Gift 12 Pcs 5019758035672 | eBay

   URL
   https://www.ebay.com/itm/163768454997

   Collection Date
   Tue, 08 Aug 2023 10:09:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Mzy1XPoPHjuIvHBKUN0GwYBPo0HA761IwFmVQsLXEmhzSm4/Pw9O69wBIJsR6PGnytgujssZ7Dulv1lDrJqHwndDco1wnSrJbjRZEgsFy4z7zz4DBPpzi12ncuVFheYn5n2oNycLKW6YMSJuLfrLvSehrt7rlskKplTOFZJP18GTWZ5u/uE7Z+
   +1wHRbb0Xk1K0sKlWAGEnhxYkE2LoId3mR5dDDX2urhdVuNTPNXCntS9vPz0C01a1i690iStNYLq4CemJnUCbDgCrwop36Yc2XL6pwhrUTjKVsl3M/jegfvTQKBkFUNXQ1gu8vITcceq8Xmw5UjiFbMqxaJ6LmWg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]163768454997]]_Tue,-08-Aug-2023-10-09-14-GMT.mhtml

   Hash (SHA256)
   c7d0c0f9ccc4c38d9fc8ed936d8e565c28cdf4b4520dff6bcde5d3b4d47741af

   Signature (PKCS#1v1.5)
hSnVYEWHUFdAmQk5WK3R50LiGnjGZNKssOTakofUi6i8aqKjOYZh+TV3xz97jylaCFBl2FVuJFST6pH7o4nC5+r/1s0qw9W1qW8tNf9BeR5MUfcEA2ei9PDZIIAYitkW6OMON+QpfgKOme106jYOMlvAdHFud3/C9o9SrZThnT/LO/1AUBrRBVUq9njNifmz2ts6VJTFM81i1yQbLngqhi4i/
Au9cnVTHsaAibjNw3E3s9W+O4VowvFDE6zTpwQt9+M7Qc8mTT6LmPE13R9Ck440fXlQlNecvQh2GVbv3eEQDsWGuG985uk6gGZOdVeCt/KNePUS/u0veb2rdWUQgw==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 54 of
                                                                                                                       136


                                                                                                                                                                                                              Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 08 Aug 2023 10:10:26 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   R6w6oizKQT6QMAjyBrUeBDeflpYAarYeayRC6JhoV75TD4v1Wxgs8i3UWwzoatLlWryuShSvNogDt7QmpdMGQ5Rs5NzSLTwNdpaPbIAtkorJms8GfkHLQCsXttpHihpffiEMimGOzTl3za8h6EjbvETUa5vnPuy8XUE+5cdfJ+2xdeAwtcu9PnIoQ7BfMS0762w02vgujKLIwmgp8t+weAFiw3U0jIr
   +iROnP1o3gA3b8hOFeg85iqIfCahSyrRuYSdnso+ghf4A9O3nXrTlwzxl8SlOhmQ5W6SUQh1OpwEB+mEz1Ne2PPJkFzIY20d1vHM/4UpIx3ZakHEUDeknZQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-08-Aug-2023-10-10-26-GMT.mhtml

   Hash (SHA256)
   c2719d8fe7887d67f5095044405f3dfcd9df11e350f56571bf3fa7ca13ad0476

   Signature (PKCS#1v1.5)
A/162IHlyyiKophHLSg9/V4bS0ofm8nZBeJdMBCjgSI6g0MtjOL34chO24PMjlcD5xvTvsgXCl3u2KcR84FwlwMvktS1JDp+Qf0jmVCYAim50DYFiYan08DmSa0pWldiNuXkUKTe27Eh+uiJe98mHCsAUe/
Qwmh5sfFJjIf0Nck/0Ty8W3P1v4LclXNZV7iNBuVUzeoqW2G0ja8XkEEu2r9bLcZfEkGoKsrAQhk+/jrbezx0EasfPGeHT9tuLk6l8uvKp8rpoF/T107vPpDRfYy+hU19QLUQnI9DzZeP1pMm7Alq9MP1wJTjK1ozt7dBj4E04jIjdl05Mcntp7HUKA==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 55 of
                                                                                                                     136


                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Chenille Smiley Face Patch Smile Yellow Embroidered Patch 9cm | eBay

   URL
   https://www.ebay.com/itm/394830526137

   Collection Date
   Mon, 28 Aug 2023 04:36:47 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ZsE82nxvWngEmZ0lxg7fabKgBVGvLcaVh4Xfqck1NCkE25VlI6J4gDdm1rHckB5F4t9XyCf0YScB2eDmbQ5j8IoRGSJmEh/VS3jZwJDyHBs6aMWNQlcOuMbW3vCLLEHvtPu+lnzU3t7R2EQfeAPbs5Z94kn+ZIC/g5MJDia6IRg=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]394830526137]]_Mon,-28-Aug-2023-04-36-47-GMT.pdf

   Hash (SHA256)
   9dbd196007e1ff1c6327b009afd8580e74926d90780a16071f7a16e923d9fc81

   Signature (PKCS#1v1.5)
muIgx4SFrw8WDL1ry5rRyo1nEm1ctc7/U+scXe8xTa26sAfiRKpgcdxOcn0ir239+E2YFs3jciz8Jikfwc8KgzCGNmHb1gu4tosocqWsBTDE8OWvvU/hZbPgYV/KoCEPdpFvn9J3iw4MAFT4ZI+xDD1wsGhWPCqIn9+WAreNyyk=
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 56 of
                                                                                                                       136


                                                                                                                                                                                                         Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Mon, 28 Aug 2023 06:54:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:49ee:1900:1c80:a1a:adf8:9048

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   TE2tdETHdrhnpmzgDbndQttwHBu8VQjwFXUbHz/aiHIM34CYlXyOjyRQQk2Fvuq4pmWdWoFrlBq65UHvT92E3xRzUig/Vico5bF3MoNXZjpjFQwb3g3f0oZPVuT0z4aYArHbzKJWrn5ge0diSXS9ZXJGZecDhKJSeI4L0/x3I+MTp83Pl/
   ea6qdylgfik8/8UEKm6Clgctx0ydrPKOWNFFF047YAMyFqaJfwrRcELc3ytCgRlvc08GBCOOZuzeEtuCrrxVTNxJXGx+xp0W9CuGnAm8Md6hoZcnKYMc5XZUu64CROSKfj/bGdNjAIpBS3HrfTkj8HfwqtuNJhteceqA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Mon,-28-Aug-2023-06-54-14-GMT.mhtml

   Hash (SHA256)
   a4abe7e812b65b35d77351ed1490f9fcab01245f7a5687488ecf941254b04937

   Signature (PKCS#1v1.5)
INNUbnoplLB8hoIb8icPFm8ioUHIIKNLIT1JNzvPHh6ppzOxsUkKisjK9d6TyGcs+294hhMBJ3UKFTGSr0Box9L2QmRCYhpiGsL1uc35fydZoUQGWEF1CZWXCTy7Y/
YPBvn6QSDResdgp5MRUDFqpNz0pw8bRxwqccAOSyjfiOFKAvdbk3QdIg7/16saiPZwbMbrS0M2uebuLbSxR6wohJ9SyFdybo4hQ51m4chdC7WvdJn8kaUBp3iMD9wLZmlDJcfX21E82HNs4Nu8dM/hgBeKoSjlxfB10ajLynaGEizHuqXRuGg2bl7AwbhfaNTXLjZk/PXz1KvBvRswvNGO0g==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 57 of
                                                                                                                     136


                                                                                                                                                                                                       Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   925 sterling silver ring adjustable smiley ring women | eBay

   URL
   https://www.ebay.com/itm/145156248632

   Collection Date
   Tue, 08 Aug 2023 18:03:21 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Jq9gTJN4bWvQWsZUe2Ey4XzVBDc2QHjaq2JSx3Fh2g9wNDGrDagRqqUFPpt/tHqGZmG1L4E/H2WoIfqBSyBL+D/48ONhEVGjTBREfv7+wvMNarfXvGuo9kIDU0BHa2zrAeUWVuWVml8UOe3zHP46rEDBl7DyJFwvtOGwLfWMm0492ya42edXgeU1kigThVtPNIBxzvggz
   +vZuB8MUVnywnEYSmAfwqE7AcHpStInQZK1i7etc4K0SiIHPXMx3HNtVeqNHLaEcVdH5gFS3LdXqlfz17aKIVKEg9IidQ1IUEwT7i6rMon86H7zJof75aaOjnCzNh1v8RRulsZ2a1ZO5g==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]145156248632]]_Tue,-08-Aug-2023-18-03-21-GMT.mhtml

   Hash (SHA256)
   e2223af85609a7857cbd5e87f69e4bb1a16f0ee916ce44e435206454ecfaf807

   Signature (PKCS#1v1.5)
KnhtSc3l4KR2a0uNnMbPsBStEhoq9L3wL7XnRgNFGcUwkVtPvVJF/gvsEkFBThsSbPAnSqpyDx5proZsJdAnASsVWG4eaXS3kb+yDd9lCGHCQ17fSsr+8QVyPlRolksExKUD1CV3T7b5gknHXfrAINX+hShImYp5Xv9LTsJL3mrG9+oULwp2XwzKkkI/
obVynR6fAI0hyG9BQacNFA85mLv2C8QFcSEs0+9IWWd1TJsxGD4B0wemg5OKpQOmmA9BNrQ9jQPnEbJVLJnOmgfmmyU0pSsWup+6/ho3TL1MGmseoE/YouEVsDJOE9CaENu7OK3I3ws2m8550MIvgAsC4A==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 58 of
                                                                                                                       136


                                                                                                                                                                                                          Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 08 Aug 2023 18:05:06 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   KO2CA/bUVtggZznPYOyImSubL2UOJGN9ljcaEDLF4xkyQMXtYeoK0znVVBMqjM0/FqeET7II6MOWpn2azqATdIDQzkjzfXUqOxUbYSr+/rlV0NPOnKXQuvgpflWCqalEr/8uTLao5V0E28tDnlOPTdlGEf9jyP7hYD79Rw/
   iqayRV0BqpAPBrJzC7us7kBzsvwr78edw2dDNNFMNPG0N4nWeg4Exmpjq7Z0f26k86lxHatrz5IrBjqvdRvU62GBvVkbIrz2qWrhjX9jTgFu5JqMOrGo7sl6cgxYI4SsckLean3aBhit8hbQPAC83e38sgBAEf0L0E4UwEGvKs4hbfA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-08-Aug-2023-18-05-06-GMT.mhtml

   Hash (SHA256)
   fca188b46c4a85fc3c7943ed8b9e291b99b64eddb940ae43e5fe6deab08029b0

   Signature (PKCS#1v1.5)
Cbf5C4ReM/5QqqSS21+u5vJ197tMvga5WtJuNjQuiIWxG8rn9OOS0VO09OGIEV4omwfLVY8+QGF2q+3mGQanZvcSyyHtHTC21LfbVrGHfY7GSqtN72Dlo9PhkoEHMq2NEcOraLw7ytRtgSGcgdPoq2fab+BDnfqtp+W5WQnT8SkH91M7a7fhX+/bdcTgagIJbHYVPl0RN0kXSc75XU2V2Iou
+XNb43uw6bNldyKIkr44jwxRwWoG23cdiCWwU1JUsVxup2UVD8RItmw3lZlMBrrrAlRjpBE21Qe+EHZ+CY4eSWCsrpfJSOVU077HePlfZJSvkvW/YmWC9f7CtY2Gyg==
                                                                                     Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 59 of
                                                                                                                          136


                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                                 Evidence Collection Report
   Page Title
   Cute Smiley Ring, Laughing Face Ring, Happy Face Ring For Daughter's Gift Ring | eBay

   URL
   https://www.ebay.com/itm/256163837715

   Collection Date
   Mon, 28 Aug 2023 07:49:56 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   X4Bzcx0ZHXgtZh6FR+sb0Azkki7D5SnTmvb+SKEJbNJZukCR5PBLxJkk3ArTzRwFBImRiwA2zWxfVeyuP013P+Z6rFLrNPhhiQ4ehN1C3BeHqD77b6iikTD3EMQHAP67K+7WTv/oyls+nwiTYsFST+j3KT4AH4KciMGWL3XJ8YQ=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]256163837715]]_Mon,-28-Aug-2023-07-49-56-GMT.pdf

   Hash (SHA256)
   6c2faec229d3f31fd04a36aa3bd11536d8b411608a8db2268631724272f25e71

   Signature (PKCS#1v1.5)
iJERAB6pPrLFfpzqWnlMoZCW/grvmwbJC+odIzfnQKUngAUGdEJdNNeKt2Zdk2doHatWmcpPkOH9J4T4XZw2cUPxkMxvwbRTb6W75J2X5Ojl6YHR1UWEH3CDkb7RveI80fsIaLRV59NJ/vtU33RljcAGlYwR/l6cHKMMcnaCw00=
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 60 of
                                                                                                                       136


                                                                                                                                                                                                              Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 29 Aug 2023 05:58:53 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   112.206.74.192

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   LdVW/tuxVnJmM8zujNwhc+4tcfyJiosf/XOo/25DdHU7SRv/OJwXoqKDFPGhZ5lfyjDT261miaAQeim3DUu/T3lfEjXFiGYeorfwbMDUQxF5Ba9oXtycXEIh3/eu7zxHNppVOsrkz1q0EhSKkYDheQdr0VN2xwc6Gw0faHpRAr0R6phMzsY3c/N54dkFrZxZpR8+SoZ/tZAu0euAU
   +bW7lOR5FjyIy68Wq3y1I77fc0vdDh5mrwTnBtrEpboOrn1JlqdAyM3b1OflTNO5GJMHtBf6jyCeF2n7Zn7hLd83wn9FZRKjVlXcnmokds50G1PR+A/+EU/wxl6atk7C4mt0g==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-29-Aug-2023-05-58-53-GMT.mhtml

   Hash (SHA256)
   09d8f131c7d899bb0f4e6c786795e9e58f69507d424b44f95067096052f20d72

   Signature (PKCS#1v1.5)
BFz+7r6TmvbEwpyYw2FXsAu1qXYOhafLuiGD5EQ66seC0CCZg28gLIr+eCkYSY4CDkKocwD0q6h0vM8F5qcQBu3vFKUzENQaTnSMQM8BtmdkLxvFbIBbdbp/cbgw2J3LflL/pnZilq36feVSdXFQMTtevHP6rupMU/mrp+W4u/c1uZBR7bOjhRZT16/Fjk1hVtZUrls5sN/
Gz4LCESlPfLsw1xmRt82NFhvJMz82Utcl9StN2fhudK771Ov320jhH8UM6ud523aarrTbSxBV2ddqfuK9s03uCHdDjvnMV6acOybcORow2lm37Q6vU+eI8/IRvsmz2/9uQut7uuVW/Q==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 61 of
                                                                                                                       136


                                                                                                                                                                                                     Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 09 Aug 2023 13:04:38 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:491d:2d00:69bf:7906:a752:afb0

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   g7x6mLHv2xIKV0qVY28XCSbOmLhn7mbn02bPHOMoLQO4AnEYmUWDDI3pyAbWuEYJt1dN5fUBaOEgkfUNiDjXGXiSo6XJsr3Z4RpMwA3igZd3gPHxLBkzRI4aOsk5hwMK9coPZbQZOLH3K6d5U9tyFs7TFi84DNl5ad56CibxPWFDjEQMV+WixCrLUIr8QvsHJ0A4mEO8HCypCcp
   +9Ov6FWLXnFdqhSFCYwtjCGUJ1Ohw4A3evz0MRk+DgJkYkVhK81hSeIV2EdqFWp+ESYPm9tqtBnsQhawh5CKE2MdaSoMlQScHhUzmbfl6wkDq84H0gf19wuETEAjOsQ++t7My1Q==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-09-Aug-2023-13-04-38-GMT.mhtml

   Hash (SHA256)
   0012d72fee4ae52e4313229b83a418ad5f210c45612fe60c877fd1448dca1f18

   Signature (PKCS#1v1.5)
P/Sinef5AfDKLmRxvXrn3dT+A0biOCb64PqxD5Shi9aZ/pLWpy4fT6Ji0yi3bqjUJW21rqR07IBk2I1G3wY74apsu60fVax8EfQ9tIqzbD5Tuv+wlKp3DiUta6ISK6RGt+pDEXI7uI/2RTzp3jGiuaA6phlhtOFzC
+r5US06Jt2AhwGpOFuccUFPjZyfqGy9h4gT58FGr9Cay/5xDLUQ0Lz3r6iJc2Gi2ysza8Dk7xv7C20KomKyOlB+Iud8VTAz3LxsQ6nnl2TZ8eYYuUthum/TZ2GCFq//URc7CU7Re6zu/iUhxLX5ZSSd+W6hiaDdHjqHh3cjlRRq9uBhCVZFfw==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 62 of
                                                                                                                     136


                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Bandana Set Paisley Smiley Peace Rainbow Head Wrap Cotton Wrist Band Cover Face 5056134537405 | eBay

   URL
   https://www.ebay.com/itm/293762834761

   Collection Date
   Wed, 02 Aug 2023 06:51:50 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   lg1fqbjg9u2WhUezkjb4rEmpCPs6z97Is3VJXAVKcu91qtWdk4J7t5L/Kf6fU7TSvQAOgqHQCfcSKXFpgX4D2YglihhgfCtvTYILRdWokZHMC/fXW3xz1PVTSPzw0zh9NnbC4e9PMisnv950gK8U0Gjzc4sHVUbhOIch+6KAk20=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]293762834761]]_Wed,-02-Aug-2023-06-51-50-GMT.pdf

   Hash (SHA256)
   1cead3db1b5a29aa1ab57e035e15701b567f2abb89fee2029e73143796048133

   Signature (PKCS#1v1.5)
mNm3Xdal/3OCnO9MTxBtjDt73Db+/cP+x9r3W+kDbhMNkd6vM2vTzy4bcEckt5Xo5Axki4OcO0zLboIa2SnTlEAabb6f3elQhjotVxj9irZOg8f6QMJFzV5U3VoZPqmHEysgfDhvqaMs7ke3MMDdzOqb6Lsg0oVuuL19QTaVkVM=
                                                                                       Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 63 of
                                                                                                                            136


                                                                                                                                                                                                             Investigator Name: Michaela Borja




                                                                                  Evidence Collection Report
   Page Title
   10 sheets of Small Colourful Smiley Face Glittered Stickers (960 stickers) | eBay

   URL
   https://www.ebay.com/itm/285302433789

   Collection Date
   Fri, 04 Aug 2023 00:14:53 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:49c4:8c00:5d47:e620:261b:674

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Rf3ISPrvrQru79ePFoLsTfDP15o8DdnZAIt+hPB4Yx8daFu4CLaXaERsXaTGSIE//vbm4boMuz6L8PHqK2cshZAS1tR5s0ciraDfH9rYz5Rg4sph7lSKxoxEZCUA2X/5qRnCG8ny0/2Ip4M9MFhEEoQCBhTQDU3/fFHThBzYDPh9KA
   +5DpuAzrCTXe9SkZmRvLegTBKdJq2Eo81jmAgDqx1t4bA0R7uhvmIIjCIkQpsfAM4SoVRPcC2DGx/THmWVB5VpxePoHd1mMRF+cD/4ki8RPjTIDYZESyL97gRzlJCRqEmmA8PeJA//y1pkucY3m9SK+yi5LnGjCXHPvGM/sA==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]285302433789]]_Fri,-04-Aug-2023-00-14-53-GMT.mhtml

   Hash (SHA256)
   013552c0148e2f9dbb9a086b1d23326a0ed3a2cc1f7d81f74620d46254877d7c

   Signature (PKCS#1v1.5)
jyXE/W8zyfCyFVO5VFFW3FA6VY1gEh//tDDdP9CyQnZevUTCkYNeqjoyVCdUgPT9uNKDsE6jjmIsENFgNXJiHRsznUFvvmuL38Rv4jWZ70vmntsPHDfa54N1NDH5s+AJsm/
GbNysxsYhlrh2ybAnGVWBts4IkxxKeIWyegty5jjLgc2Ww8HNzqvihVoH5X9Qkey1uFOJLcB7Q4HRrWlmxtWrfbElb5ZvK5RNVHPjeuhzIEuxb9a73ud68Zu5FykAE/ThD4iDxy+zLvYxgUiSLVJo+mb+nS/DbNdkINeH0hN8vfudpcQPbuMHXM0eC94wjKxWGjMf+eRq91bsnqoQiw==
                                                                                   Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 64 of
                                                                                                                        136


                                                                                                                                                                                                                 Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Fri, 04 Aug 2023 00:28:22 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:49c4:8c00:5d47:e620:261b:674

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Z1GEvKN3YVvOVqGxTOnHSxgaJkdeXKDoUJUNi232ABxBDd9I6JwufahQ/n/cXdKZMfr7DKPDVr9ndF7OETTwgMtaj/sF0nWlzlAEOUsJf0HuaCK18O/
   i20XU2LNFzfWtIxqiMJW2nkii6VDZsn9ACv5YuPl1Lgtgkvb0tTiXtwMq1TiN2qM4V5fvOnKXIClJWZHbPwBTko6JBlf7rqel3L7M8zP7Ej9+O68CRhovptTgu884Y+Y9mJxag7FgL8+0tkikx3MMttxkK/xIkzYb+dYuux/kKz2k6RdPh59ZqgOPpj7JghHwwZLn3nqrIcMiVlRVyg22yrtAoVwOofF9kQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Fri,-04-Aug-2023-00-28-22-GMT.mhtml

   Hash (SHA256)
   8b73201f600aa8241f6c983968bc445a2a307b8084ad76689c4785995c75d6d8

   Signature (PKCS#1v1.5)
WNIyBxDxwXQYSIwnUNXTp4hy0ICvWC4NNRaYEU7t/z1i8KVkFctl66sPJb/KHPq59IqrtUeT2E1gqgCPh5VHy8Rxnf4CPJlhj8fkTqRS1rQJLSiiUWhn5OI/nL/LkrgVdQvFZJNmJQa6u8k2MO+I+0Ls9Hn7elQy3mDa4ef9FDV49lmPQCOVNrGBIx5VGvqkuIKbZn95+Fn2n3gixdCqAiSQY7gVv7qWvGC/
AjvYI4THJKoCSnO3rp7M761lIm5j8/yzR6ouarteduKx+MDY0q/uUH/uiJ2OXi29vDQCUfHFhhczZ6qElIYLXeE/Ez78ZgJjX0k7NE72FlANAWoJHw==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 65 of
                                                                                                                       136


                                                                                                                                                                                                         Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 09 Aug 2023 12:55:50 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:491d:2d00:69bf:7906:a752:afb0

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   hRZE8Vb5pd2ApavBPJ4MKwWFMLEaeX71Ad6oRVVeULcEIIJAp4rjBRXXZjNm5goJ1ZvZMqhAL/73u/9bcKQHqC+EHi2BELb5GrVBoR95Was8HtPbpz
   +E76HvRw5L6zyHnbSvnikVQpMk6Oy2+vZMMej5OeiV6lCBcMAp1qu7LMPUG5JN95qEDRDbD2gNzhbSrLMlDbCM7KCPnE9ZZ1xslRnsfNARP/fztkeQwZCYK9JvSxGPFRUN//jHXNNJjjc7UtlIdbZBGCqtFc9CE5lr43tVszl3KAPKrsz5/CbFLL23mtAbAbZ5I
   +F9DaiTLahYF9ELDD4xsx67t10xL9e27A==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-09-Aug-2023-12-55-50-GMT.mhtml

   Hash (SHA256)
   4e77f967e769f7c71e5c55471178459f8687d7a504a8461c0a699eb4f11ade20

   Signature (PKCS#1v1.5)
A24XmBfv35oUwtpfcnapH0zEr3w+Q84Y2Pa3ERD/Jhi85Tf5kEhlyJvLB/JSdXI8lenOxihHYTHV1UAA47tznZAkFL2bR85LcS/HM8hig8VjkBgdAtbmvlBqY+auivOJn/TyVUFeVxb+iIcbaR3CdkHGwnrFliusCVUm4NU8Ah5J28SuRopDuW71zDz6RY9T/
I70FyEc5qMbL394j8NgRqxkazA5KqrsR2yFPup7hFuxxD1JIwy+rL0EKS+GDFf/ySGJcqsEFRLcWDWZp4ylxWRt2Y56aFvdVDOT+TmDeHPqDcMebkf4VsmJSk3A3QF0KAC3wjOhurHVi3/KxnTKlg==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 66 of
                                                                                                                     136


                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Smiley Round Paper Plates 23cm - Pack of 8 | eBay

   URL
   https://www.ebay.com/itm/304960491242

   Collection Date
   Wed, 02 Aug 2023 06:44:18 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   UvCX2vCQr5pdHfovHZUhwsBoeGcqI9w9mpAEuquniVvdWq+QYR5Nng3SIww74jUeldHCPxL/YBgbjf3RyWxIgJNwpVfhmi+hGF5a+QY6L1MY0mBDmrUDMQT4rJa6z808HaVhVICBhZ/KDLJY7kRHdKk8ztcixYAF2w3G4qN2ltA=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]304960491242]]_Wed,-02-Aug-2023-06-44-18-GMT.pdf

   Hash (SHA256)
   f13dea7779b6d5bf37e346d8b1fe92d7ece05b9fb13a0d05d15e53141dbcf27a

   Signature (PKCS#1v1.5)
RSxRxIHvEN1z6VOAQfCWEJ93CXZysEBq5620yM+x5WVK1AeQIJecUQsdG/VEKRWrzlMxrLAqassO7EgrM9pnieysFHwppJZX+25XFi1b19An/zUfPno+fG6qEwGmeT94J0PqUrfojKiq9J9fOtwI2kbWbn+qTp5scyj2GLk2D7U=
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 67 of
                                                                                                                     136


                                                                                                                                                                                                          Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   Smiley Face Multicolour Bucket Hat Reversible One Size Ideal For Summer Free P&P 7109615741377 | eBay

   URL
   https://www.ebay.com/itm/304934921904

   Collection Date
   Thu, 03 Aug 2023 13:35:42 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:49c4:8c00:5d47:e620:261b:674

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   eqb3zS+d2Sue1PQYNu+dlhGi89wvZtU2osUR22cWjfJbhY2G0sK8QSXzmjgMvp7AGu1IL7IjLVyywqL+4dMqUMthnJO/O13ysC2wEuAy6U6kbjIrERcZ6YablPSRE20J0i9BZDjNJBhSyjWBZINV8F1wbWQFhxWi0hXmpTgsr6rx8pIXzpVRNrDAl/
   DlRn34pfbEKmtSjaL3yEbDqUB8TNUERgXR3GPyTtkxSaVYdI2h5t+VHnSeKrBAXNPy78EtKG4XV8Q6/lIwv2yGDpU065qakg1Hz5847WEJzf+v/0AytP8E/zkQpdcDO0K+wJbgY/d0W1yYJKWtj+8x3ZfZkw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]304934921904]]_Thu,-03-Aug-2023-13-35-42-GMT.mhtml

   Hash (SHA256)
   af4a6d0ac5377360751b7890ba8bfad74b90c148ee42d28f37d395a89a5c907b

   Signature (PKCS#1v1.5)
fa+F3QFxhuvSV5haqwWSVxHI04mZBV7zQcR0QVrNvbsev9puLlOaccrIPqAShl/j5MDt9MvJQpVL4ZoEWLtNm0Wv9PF7GAKP+U/jJzjpEvA3w00FmiVXRPkr+rvo+WhCjmLhGf8s+iRqdyowo45JXgBc69r5gWSCeCRCD0NgWIhVuOSWost2AD3yE+IJeyrysc/b6eET46HYF88eKIBK
+X3nkiuAdgQQDH6o/wUYWDUuUQB2WZSHiR+8/SvT1iCFtwudh6SoxMsKNT3/1iH8WbZHWfQZ9zqc/5FdCQ7aDumB2mDUUwxec6/p/c7OXU1R/9Kfa9tSHIDIazBUkNGZkg==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 68 of
                                                                                                                       136


                                                                                                                                                                                                     Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Thu, 03 Aug 2023 13:36:32 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:49c4:8c00:5d47:e620:261b:674

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   KBzVO5/vGo1bgMMV+L5zdGinqG8LFYnZCD+DwnrCNz7+jdi9mCGTm1gNWV6el9MoHxkvG9SAO4H8XN8eJz1tQQzMva7fRqDOY/jQ/yXQY5YvpCNUoVuyoGEhTQHEYV7z8h2R8JzUiKeF/ilXucIKea0Yfjotaui46TbeH/h6wuQCKIEUcnlFPw8Z7Uhg6a+
   +VRqtnxiOrbHYTUx/9x7GgZSXc0HcPrzTud2nkzEZAnPgZLHBXrLre5hfJkchjTtBYiMTkjkkRkGX0jWwLh/Gxk9gZoKq3U3RouMq1OVDl/kacpb8svjonoO8AlAyOQ7v42vEZ6Fg4P8KKv8FHW3qrg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Thu,-03-Aug-2023-13-36-32-GMT.mhtml

   Hash (SHA256)
   ba7943f041253f4aa43107e867bfd3f0fd78c7a40e0880dfa6b8f8a83adf1154

   Signature (PKCS#1v1.5)
WukKRfYwYbWPZZE+QhsGVKwZRwU0uFMy/OOkwazykFqlil5AA3jpozNi/tYlCsNgDorxOWCq924BY1suYKPyy4+3XJuCeYY2r5LsnINVITjvzmm90uDKsMD5xRgzzn0RtaygAnClHm68aWwq09nDar1EmFFHgiqgSbEq9Us7GXiCVLgnSKy3KbkC414k
+WYtcJp5o2wajSedqqHIUFnZAE57AgL5BY4dtCSDkRwHc3IADavk8kEbFprefctTEitmQSsqn/OhAz5QIagUmEJ0KnmbF6fGnjuTCPxjNknXenZTCOJBRFT4icZIUhw+qW1gY7LOAaIhebPRpgt2hLd7aw==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 69 of
                                                                                                                     136


                                                                                                                                                                                                         Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   Smiley Face Smile - Yellow Enamel - Zipper & Bag Charm | eBay

   URL
   https://www.ebay.com/itm/125792105032

   Collection Date
   Tue, 08 Aug 2023 16:08:20 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   GiTfDinhMvH5voFdUhWP01X8cQQ+fPVVi7kJrSlbNE1damNAbhXrnj6B8LHK/b8Q01d69+j1scPb4tCqccZm/
   PoZloGJRFuCOTlen6pQitmZMqCGngiACVFZky0L7yudcAq5mHPUitUG9sPC3CUh4H3ltik9+TuXYlFikHa4BJH4Bkou3AP9OJ2fuMh05XDN6LMi1VtdxtxePKtoJ01vblcIs3LuWDGWgD726oIv9YJpq5Yrhnh5gwOmwIHITM3gbyRqtZaZmIGST1cvwCzAdRiq0odBW3HCdk27XhYDzwEM1WV5X
   6H9I3q+0DZxKV3EhOCkcJPH/VD7a6+l+Whivw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]125792105032]]_Tue,-08-Aug-2023-16-08-20-GMT.mhtml

   Hash (SHA256)
   b037783e06528866672b41518d099b71a9bb10e6ac7bc33db58bea719c9c4bb7

   Signature (PKCS#1v1.5)
gcw3qtmb2tt9gL0/OQ9kEjJHDt9pqLhAXGh9bH0CFTIVOFxsZEoZR2AgCoYZ7J3uBIS4gw9cKfjTV623oNVD+0JmlVHZNAPjzCdBaCRocc65TPQDdAqQIM7KisbzAXm2elWFGKbipVvIzeJ8qNr4g6BwumNJwwk
+Xi0b740BAddBIEnkNuGx8dllThoL4pBQya3npZGGmfGi6c2M7RCOfIwhmac5Oqmp1onHj7Vqv8uXfb7YgaTwPl4/ac4dhViIGXaWgNWNwwhWuox2C19E4fcS+1dfv/31KXu6fXKHmqZQ78ThtAX2Fq0/nLaN36kSGIDUcDhDq3p88SjZ3++xGg==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 70 of
                                                                                                                       136


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                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 08 Aug 2023 16:10:16 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ZiMzfHUGPR4aq862v7vqu6sgQ3GwFuMYQdPQuGLJJTCZSbMW4YJ+PxL/I7fizYkXddmflSb/776iaLPb2Xd7e3NihPKxeSA0UpQuX5+SbeinafuxMxsz8pAjJv42GS/4fMNOw3u8KCmJ7DtuAzISHUZNy3deW3SIpGfMZXtFioD
   +r85lDdLWDZsXOB9PKS8AI6aXGkB5e/4uGv3UGPEvz5lNyzn7tz5RDoapio6gpjLIbo0xju+f9DK7sAlOGMrK71Q/Qk1ETVtj37I6q5D+GKJq938/TTViMZpeiTQZYZCxXEqTTT22AE1Fr89TirKiN0lTWajGe/wsRzhiaIa6Kw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-08-Aug-2023-16-10-16-GMT.mhtml

   Hash (SHA256)
   6aee7b64e03bae25d8699720b929eb22ada49bbca25d24a5dcaae7712098f7a1

   Signature (PKCS#1v1.5)
PTy4wzvL9w/0geBrTnNVWkDL3tMP4K9PX2iyItaFj2laz9Gpa37UWmV69dHzNaInGIaep/GZKvHVv8fCFw6FC6dwYWlsHOh2UDKTMJ6foYFIPBYKWB2KKPX4XkLjw7C3VkfafKq1rws53EnwQ85JFhqNr9KZ22yHEb7BcL/hfW5UAGv/xMUr05es6E8VP9E8IUKdcf6B/
ICmRMwch1LrGyM3Gwkf1lcaBMlL2cP2gAUlkzyP79z+r9riiKraxs951fntbmkouIzYDzLG+I1L4CSGtrraaiNRrBxXPpazrg/2VS5PXrH++an6B3Cbv+6IONuIHe5k8lqd0m/dUliKyw==
                                                                                   Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 71 of
                                                                                                                        136


                                                                                                                                                                                                      Investigator Name: Remmel Jae Inabangan




                                                                               Evidence Collection Report
   Page Title
   Girls Rule Wall Art Set of 3 Pink Bedroom Posters Emoji Smiley Face A4 Unframed | eBay

   URL
   https://www.ebay.com/itm/266368696136

   Collection Date
   Wed, 30 Aug 2023 06:18:10 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   B92335gV46NwCGWp/cGPNN40FSP4fUMXtjw69KwktmnA3QBWDaGYJqo9+oPhsj/lsR9fK/MvqIqHy86F/UD9OFeV9P2JoIAMFiWG0p2VuMeviDPEkcHIHNlQ2kTT5EIdoVwYCJBfZJ/dgTYYHw1tN8zxb4rhr3f9Az/76Cc3v7U/C8jgK+A/Pfxg5H/
   dyvY27v9Y4LJFhpocgeEMMPgNNfDlLhHwvPvJZg7u1gmx6g98M19tsLJHSqN0dwSVbZoKpeBeLtJjQBe0s0Y4p7Hx6Inx2Qy/AQtdYk4xq/jpEDSq2+MrLdMfg+teQTplb/UPDm76MFcAWnwYWCaWAADQag==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]266368696136]]_Wed,-30-Aug-2023-06-18-10-GMT.mhtml

   Hash (SHA256)
   393b53b6c0b421c81b301f7db4e2807010b1daef76e2002bd954e27ac74c5a81

   Signature (PKCS#1v1.5)
mfdryYHiEWC2aG6kVBkBjh04U1tDgt4BaDiYGyfpT339YD6T7QcOM8CVdqjCPLg0/wJlnaEuLZ9fV1YzJ1Yxqym24n7XdvFchaSP1mdjVvd6sV432cI/UbIkQ2kq1+7e+b8t9TGJw2jZ7lH8GsWDcYujlSWzdQLRAAcdveqBu4wSCnWujeqy63r9hM09WxocUz0lNnR5HpWCDZvPbSBb/
APACENmmZeWfpJZQk2NJSUIppwSrHQnPS0jE5sKOQf6VO1lXejNzWouDeha6wS3ScKw9VW2ZFpxG3Wfsd9y2m88pznjxBF3vMTcKVdo87zfW2kw007iAJyTpyIeI6CPlg==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 72 of
                                                                                                                       136


                                                                                                                                                                                                     Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 30 Aug 2023 06:19:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   D0ryouRBJXD3hqnFv4lHB5ewJjjRKizLjKld58B4VaZvgALTN4tgbkkMPIS3OQC2zUtER9shIpKu7xOcIWEdtt5lJRbJFY0Js2l5V7uJHnMq4FCAUyoSXXG9nlNC17YpCMStJocTu0Ov2o0ob61FsNLA3TSGUbe25Bds/143uT1ZNFtgqc/
   gmCKsJYFbbdFfMpQx9B69jo8SAhRWum8tWbQwdLQ219obYwaKyULKCwd3YpPizC96y+9rDnRDvzDCl3hNRUwEjXpYBNpPjWuqxZv9PEM/XGVkrmCTT4fMF9oanjQRTUZD1rTjbA9/dkMP2LfOlKuyO1vPoBc2Bj6YFA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-30-Aug-2023-06-19-14-GMT.mhtml

   Hash (SHA256)
   ae99e7329050e5bb3189207b62d3befb0d270db898f46bc50a2736a690ebb5c9

   Signature (PKCS#1v1.5)
RWHHBEqkDOKVHdiLQOQ7dqQa7ryrX5gPUpd7KxCVQBTbeB5d9au8D7pgYm9VMPSvFP8rzPLJ+DhrcknYEWzlps9pTpTfoCu57bZCwU7iB2pMJQotEyljRIxwpL9WUzl9nLeZnTKVv
+REecECIhUhtEAbdxVltSzLOQw1Yw49DPObls1PRS1XpE86RUrE1LHxFTLYD2yiv4ag4CEp9ltZx09rSWy8CXLfm1MzE80bY23FYCMxB4ddF8DZCwTJdELQe4TWOPrXahI3Hiw89R9CFRkypfo0khMFEQhLRbJXaViXAJBxKk3PbHvB5trTT4d09m86/C6aRMCKQF2aTVijIg==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 73 of
                                                                                                                     136


                                                                                                                                                                                                           Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   RAINBOW SMILE FLAG - FUN, GAY PRIDE SMILEY FACE - Choose Size 3x2, 5x3 Feet | eBay

   URL
   https://www.ebay.com/itm/272009073442

   Collection Date
   Mon, 07 Aug 2023 23:46:48 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   AQCPXgHPpHFpn+sDvZiKK0cUNKfsdecBadMsi97vglgWW1YZGOV+ux84/uAlVOyx80y/GoxGnuoKPfp6Tci6ntHFBTyQqaKESl4R1WJ62FG/OMAB0rMjUumS8+V+nlN8syFwu6XD6HEyMpWY2RE9EUSMDP8JS9C0g2rSopXxhtUC92pvdQlyexfXLpej8d93jbY2j4gjYw+PculPq710rXW/
   jEJvfj9Q/L+g95lGf7ReLUGTQoLCahTvEmmylpq9SmlgtrM/upKgBMnhPPwZSUY6xY/KJ++VN77sqyN3KvqFfNm3bexxIYkN8nox156ApAXa9q4esFNKRA9PRvRzWg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]272009073442]]_Mon,-07-Aug-2023-23-46-48-GMT.mhtml

   Hash (SHA256)
   fd0d377c1f95e405645bc6007b01a551717beb8d18d110fe63e4bbb50cdb03e4

   Signature (PKCS#1v1.5)
BuiSMm3P4F6J5ImixdJ5tu+Vqeq97dxqFC/eY7PFZ5PKjasGGrIobVGm6SPa68AtABXlyBEMuxImFkbUz0Bjb1mHTjLZFGYymRNRruO/1hMIhhskoHFedkLeFkbdAOrFR11KhX1zLZVxRy2nKklMMkz21nrMmsSLH05EAQb0qZx4K+D+Vl03/y2CcB//epf38vdvHzwmDBoR9g978QlrSXifD/
h2aNsmL4VeASkSDfyULWWDiQ6jvWbepQIJUNBj1tCppRR7WX+XwXRoU6/qJ6u6tzas8rCy1rZ7tAQF8vuy/NRdufP+6tv4etfSUXplw5icd0WHc+6bMNWPEJVUdg==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 74 of
                                                                                                                       136


                                                                                                                                                                                                              Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Mon, 07 Aug 2023 23:47:37 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   MYWrTlqYvYNjVCX3Gf/sRRmeloYRJVnH6ADvzG5Yp7DzNcg9vOyQaFTPCF5NoT0s4CmWgXvEkHJKVZ5nFxclmRFapYowUGvim61GtWbmhh09r6x3dTK9oArbwyNdWouU4guRAMsAxdMMcTL2Ordx/eEWYdjMhIsUTIIVIh8Tq1Zqy7tUYps/CMR+nhMaNrXlqDz/GmYm/
   BlJ7zEKXrd5N60Pcy+uQRht4SVE/WML9lXdFEFFwV2ckhw9XDCXHnq50WAO7y9PNHjTuU8nWSpc4LhMYRVyM+CcpKBZkX0YiYYFAr8wn2Cg0oEZ/q23Ur26zNLVQicR4IqD+G37DUi3sQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Mon,-07-Aug-2023-23-47-37-GMT.mhtml

   Hash (SHA256)
   a72c42a1b641f5ccb8c67048e8b04e25ea932156968f5b2b2554f72e94dcb04d

   Signature (PKCS#1v1.5)
dRzfijbFroRgvmHjiUxXNb/2H7mbfQu3su4ad9yYFEzXoREDuwP2uaxXiVIHKqYwFrJmIqSIf26z5ODc+hvzX7dcDkvEOFLvl2xLAgP2PPo4PXveBh1hW2L6pEpBBi5/tBPmEwLj+LOr0vxY8MPzRct0YaDV5Qr2pYditwc+xiVX1Q6VChfZYJ0l1SfO7IWZqWVLZyU7k9PRFG/wEw/
kRU1xJQ811jENhvs96W4LkMmaDSxPnILhZpVN2t/Vxa/dInYnHAkWCBtLpaUcPiEqouoOZpqY4fySX1nw9NW7sNvzFsImMpMULaiNlbuWcbTZEvUuo9mdeS6Pgkysr8TOkw==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 75 of
                                                                                                                     136


                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   2x Personalised PREPPY SMILEY FACE HIPPY Birthday Banners LARGE Party Poster | eBay

   URL
   https://www.ebay.com/itm/144934538398

   Collection Date
   Mon, 28 Aug 2023 05:19:15 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   lN6TuvpsCQgoLndGmLmLv+0pqyb7WFqeDLXXPraYk/vTQpvbT92JTyKkYAHswAHI6mkuenzkYgwQhtiPvJ00p7+cUgocfK19DWMt/19gnmmLPAGwJfWAF3N7sN1IUQOrS2yEoFMUxD5F7x1y8fKzFg0fUm1L2rbaphusLHSn134=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]144934538398]]_Mon,-28-Aug-2023-05-19-15-GMT.pdf

   Hash (SHA256)
   9c4bbfb4c7eb1441a1f3b7938436cb4c332d500beb159400f06f25ea2313b73e

   Signature (PKCS#1v1.5)
gHojgA6qUqcyHieE3iYvCI7maJc+9a0QY6V6gDEh8NiDu0kI79Sqe3pgQkDekC30AydAulPJrPRkMzONjt+YcDChFBzgCwcw+p4idCoC583+WPrA5wfF9suybX+ip3qWLorl+ZxrLaR9A/w4sb1Uv4Cf12IynYOS87V+OU4tju0=
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 76 of
                                                                                                                       136


                                                                                                                                                                                                                Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Mon, 28 Aug 2023 07:18:58 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:49ee:1900:1c80:a1a:adf8:9048

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Fluk5Ir00NpdZzvK2cY9pMAuyO2RjKUWvF6C64uG5ozODWraiU1ebsKMHXhLub18+m1uQThQ6ypPvqgNpvz/djf2xpIIqpkdKcfRaDXAgD1/edQkbKGpYq2EIGifO0FcS/H+zLMMw/Moi/
   JwfJuhQ4vjnTBUL0PEluaA58PMhfFVGrgeMtuRUM4lby8XF8EgC1SillDGLeVaTWqI3wlLR3SZKfRb4IDyYkDME0LAJjxo1Z7jcc75XFPyjJ5XnihU+yYigA+Nxc32lDrekzAP1IP2yHaAyAav5kneaV0PWJ6749AvK+a9GP4n06ZkQCjjJiU2oBy/Sw/Q84eUQyrtxQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Mon,-28-Aug-2023-07-18-58-GMT.mhtml

   Hash (SHA256)
   4f240db3f7a99a636caa781bee810452861143b400f3a9ea80f3920e00f57198

   Signature (PKCS#1v1.5)
KTJnuj0lscqC2/tJX4o94NW8z/uKv9LeQa8P4E+qEVpnp2FwZWJ0fYCHCjD+r33Cs5ntbgK6ynp3PfEOvpdX6OF6qQdQTa0xJgS0UiXQGMrD0PCR2kyWnA5JMkbKgz9Ow/8zru67+68RDVbfWWY7NzkIFafgeFNN8dp6yPt78VO2iMH6sEq586eBNm/
EOob5WWY5IsEvsHkrckHlJ1ROU1HQOrKaX3NdtccSvtc8Nqw34s4fkcFH2vfAfB1CPrnO5ljW3MaIK8vPMoYUoIVndWPVdq7zFVv7wY1bNCT++RsZdDXkwBk+aZZWoEWpGQThZu2NYhACroArQQOXVUQ+vQ==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 77 of
                                                                                                                     136


                                                                                                                                                                                                          Investigator Name: Remmel Jae Inabangan




                                                                            Evidence Collection Report
   Page Title
   50 FRIENDSHIP BRACELETS w SMILEY FACE beads. Party flavors. | eBay

   URL
   https://www.ebay.com/itm/255910118689

   Collection Date
   Wed, 30 Aug 2023 06:07:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ml4bstaWLYuIUe9dyVinh0IP+SRsuyZ9HODdGPefWID43KTWugKN3iffX6jcP0oMlzabow1zDj6wHU5MJ/H43S4FFtI5xlU/kyo321D8/rAuZ2i/7YOLXHQ7DC8wfR9GR6Pyl+lqGtP/tAv/EJAhl7lVbyvPLCBmaJyoag755jALc9EJLi38AZKccc5xf0Ur2gqNaJDphwg2Z332wSu0bUAPV/zl7E2QM/
   zv5Oc3v7amZqm+7DuJPfWa/ndaqDaS7oNRz4ohvdC+bLcUgptoRDcnGEy2ba8My1QSVjth6vSMUx/XJz4KVrxLZO8qXc+Na3ySTIv3hesvVl+ZaxMoAw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]255910118689]]_Wed,-30-Aug-2023-06-07-14-GMT.mhtml

   Hash (SHA256)
   af07080697c874c4ead2c656a89d3ea47e687f40508043538345593f7765e48f

   Signature (PKCS#1v1.5)
XFujb10HDmadSQCLRqZb73a+uNVesMr8WccUkedVJbPzAiIMylQMKlS7snoOr1ZvrWHkM5hZUss0urmduMF05p4+59A3hsm+TioGqrAhRHOPqsuNKHS8nTTKB2LHkbmXrhI6ghac15oDHlRvXuX5AEY3TZeEyEdEn2RZ9DiI/
IG7mCMBLGaYMVZLmLVkS8bEJbmDjRw1Qc6CmXBqzKJ6xoRuAnc0ZJHqxFLfEk8izWgoWxZEhTWK5aNDRP/I1JNjhA3p5ppTuDexlkeFjv/mfxr+bUGmEksXG10R6PAz+sExP6ABn7XXLba8JpmqtjAA97lJFdEgbP/f4QXe4GGpKw==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 78 of
                                                                                                                       136


                                                                                                                                                                                                           Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 30 Aug 2023 06:08:41 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   P8bOs98kCJAXtP020XfJaSXbXeozpYfj1yRVLZ3vwNBoHrKsBTfd5crOXUNocx4hEKOLzN3I4EDa6/6WLl+3nqhxffXoG3IjbY7KZNvM+6qlE1sto/PF/L7vZEt2nsf0ZkkHHE/AMfUarBA+KB7sx0kKaijo/RsDLxxH2Xna3/h4G/yX9JiyyY5BV6qa9igoy9CmMDwBj3Fky/lMYB8r0r6FcvYuREJi3q/
   EaYuZNF1RM0JEBkgaokIrC9xfb9ihfp2tR7FIA4LLrrUuboGwElVPByO4bNfjTNw6kgfa9w/DXTsa4go6nShhb7hekThtJe146GtqLpWNXc5tBYs6XA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-30-Aug-2023-06-08-41-GMT.mhtml

   Hash (SHA256)
   adfae2d8a4b0f8f46f0544b8f66c933c35ef04c9d59a1dceafb7fb28c3dc3e41

   Signature (PKCS#1v1.5)
W+AO8dhQSjQqf5vWakbAGPYWfhiHX7FNz5ZyJ69MdSw7hQVLpJus0/KLudUVKkMXwXE/H0Rvzi3TRnYh5Jslx9HMvhC0Ep6aKTzLlVdRn7zGFNZRzISIvM4klTbFuOJl0ngNmbgs/fWXIzP73UAwFPLzOvJrJlDt8p3cFfHbYmyEmlf8EN9CzHxJhYMWSYGCoKMqP8Ss/
M7Nko0LqKHlfbTnwCnOfxDOLGihedX0PNqnsnoNcG9vUE9KvRhn22URFZkPhNNVnegHA1XCtphT79QlS9z1BXyH4nxWJUXE+5I2hnJUHEqToWvPsHG3wCinMNxOwzln+kUNzkOjXNQhxA==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 79 of
                                                                                                                     136


                                                                                                                                                                                                             Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   Keyring Smiley Kisses Couple Amour Heart I Love You E6 8362 | eBay

   URL
   https://www.ebay.com/itm/134130791684

   Collection Date
   Wed, 09 Aug 2023 16:37:40 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:491d:2d00:69bf:7906:a752:afb0

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   S5ZMgXlWPv4LL2VjwW43mzgroR86bnrydUwn5X+W6CByS61jUpb4q9zELVFaf/rYvTiSIIdR7PWoRSJib+yxeDgFfNtekHN0Sez/Eg0JrXigrmka8La9AINcL+ZEUEFu4Z8YU2J10MkyUldyF8cohWjX3HPVs6LPV5htcHHOuPN2Vd5cT/ygY6+hZa6GZJoZasRsyu6NCV8i1qYyIs3dAa/
   pecWRd5jbGx3agBcybY4wYY6125r+bc1wlrlka6/uKOiXXmyFpsxzYoF5jVW2qsnThH9FasUhKWG4J8HirEO3nLHdnQOH6jipjy/tIM4KeD2vPxtfG4tEHR/0FG84hQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]134130791684]]_Wed,-09-Aug-2023-16-37-40-GMT.mhtml

   Hash (SHA256)
   33898ebcb4a2f857ac3d2196ffc502d468bd558ea0bc88b2855074142edc2261

   Signature (PKCS#1v1.5)
HYYV45Xv1yFcjAVlGJYvKJcNew38/62aolQVb2rnFKgBpDdUrGRYVid22c+5RTm8l/cHj3lJDuORTMEEnk8sGwqRpgYXalZi1KeMVQNcrdHMqoHAdJuXJggdNdWzQHrkfWY+neAAflIiO/
MpMw8dASPnOFHGjhJIpIE4KYnAoj5PKCDYRNXCyCy33tXj0K47MA4dEsKsRQjxS2ZYNpOUPyEyG4b5iU1xjS1uRzosEL8+INZmA5SW6cbYyurQTpqs3o5xrHVyZv9kFXF7XwMfIhBqwNpJIH2M8yjO7p/htGDw2sYF8dDz/XPOoFtyn2shFUYirJJh3cdWKYJ7CuHe5A==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 80 of
                                                                                                                       136


                                                                                                                                                                                                           Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 09 Aug 2023 16:39:10 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:491d:2d00:69bf:7906:a752:afb0

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Gv8Ws76UBZSKVW0M7rcSnTravgcR3DCvKNsSfPAh6I86T9jLlxfF0eCG2QSy8A/NaXVtMigkGskgOrN0Zq2IcqhvJDbMsBYSQhYBwMXtY3oT63nLADszPuDSrM0ECfiNK1v4Ig5IJ5ez9JITAeCxzNTM7g2ext86jJmuKyM8eyKXqf6m5M4Y10/f85lb6UZW66RcKsrkp2pI8Ov0+Ok+M4sD
   +kIJGGtOMCEa8dB3upazBVyg6MiVfJlSvHEi5xSy+k1KGZ+/bU4e7Ya/zlpy1uKyqehVF2tb1ChQyr+QJbF7AJ5J0O3MaB6klRS3LELLhQ01fETnSUI6IKxMcMBWDw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-09-Aug-2023-16-39-10-GMT.mhtml

   Hash (SHA256)
   6fbf5933d0f241c78cb26aeb9225e7707d5d3c75dd499af62d0534d3f5b21094

   Signature (PKCS#1v1.5)
GWYjD+3fZP+hxqOy589ipoRTBKdCmJgcVipp1eFhi9aXbnPoah6DbDNMq4b2c088i574heLyoK7J/lmnRwCIiCq7PF2Ld+WlSks6ymwPHkkZuId9+nMK1X3L5HseVEhktcoUIMfmyMFeM2l85hNL469C0Lfn0ioPvybAZNNUsADjz9N5MUiK9gB7ZZin1qozo+KihEYD4KkLVRH6rj/zJEoRpwQ
+KuSfASb2SSNm9HWZb8KZlktd0Mht30vXRO9U0mUG9qGL/ojgi5yEatsfJZMIKZMjPb2mvVqbC+6gA7c+v9ySd3eWbb/Ot66sSqZiX5Yp4DbOHc5ORnBA7TaCZw==
                                                                                 Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 81 of
                                                                                                                      136


                                                                                                                                                                                                           Investigator Name: Remmel Jae Inabangan




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: SCEEPME Smiley Face Ear Studs,Fashion Cute Earrings for Women,Sterling Silver Earrings,Hypoallergenic Earrings: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/dp/B09Q5NJLD7

   Collection Date
   Sun, 27 Aug 2023 17:14:43 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.224

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   enj1IaU9Mjitc6jrxuSTFdJllObeua2lzpGXf9u2PrhtxCQwfkOx0oXuduap/kVYBUp9ac2qnRDSLeeas8cGGf5VPWejBDOyKkglpryc36nloOt0cKf6UtvD4z05B3Or4EI9ThpFhJoEkaHFF8dSAW25CnDrHWRsEL82f4XskjPeOz+JKW+PyiECuf/uYJ9/8aD/tTEK2apTR4WMEVsUkjaCHX+Xg5CO/
   yaKE076vi6MaZ7PM2NyaaKvfPHYVJ5RfMuedS2pQKGgtJXNEjH072YsZr5GybbiLqAo4TraoFumpTGcR7bwuFjvIwzy79qQ9UqwDcERfKojBsj1rhUHzQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B09Q5NJLD7]]_Sun,-27-Aug-2023-17-14-43-GMT.mhtml

   Hash (SHA256)
   e18345540297687fcc64d9ecaa7bca692c72ba05dd7064aa6f46aa5cea48f390

   Signature (PKCS#1v1.5)
gKrz8326K8rZjVlPz2BaHEQE8X85b1xU8mxy2XF3zCWpI61hAvf8+0fUAZ4/i9+iScIPKfUQ54RKw03/OcG41dqphdId4mypkDd/OFD8rpuWR/0E7g0c1nC7UvlJBaEBtQieH+6awLTKNs+1XMT4oA3kRxN53BwN/
kW7BhCzt1J5zgjmN5TG2xZR6Zexvg92Kw1y5P2yoOPE4Ul7DnD6gx4XHMhIeBxG08X6I7WgpazR8tpKZSCyIcSCvZ6APcCofnkyc5n98lvoKbQS2WnuNcz2b7NF0d7aLnDdINpLopsauyab9Kmepy4CQpD+WBnqPSHWWQ0dRwT9D8XF1uQOvQ==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 82 of
                                                                                                                       136


                                                                                                                                                                                                       Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sun, 27 Aug 2023 17:16:08 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.224

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   TYaYBWx/VDQT36N5yZiVBgcXVs891b7/BaSw+sKn3x7Hf+8etczbgb9o1oV2dpjHzN7YSz9uiX+qmYkDfXkb/jkSz525IJe2/mNTH4Tz962t5eHciAmG7UxbKnZd5JTQqq9JFmptFpvsX5gpSaOtdDBHLKuRDtvMqEfBckc2ADyOijW0oYTFOzeIKjzdxA9OLuVn1Qi7tfeUSkJONt6+PhTpR5TE/
   IP27QuWyv6wPDHqJv8eLhl9bTf9reEmdZLcXBsaF4BCdZf5PnDX2mWp/MmkVklWWx2nT+lCxiXduD6ze1aDcLavaG/242rzDaXfhTPy1R8c9ImtWVCcMsfBAw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sun,-27-Aug-2023-17-16-08-GMT.mhtml

   Hash (SHA256)
   6fddaadf45c650696d4d0db9b68f7ce228eedbffff3789a66e4c54e141b5aa6b

   Signature (PKCS#1v1.5)
ckhc5lOVZdDNC1G1pjGz1vk941bjQ7EHj5DKgRo+OwuxnBmWo+rssbLNvE2osGLr+xgmFZPnE6lP6HnkWbnJaYREFTrRxTEvKosARtyq2T+LnRHDTuY6p64qGQB4Rjtsm+DQ9fgk+mntyxy1xIFvvPCZi8CkRMzocTk3JvMQl4Zrtjudl7ZA9qEzqxL07Ex
+deNl6n9mUXYqzmdi16TfZKTVwNW0yTzcHLFPH1sVYKZda+Hqe3i3JSemcNnyiv4hteSAmeFRBbVUmoxV0yeOdDBep8nn1ajkGZb8aeELzqBy0q+Zm+ZIxtN64Hj73ZVdsBIn0ouZ3+0jtjlaO7ZVgA==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 83 of
                                                                                                                     136


                                                                                                                                                                                                      Investigator Name: Remmel Jae Inabangan




                                                                            Evidence Collection Report
   Page Title
   PINdignation Smiley Face happy enamel pin badge | eBay

   URL
   https://www.ebay.com/itm/334569167395

   Collection Date
   Tue, 29 Aug 2023 10:02:05 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.224

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   i2vUUpCPPPjj1VwoQDfYeTcRP95ElUHaXS7zaxmIktG/mzBNQOQSq7MeDG9ruhz+hDyBlqfvGawcd95kWgQ1n3rskXi76RH7WN4BYhzUXAxwoFKqA6lx/v2NMJnDzWpaSYlrdTlZC0iDG/JfigGCc82/
   sZogrHGkgo4KHm1G2hLYvKkjQZUNWziK0CMbKutOiXAHAbGLsrg6K4sEZOfhFQY0U3ynqJbLFyE8tO/HXA/f51b9fQllKdInoKc6FHfHaHKweRh/mTByISlnQ9i3bzasWgvwi93nVkDLdEqGOwFx4bLKwgnWykjcM7qdOJ1MuLtuVFtIqojzsLkoC0BEcQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]334569167395]]_Tue,-29-Aug-2023-10-02-05-GMT.mhtml

   Hash (SHA256)
   2e92437a33b60f8df7bf0dfb3445c797167f337ff9daf59927e27612353e72b8

   Signature (PKCS#1v1.5)
YwwE/LpQ14a1cnj9zJYhR4PyzKKtoDBflXpBt4bxuG27gsK/4jjscgLUjEUuCLt0o8KFQmDD/PHsQITJF1NLTqPjI93oZntEzpLbB0+t5j7NQSPmS/+pOAV9EVECNKuNwwjkVRmtniWu/XwGWVhCU1w5jCdBUhIcBQ7G2KwrMEwUg/
JmwPhpolNyBnfryFiyju83mfi2u0URoawBc4hmrxF7SUeKTxYBVg82q0Ean4DhR9y0pEPjYB8Z5+tBLqz8vQr2X4Y+7LAUzhoX8OfzyodL0CuSz524jbkgXVao1oRP4QBoJm5XV8cwLDhfS0iSh0dYUM15M9i3MRWqWgJgHw==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 84 of
                                                                                                                       136


                                                                                                                                                                                                        Investigator Name: Remmel Jae Inabangan




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 29 Aug 2023 10:03:08 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.224

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   aUedxoZiwRzKO70wIppfnjEeeUnp7slKXDrt6BIqHp9a/0cEoa+uYm2DtqlF+tZk0cEZupLCR1/tnmjf2Ga7WaqPZpphLxV8TMPjFQUz3234nUH0aUl8myjkDjBVst3g58vn2t/q/NIsQaTGndkSCpCA+BkXhQmKiF22fvkNWKfb9Ic7HH8//5tWkWCFQUTKNHUHbX/
   Vn34QqiHT7CkgWCN8Bnqm2jLI7u50xyJkJp3t5ixXl/aZPNX3vMe1ql1dj1O8oIkqiMqIiNFeRQDG+oikOMyoglv8cCdnpM7EiG/jLTuxRJls1wprAYTsWi3b/Zrq/tluBlEDE1Ki8kAUmw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-29-Aug-2023-10-03-08-GMT.mhtml

   Hash (SHA256)
   7bc60113d166925066197352f0daf95ec8940f6948aaee1e6c21d01d78441cdf

   Signature (PKCS#1v1.5)
jVj8oStpyS2UbkhJ9aLh5Fod5UrCcuXuzzzZN7BhRN4dCqf56fI5vpxNganQ8gO8bNQY10n/V88f+umeTOCFtsgBtjFPZjLEAA7vgtWrUlVws0QsYZrdXnmvBgvMQXx2OWQvyJcuwp7ms8QwTPCxMGMYW3zMF55yOnCCS3pr/TUjbHvPpUp23P7dJ7PBVMf0R5I7f1SsmIyBc6D/
rTOJV2EQTWgCQWPiW6pFZSElyujszS8WTPPOZEmG0q80bVrjs0TJWcH3NjwrY9B+K2pg2R4eoD18tXXGEmqPZ7mt6DMWDXGKUwJNpOyzW3H6QV+DkuJ11NehRBloGreyjisW/g==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 85 of
                                                                                                                     136


                                                                                                                                                                                                        Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   MULTIPLE SMILEY FACES - SEW OR IRON ON BIKER MOTORCYCLE PATCH 85mm x 85mm | eBay

   URL
   https://www.ebay.com/itm/225643619897

   Collection Date
   Mon, 07 Aug 2023 20:32:43 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   WazAGeRisd7thcFxTOMd/BMVOubt29T1RURDBEcSs62K9cd+pfD58OfmXFuQbBcvbZVureBC699ml1cuAHGm2C8lTZZx+2zFlxWVY25gvCOtOVXuy62w2fR7mK6ZfZf2KGbAIbuAmQEBlnxQ3qqSj+WygxSFHW0KEY4SIKrqoj4Zj7V6VcBU4kBvrjdpQxKHR2xuw/WhE0RCUvdkc+CdHk
   +4td4Uzw5T6beu3xvWFfR4hzlLAM73U/3Otb/srBdSVNynNy1VH7VeapBEDoAgb95ZnlVFduEBZhsBgFktywFqKD4kR/FhOOTGFGgltqgeFk+crHGpIVztev0hXk+7mA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]225643619897]]_Mon,-07-Aug-2023-20-32-43-GMT.mhtml

   Hash (SHA256)
   ef24dcf052bb51f9282e84cae73666fa01020f894e9c3394de35173ef90c82a6

   Signature (PKCS#1v1.5)
CBJeTs4y+WBRSpklQ/Fb8Rb1m7eSnB7kTn0VfcHYp31P1RRB4lBWFFXEixxo7DtrJRhAa+zLz1Tz9hqNJYfX4hOpMDb5n7no3brTLvr9ptxULihJwMYZa3RXJ7JwJ7kxjE0LEQTzSyBBzAX5NpiAleFl3bcXOXJzSAUwvabFoV9dk3A3DIQeWz/
iUGX2xVq6UxdUgROgiY07L3PiSXNYRqIOgiH6ehed2Aay8in9IHXtrL2GV3C0y2nB82FrzGfIibzyuML+h1n81CD1Ipvz3GQAdaxEW5r+6dA3t2EBYlSQq7b54UV0Y75Sfd2NzmqgQBlgS90quG+lH8OETRwFMw==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 86 of
                                                                                                                       136


                                                                                                                                                                                                               Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Mon, 07 Aug 2023 20:34:02 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   CVrMseiEOtNcx0lEZXPH0QovMkDJMxG6izEMA5frWNE3Qyc4EfTldfhuCuCF26yHbnczOf8kU+KDguedbK1wjH3u9FZ7acMjxh29aWMTKv0CRDKV4WgLPELSxBjtdv+A4JsofsxbbtFia/
   F1oAHBIunSiZAhG5sQ0jH9MvqWlwS1DCh7rqtilIKtN5muaj040leSJFctWjKhgSuC35m/3Ir96kgczuvHFxRuWBH5bdp6GyWiHEB9Q1ROeVrAyhmSERP5XswwA0UubSSH3eiQOOxPW86cxUYiJ+FUdRXWjYKLJDsCYV1DzyND15ISibzt0CVz5GH8fAdxrDtBJv8MCA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Mon,-07-Aug-2023-20-34-02-GMT.mhtml

   Hash (SHA256)
   f4fb4de5b4f10d14d11c6ee05db590e4e49732cc1f8e851fdb20f923bcac2889

   Signature (PKCS#1v1.5)
Y+VOupHx249cpaskpMk0aL89Q27Wd44iZBLaXDIR7iLv7Pocy9Ga+xH/zrrQAbqgsbVWuiLiZw+x/eJJyKAZoGz7+pBJVFluhMgDZxuy/TTzNnOubgB5D3pcleF9sD58655ynktz9jpk1zfODfnru7oFTrPvQqi3zlmE5TGAKm+T7yw9AIK9bGK6vveCm+lsrtt6CBZoy93sO7XjnxRw
+8AzpCzUo9qCITA7vRQvlF0R8k8t2xg29x0wqThhZn3SBGjpqrLIIzYLQ+aJrmniOtUj5WiezIf3d4RmzGXUbSek8SqqkCVHfo6KDa6XdJzWw1hxS1KfbznJtCRInkNmUg==
                                                                                   Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 87 of
                                                                                                                        136


                                                                                                                                                                                                      Investigator Name: Remmel Jae Inabangan




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: FdddZZ Sterling Silver Tiny Little Smiley Face Pendant Necklace, Cute Fun Quirky Design : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/dp/B07W79ZCJW

   Collection Date
   Wed, 09 Aug 2023 08:24:04 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:1e::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   VoddRpVpTX4/rQYu1RDKFfYFCf4vLaJXD+OnM+u7wOTpmnXOLXNZ3B4o+zr+G0wmjIHCz9NrZuRxpg/Vmul3vbef+2QT1go4ghz8ZU7gyEFuroRSZkx/+ru0x8OBMft0setpoYgz+/ZzojMVVOIwhAkzyfBZiWnOkJJEj6MM0C
   +5HbvKpD5gT3dyyGNaaalYxODtsGyUWRnoxGRCm7aOjXbU15cfJoCb8rgnFC6tzsgEoyBzCv86kIB5CijKvnMHb1cSYGLYh5plsUa9QHuQgIJN+yRPp8PniNk1pmL95QvMP7GiWQzKZMlxxjbnFea1O9dZtYxjvkv80IgsBiTMVQ==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B07W79ZCJW]]_Wed,-09-Aug-2023-08-24-04-GMT.mhtml

   Hash (SHA256)
   6f23b4ba6d4f5a918d459bfa98baff802000d4dc5c52e1166170cde72c57789d

   Signature (PKCS#1v1.5)
bUfYKKahNPfNWf8TnDyk0cBrNOlYB6FcV7fePKO1Tgno3I+BjYA86tWKpT3IjD8QCi8YOn8zbWHnW/Ggz/32VrRAg6zIaAZ+7+JuzsF08T5/Fdyxe9TlBg0Qs/+5mdL8nGZNwR1039dMlZ9j5OB30P1Tg8OKmG3cwBy9kfD1YRj1+Mpm+5jX2ku+CPcQmdEi0Ni2j5N3H4TGYs/
EwJcZ6O6FZHfwQnwl1D6ixMumfF/NC3IIgCVr/wuPaiOkexa4exFRUDJce9/r4ZtcO8u7vnwHXlp+gUzWK+fz8aaoaKRwIBN5OHnw9TqAJ/9ee34GKwNYN35J1dozUGZWvsMgzA==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 88 of
                                                                                                                       136


                                                                                                                                                                                                     Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 09 Aug 2023 08:25:50 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:1e::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   gKwCZFanY4Rfee1O256PcDztogZSGHRJ9p3src/U8fR0q5r7eR8AiY3fLv8vDPtmeONDfp7P+OOKOd0rh5zijdERZJ/af/loZSyU+3REmRccnhHtlZ/oB1PCZ9fKXRjXIKSYCwmcQ01H+gmB0eoeBuuocZRO2B++4V4joo67XC+eQYXKTrM16GxQW7jgtXywAGb+nSvembQ/jT
   +SonWKOc4VCnxjMpnA7eR0owLXxaaaS1wruWQrP13ahn7BFIGckv81+DHUmDZPVbkiTNvIvRDCgWMOd39V8Bzjxdok79lWCJFvoq4iGXJqbod+G/d/BqS6l+ygvyoXri1qZBF8YQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-09-Aug-2023-08-25-50-GMT.mhtml

   Hash (SHA256)
   6e3d61023283c6181356d63bf3552fadc4a0e63a3ba606739a2c50690d8442b8

   Signature (PKCS#1v1.5)
iWDnFVmhM61Qn/PkZOGP/emJhoA/yTGA7HQ7I17uddrbknvelGpLx7p1B8O7+3L31WlpiuN3wkwY3wR1PJEhEt7HqJ+7y+e+uiIa7/IdcFgP54R0Q3j0g8yBuEpamMrYiIKR+dtAyYjk1D43QSbWnJJ/rKC70jX3vd
+U69CJER6GwyPLuxCSLOC1YJYibZgjibXqtckcrJhXUE8xNDr1uQCx81Q1twGLaQEqTPJuHTcMRsml9XuLV+TgNZ/Kb5WD3Q9rcQ65iRDHGj4LwpQyG+QSVz1sCkr8nYX789k2Jz4ZVKnzAEQZLx2TNViqN5I8EfmpFRDFA/gFzMyNSOElDQ==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 89 of
                                                                                                                       136


                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Novelty Smiley Happy Face Patch Sew / Iron On Badge American Flag United States | eBay

   URL
   https://www.ebay.com/itm/360839331799

   Collection Date
   Mon, 28 Aug 2023 05:27:34 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   mjXNxOhUQBc6uOyTUgvxMNkmZwj4DqKTssrBJQv+dqIoxAnRg0iTyy/Ws1JqPF7tFgzxaUGsd0RFmO0U8kEIkYIMcoaJOGW3yxfHtZ/+r+akzfmsBaSbpDlQ01AxPWvpE7XY38j3Tgxvna4/Ysp1khyPL2DsaOoMPKRDn0Pg13A=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]360839331799]]_Mon,-28-Aug-2023-05-27-34-GMT.pdf

   Hash (SHA256)
   3be955836ba9a68e69d69d001b492af2e9dfc08a842bc97ba2b4c1bec2b1bb1f

   Signature (PKCS#1v1.5)
PjYJ2NfNDbLg47kp/mHzMjDAeTlM/pdFSLeAwn8sNzJcOzpNekt0uEoWWjCQX3MpSynd6CXgBU8aeTDBzDO6bF0yR90CuPtUhC8G5eSTcRVJwybLG9NecQy3HOaQueBTVp8UoxM59TeNmhZ75AHYnjjOHJD2GYcVSZcAn6q9hw8=
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 90 of
                                                                                                                       136


                                                                                                                                                                                                          Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Mon, 28 Aug 2023 07:30:03 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:49ee:1900:1c80:a1a:adf8:9048

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   PIrB2Ertm123TffMkEUWLXDVmFyWe8LEDkWUTlTRJx5IuevolXZEgfRmOJqZti4LQuDXWeWQkWLnPjvMUPCaFwqolktRMD5PdOyAc/eFS/J0VyrcuTyMiGihyLlU0egZW5r3/qj7OWe9VXtpV5XRPhGTOnm23eFZz5AppWBXlxxmiFib3gX5vGKnwR1kaaKjBbK7ZBLl3EIwwrJl6MHN/
   o0waXeDXbl27XpIsLcy2eCEMlkvXdxHQ83pNat67+twolX4JfQIZqJF4CPh3+Anryq3omMej7FOTAZFif1azb0yK0MyQ96y1j2VbKWFywZvvRAB66JBCAArGdsOgeW/LA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Mon,-28-Aug-2023-07-30-03-GMT.mhtml

   Hash (SHA256)
   0dcd77d14221b0e540387e90c4733454d48b73a24fdfc36cc25b4d2b7dbd5e52

   Signature (PKCS#1v1.5)
NWKN2Qj0TteUnsUQfeR31OdpGeiZT6dCbZKo2zBjvPf53nZmruqR01a5VFYqHfKXpNBm586C98WFq1GOIxmaIvj0SpYHgikko01CLo0rSZOI0WPxapUb/CbMQLh3QE2LZQYMZy3G7dbb/3pvwwzMwakvhYldIT4YnwgPntYUp92Wfuz51hhnyGKlTFxC5gOnw7iAr8APz+zK4lXo/
W10miesNqTqoIaPt8N+zMvV/jCG3klVktupTRRs4e5Vv86w7R6+8RwinLsBP5YIioHmtoTOld2fqxvDKpqaBQrqPJmys6JaVHW41fp5xWPju2enu7Sh7cHGsp0ISbLh/flsWw==
                                                                                      Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 91 of
                                                                                                                           136


                                                                                                                                                                                                                                             Investigator Name: Remmel Jae Inabangan




                                                                                  Evidence Collection Report
   Page Title
   Amazon.com: Fall Vibes Shirt, Sublimation Design Shirt, Retro Fall Sublimation, Smiley Face Shirt, Pumpkin Shirt, Fall Clipart Shirt, Digital Shirt, Halloween 2023, Tshirt, Hoodie, Sweatshirt, Long Sleeve, Vneck : Handmade Products

   URL
   https://www.amazon.com/dp/B0CCDTVN4N

   Collection Date
   Wed, 16 Aug 2023 07:10:51 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ZfAfTJ2QL6QA5TUM2z0zKW21QqAeQiXu7cK3P13tTjR+OCGauFRl+uViQRBzcyR97b0dvvmMi+ifJbuYclDbXcXJMOvogwR8BWz6u9hAx4fMbwMw6xT/ucOyTYJBEhopKGDkz2yMuT6eneGcx/K4kWoqhUCHc+KYIHjrHfH0bnSpUq6Xq1/Pqdm
   +zKaoljoWuQyeUw3BlkmUY06s0D0gaiM8m0Dg+vFPDIttM64jX1ozLqwOYoyp3CpS4xIf2lo4EMP/51guCGCMemLdDqOUgsPsXuG4yIrR47+MsZ7jmpVMxpWdlfODdAUDBE+v157kfBDYhPSfUxXYLCxORoTfuw==




                                                                                                             File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0CCDTVN4N]]_Wed,-16-Aug-2023-07-10-51-GMT.mhtml

   Hash (SHA256)
   32a3422350b942ac48ddb699c18030f1f27c603c4f6dff12bcc97a84033cbf9a

   Signature (PKCS#1v1.5)
YBjjofPkdMfcbq/iog8hZSxb8JB174AcQlwOy91jf/C95YDIaVyt7ZxSK8Sr9B1onxr6qxFCLG1Yho+CodtBp9Jh4YHaym02zhqX8fkCt4iqQ7Luq1Emd1G3Ic6VTB+1gyyCbdtLFEmVeYTnoWI6wqhVXu9K3gHsuLYlWsiFtJ+tTvbt+imBG/
tlWBHThqg7mzIYVJ4kYhy0srbs5GBakN0+2sRjsdmkSVOOcKznimEVJNOT17nVMvvYJGdYs8F//uVjEnfFlBnHTAPA60jaugit3ztVvO5F2JUYBU7He13CV9n1TU8Oz4MyTPQRJF0TU5tp1mOHXC2Vl0bEM+H4Aw==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 92 of
                                                                                                                       136


                                                                                                                                                                                                      Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 16 Aug 2023 07:12:19 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   H2nL1oUT2kqIaF16SwaJmgsvuIFBLzHsYxjsz/K37YFypC2UGCMzAMEcscSxTIe1wVBS8trw0XBAhClJGfE04ReCcVtve2o1U6SehJ0X/mQymQa62cXqT48W9WTHafh9N/1Tqz+rrneQMrSZ97vEH6iJ1A45u4YkmyVEBqSxHzOQIDZM7Ybs0frpxkyAyeY3gtSXWYiSCAHPdT/
   N8LEBr74yRhs8cQ4pgfpZOEHS52JC+e0Vjf0dNok2QGbfBHTO7Hn12wWzaVwdfjql7T7WTuTAHE9PPBwRA6blu7jIwPzHRqtlaL2CtQpyk0k1DPRKrLfbbctB0RBq1Hk3vMFbmg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-16-Aug-2023-07-12-19-GMT.mhtml

   Hash (SHA256)
   7617bde8e8575f1cb11d1589e6ceda1928036d9d6e5609467be6352d998772cb

   Signature (PKCS#1v1.5)
ef58kO2EvBnqbQnwwJ0SRlJaqK/+h8KM4u+V7e+F05fyV4xaBIbLdGVXfV10G6dWifrsHFn5lY3m6nlrhMBKyRiTFdWnnzwvOHOppc2K+QrcvPBQ5Od6wVSLCw2X9dg4v1L2ni/f8VJDTXMtJV8wMSyCVIXiJG2gJypREsYhmC/CERnqoLvuYRJJS522Tebd/Q/
J5cwa1uIOk8IFAz2gq2dKqeVrm8vUwFozJHXE02PZ7V/Iklv885+vxQ/aHcrzXMqvMyGW2+SXx2Da3yKv86C+BQpJVe7U2JPDhFE3CF1+TKLR6syTM/Nbihs8eq0ioNpsy/ox83n9mmltUsHrBQ==
                                                                                     Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 93 of
                                                                                                                          136


                                                                                                                                                                                                             Investigator Name: Michaela Borja




                                                                                 Evidence Collection Report
   Page Title
   Korean temperament, girl style, cloud and flower, niche design, colorful beaded smiley face bracelet, 2023 new handmade girl | Wish

   URL
   https://www.wish.com/c/64bd3ce20fabee6b1cf2c38b

   Collection Date
   Sat, 12 Aug 2023 08:23:36 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4955:4700:5986:86e7:734b:2fc3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   D+GCTEwx9gJkZX8IPLPILwt1LmVWcaf8V2pdFt3qcUtshjE/zLV9s00xfFwczukIjZK5D+nUvuhFJWKzLaVCP89vv8ZpHSGVz7YWmhWuO1gD/jRzpDNSfyV3nOBZ3SoIWCCa7D3PsnlvbX6hpixzoYFhXXHTt7vTHFqLaMbMJNeJ/lCVtTyIvXLfCNJ4B5Z+
   +5mgl3byA14L6+H67CPiiLNGCECHX0p394q0GiiFloRoU1W4NxqJeIf9n8Zcdp3wGVgHIh83mST5Qje7QhpFrVlpciyElu157UPH60+FwtfQpuQnAjywjunPXX5+YofL8mAx9S5rTUTBK/tVLrm1Ug==




                                                                                                            File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]c[fs]64bd3ce20fabee6b1cf2c38b]]_Sat,-12-Aug-2023-08-23-36-GMT.mhtml

   Hash (SHA256)
   3e8d2444bbbff65241d9d74e11df269f9525501ed513e7bd7d453e3e11038312

   Signature (PKCS#1v1.5)
cCp6OcPI2+vFjuLA9Cb0Bu3Cr+u5l4xtbSH72Z+j6p9ItRKMi5CzDLiMIbEZjuudmV+lDe1x84DEKR8rYedLDeyhuChOnh50h8My1oYm6VcW1Z48hmPMu
+WjrWbubbSbcMIeG5c2Hi52EmKy5WbMO2Nbm40FJi5rgeImHnilBk08vbNUwEwrYLhuLjtCRmmNYLFiOHCaqDVGFLpZvGl57QiSMbtX0G5rt6jQ9UWtNhIoVHt8vbWeLlIB5OBZP6tdiBbUuEzUZcjw4R5kPvvE+OOpTEyvvZ9uXvGA9d8PjhuGzsXqXy2BO8ascaf7N17oiLJcfgG6ZgfL/xLPp1vn8A==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 94 of
                                                                                                                       136


                                                                                                                                                                                                          Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Cart | Wish

   URL
   https://www.wish.com/cart

   Collection Date
   Sat, 12 Aug 2023 08:27:55 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4955:4700:5986:86e7:734b:2fc3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   CmW+244C6BIIiKoiPEK6EzpBbcg5hxNAT0IA/PzF2gRh0zaL0IXTREcQVS1d38I8q+AtSbwh3ZOX8EtSKNX6b6hMPuqdP5/1OfGP836FE4qhfjSyjgZeXzUZfHy0c1H7mI/ZX2fvV3vji277Cjoc02f/LOLRccmEiTFor7jUjFAAOT66MwF8pFMWZF27ayjbYWV/
   ypvcxqoKlUV2fLnGawCodGxTintG5YP5Mb8QrgvayUVrWvf2c7dzkFYqRT9SPmjPWXIt4mbGDTw9/v/a2QGFqrkOz5V0gjAg544fZxTDufXT6mae0pqwlTiYuALtxCBqHFZmCiys8A/OjgUGcg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]cart]]_Sat,-12-Aug-2023-08-27-55-GMT.mhtml

   Hash (SHA256)
   04058dfce01cbdebd1761cd419301c4a3bc3c668b551f7b4684c944c65a2ace6

   Signature (PKCS#1v1.5)
k5Tl6/bMEwUJNW86wdQ8GkVWIXfaHQXKZxADhF5HRxShPOUyNdMvXrxU7XYlLXkreEDCAcvwR4Feo9W/0Hlkhs9sxDLrIh493e0rsyaHNK5kQ9Oi+dfGadWE8ajrnxSQkAtw8rNSjaPDgy8edVLGJkw67h6jWK8RPYOB7OYlwBZLXxN0XGeWc/ZbcXrTd62mb9epfQeS6/
BnKNnQXIyRnYpqDG367rB7nxxV6zZ2HbsO+EFULZouMe0IH/pF/HRNyh3isyukD1W+W6V6h+uKKfrG2h0RLkflcSsVtrcG8DvX3JOp2A7btLO3mZ+uIxdd4iFbXlxFiv9oK8khAr0QoQ==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 95 of
                                                                                                                     136


                                                                                                                                                                                                   Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   3.6ct Pave Diamond Smiley Emoji Sun Shape Charm Pendant-925 Sterling Vermeil 14m | eBay

   URL
   https://www.ebay.com/itm/314024674854

   Collection Date
   Wed, 09 Aug 2023 17:00:39 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:491d:2d00:69bf:7906:a752:afb0

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ROy5zKPsYFX5OnDZ+jWKClQYIFLkTUaN4kpU8nogSjSv8XDZGC5wpiCwlH9WWiOX6ypXciLBRg63TyRm0iV54JSQjgVZzSXv2Z10WWMH9YIzIq7XW2U0l3YRYGI7AzawPZ8e+FGb2ccSdGZyUJwFzrA+GTQSEkiUAgJxACZJMaraLtlbBZdrY
   +7chyofIsits3TsC1e40xhnwG7pydPiRkoSn0WALQ/SxMT61LP+KX6IUe1xCfMYylPk4uKdfrVikpwNOe2h7WEU0aOO+LJAnDQthrP2hBWYtKzemXzdGKZzIHLV8PQDLUzXk4R6Ke5OOV3Z+a4HxHYI7bj6eNiTSg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]314024674854]]_Wed,-09-Aug-2023-17-00-39-GMT.mhtml

   Hash (SHA256)
   36d3d9a990bb9466b37422e548d559c5dfc8bd2b704a72513e888e79ff666561

   Signature (PKCS#1v1.5)
WXnjPSG/yKMthQJFUH0zMFH7u54gOlcDBqfOEzT+r682Ngg1KEJQlDUR72H6oedHt9/1XHR26XEHqHZSd/yYu3/28Fqj22s9wAVRTs/FIKM1YkEriI40tJIC6wMh2bvWhJnVanJopwsdhTd1IYKQts2y2uDsKtmvv8OSWawfIBb390Zy3Y1jAXMah4Bi9VOG
+nN56pst04EqLoYsKD4iLhnBc5jiiyAsqAxzI1+rtV6JN0an3g6gCEbrJMtfk0MAbOnmKt6D95PVB9LGRRlGF26G46KGgS72h2W1wDnVf497BtNoS3Qb4y0LPqYsZoQ74CzbZV4dmAbQx4NR4LB+og==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 96 of
                                                                                                                       136


                                                                                                                                                                                                        Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 09 Aug 2023 17:02:57 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:491d:2d00:69bf:7906:a752:afb0

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Kw2ubB3NNaLJU9tTFT2Pk1rdaisd6WcsPPHUgetswToLrhgEa0JH1VcS+DMHC/DDq9jtXGV7QUSUy1Ap7WRueo5IE1dwfLk/vkXPjPqtMZr6GTjVzi1Scf9NzMitWffVHgZYnfSNUIJhVXdVAswS3oI0K+SVa3eN4Rrc9cw5icx2oFMnRI4+PmiEX6kTX/
   to4PiOUeMXejMPJOwrZ1I9SSS4Vv5+NMnQVrz5AI/oqGsslJEU458kS6RTlnhSQ9sDBBOB0dO5ie+N1k6JcSuJEliJRKyL/tzJ/6YCOsfjq3zYc5/TqHKIzU8Gtd2uoDGUVO8nHg4WYg8ncRe6qK3oVw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-09-Aug-2023-17-02-57-GMT.mhtml

   Hash (SHA256)
   aa2946809ed1a4e7eb51e86352eef4c76146e7f78e299d87e8591010854c7def

   Signature (PKCS#1v1.5)
aJZXbnytKKgqOxXmtdkr3NUlISPWzF4+q0LUOXMA9gAVot09KEhUKsHJtjpLMeEIJWBCfLcxF1B84zbRBxB+zsl/gHWLBYFnJiO2N6w8IMUSG63xWpVrbHGJr0KV18yJFvaULc/lJo0UZBl+/faSwMYpgFOcz4i5dd9gMlzQqO6yWdYIMdrxISJ3PUT95YUSSZ6Ky
+mgRr11g5KViybX05P6q589Bxe8vRDDa0v1rbadlNM8wRHsLK3XGkRMl5+iqmquxe9xh8IxbIBdj7Zv6uj/er5g3enkLWERUYw5Y24n+rYqOvwdIncl/NGd0bBRjN/5QRAZnG9FjH9RxiyyyA==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 97 of
                                                                                                                     136


                                                                                                                                                                                                               Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   Flag Rainbow Smiley - 90 x 150 cm | eBay

   URL
   https://www.ebay.com/itm/381443537326

   Collection Date
   Mon, 07 Aug 2023 06:14:28 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:497f:e600:b95b:2e52:205f:8608

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   RZEx6pzV0yKw90Z+CMdbmKE3202QMDWG5kHpPnxpwZP3rvkXZiJCNIbJeOFpD19OGEogUpXHZwuJxZGKepijUUG0gC4nyCOMrz0X6tNM0REjwGVkpxlpxkvsO003oEGo9kRfQvjq//g/Nmr
   +cSv6kUPxRiN4voxRQH1WFiCLr9a3WwtihikH9RhL2Y9DxR18SpyPed8lLFkiJYTAFvJoWvfiO5xmJ86Sf+7NUyTmzBSvkUIljiPjHpsgb+DNvItXLS3FLSAg8yYNcHI9LzWmN78V8hnIdDtQS9qMtBgzg3oQJhCfjWishBiTio/RNk5gJR1sDKkQT2iqFwEcDMzqvA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]381443537326]]_Mon,-07-Aug-2023-06-14-28-GMT.mhtml

   Hash (SHA256)
   356536c0c101a1f9ab4909868cbf2e7d65870ec92f7886b06c25258e87672243

   Signature (PKCS#1v1.5)
NsjQ3v9AQ/iZBJYFpqkkiTK5idRzpXYJFKrFcIjR0+UpAJ1V7ZlyL4947W+RPcpB0FwLCSzbHHeGmhG4w/V/k35l3TNH9wE/Evqwj/dlfQgBRIR8WTc+nOEREIOEmxv6yecZmRTRkZJ9KVe+1Ed4qslyG6Pj+ETLrkZlU2YcTcjRVRsf6DNb4xdRtkw0C1U0AwFtmAtmZxvX9dgK9/
+GdFA/6qrIZLB9evg0otlzGyxxpUQdRt6i+f4CwFQ0JndHgvrVYGt30NzED83NK68PwFTjNrEFgFoIq009dEUTuVdXerTpcLwBHgxUL8NAMLIp5IhLww+QYUvMZ25N5cjPtg==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 98 of
                                                                                                                       136


                                                                                                                                                                                                            Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Mon, 07 Aug 2023 06:15:23 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:497f:e600:b95b:2e52:205f:8608

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Yp5BQNQCpx1R6EAIrWVie7h27+IZ6lfzKGzDmeQ4JWQh28DZNjtCTWKY/xITI55k2Dj1Z4VpuLEETpn6QRiRpIwxz2Uds1Wh5RwfOlkUaT4+qwgXIfF8JN1v5m/yCIySS7yl/qXkD/
   HDdqccnHoVAF6lPUmfqxaUJdjbnd4yNP5QSNtkTTEJCBG7s50D7ULuajoOXm27iApwQLl5b32g1IBXt527XaFQ0zvHXGUbEw5gAZxq7N6gOlkPPBH5PxJaqi7ryHd2Mc23t536yxnDvoLDOSlZHM2EvEA0MVdzrZxc4KfTo2JxKrlDrXPyGyRal8TS02iBshlCxFo5GUqckQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Mon,-07-Aug-2023-06-15-23-GMT.mhtml

   Hash (SHA256)
   6bd024897fa7c87d3b72889a7975a54383048cb761b6524ec93ae6afc9cce374

   Signature (PKCS#1v1.5)
j3rGkdQVA3K22s/JSO7L1QoujoHRluC/Gr1CuoIqnIkmsHWaRvk5X0AxMdJWRWzOIt1dOvV3ATRR9h3ehXbYWR+lyI3erdctmZH2XwoYdPP4hUoWWPMOA/B03iCdtwCI+si4fixKNSD2oTmy1ctekiUJOYWI9cJHklcue5LDHGMaiOiFgc1RQc9773QHB7KdlwbeYjS/d+ndDZd
+lANGXA19xIGe6SyidWG7HQnX7HEk5NuUXC2sYAurtL1MEHxV9LJ89+BfzrnNx5jxu1wPJoiV75nz4fKPiJ1uCfmZbnpJwEyBFjxX3u2Zmvvtw5k5Aa+dXAdbKPXJFs2Tpr1Lnw==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 99 of
                                                                                                                     136


                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   SMILEY FACE IRON OR SEW ON PATCH EMBROIDERED APPLIQUE BADGE LOGO | eBay

   URL
   https://www.ebay.com/itm/325775916228

   Collection Date
   Mon, 28 Aug 2023 04:36:21 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   U35D17Z4U2iN4cNKNIHO3PCbSBh+U2HOAHQ0RVn7qNmylKNyyB/Ep6nSncEqQeZ5lRtacLsqz1yzg7ylxp/kFfveGOhJ62+c+4bWAwUJ+PgzRhRjjD9zli5LB7b9PRpePRXHAuFv/Ej87hG9W8kCKb2Bh9kJEa7odkqbB6AXd4Q=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]325775916228]]_Mon,-28-Aug-2023-04-36-21-GMT.pdf

   Hash (SHA256)
   064159f0350317b57d3a57c00cb66b7b1ece923a57404e11ed8f0ebbc4733de8

   Signature (PKCS#1v1.5)
ZHr6Sli1XNlpFXV6/EoqiXcFZ+LpRMO3SZntTJEByYfI0cGDbe1x3fyhMXwdDPCcJsHm0UIHOZKgEYgXAVC/QGntKVarEr5R4q5oPT0jYn99fG9VaDdDqXa7dQ76Lp+FMVbgan475WAOBDjoFwKp/PLkDYWYiTXoyx8lw81pXUE=
                                                                                 Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 100 of
                                                                                                                       136


                                                                                                                                                                                                            Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Mon, 28 Aug 2023 06:42:39 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:49ee:1900:1c80:a1a:adf8:9048

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   dxpGsNLGh2EQEi9IZG1u2UhyfE1PZmTEjw4Sqh4ww2HV93mvllUTzG/81DaGEaDFls02C6bR4fp0GQa89NsMAzQmVBJhWCAUG7ag6fCpDKW9WWxbTDAh61x73VFvjtcKYd69XI+jPkJaL8h9rhQ93y5jBSjUghSfz9qFYcwobg3iQsp8wmUy64qZTUrZGJrqz2uj00InN6IAhLi/
   ftPkCNrqRHcJidQNJVcVEQ61JiL/0nmTS6FXvh8p+Rb08UTm7soXCsvm8DblvrwtY9aJGIyH5bEyOPmH9SDZEE/VHuQNblIIT3dkoPau9ETaHA3nFks0b4jxgX6/SUeEXhPCmw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Mon,-28-Aug-2023-06-42-39-GMT.mhtml

   Hash (SHA256)
   02c4e884aedec63da924975eb643210dca30b533e21d6fba7e835ed5b175eb7b

   Signature (PKCS#1v1.5)
YN1xKPB3UUtwu/2xi6h3U4l7cEu1r/sWvl0l/1zBcYn8S6+E2zx/ZJzyTmfKCGZ4/aMlQPR0a8PbxN2OvW+LKbjg2IfKBYM75L9pjewBeot77xNhmq0ltCKy+OOHsJFm1sfmOAFoGrFMw+qjp4bJ2pGZ4m25hPEwKuQI1U2wQsevtuhIhSnCkqkNSgicSTWXV2CYfu9LEqQt+53TzrdJwZ
+yNviLSVjmQeqG0G4YBHhucEVAPp2ieuz7Tu2E512trIHiLZkXbQ4R1o7Uyg51riPipuDf+f+1ZcHFj6R5S10FqV8TJsIeP3ufbNiqCwTWDL0N4DhQe/PebRtSIIlAFw==
                                                                               Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 101 of
                                                                                                                     136


                                                                                                                                                                                                               Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   smiley face bucket hat, stone roses Adored Lemon bucket hat | eBay

   URL
   https://www.ebay.com/itm/304692281673

   Collection Date
   Wed, 09 Aug 2023 19:42:02 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   193.27.12.196

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   MnXLjE3aho96jpTqLyMPAtDV4aEiwjIlpeSm7A5kZg+ntk9fb/cI2A+InSbTt8FjnP9zgIwh2gPDZ/tmUH+ASbw4H+NI4oWDMu9dM7U67RWkozt0TE+KHde1645ZBMc2uk4FSJrKXz8hB6L0cjPgLAi9aKYzcxFW/nlwX7WMVKQqMvhJAMMy6ouEsZlHuD87nlbjIOza/GKJHsoS/Xsei0h2sSkl
   +1mUXqCTkmZXn15oHTctjmXjD6ytfFw9NPuwprFIBXTfhQUWWNVr/w0zTIlgKXUVAo74+1XNtOufN+1npVjoD/DykNh2Z7UFb/St4vJD+ld/qb0n5U32090BVg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]304692281673]]_Wed,-09-Aug-2023-19-42-02-GMT.mhtml

   Hash (SHA256)
   536375fe178ac3d939e247d7f0176948e3c51140a532f0f210f84c83f74d176e

   Signature (PKCS#1v1.5)
XakCR+7EO72+zwMfjiwci2X2UyBUs68H5+hQzzGxJok6/GFTvrLn7fhv2iG3Zm3LsVbg/o2G+inTAkk3FN4lGtkLZjz7cJCmN1Qc7kpsFNP5Sk8JJ0rL4VsExHZpZNPyLa+fXYeAnt9cGkpIiL1itGYLuqMaMpRZeWDY0BiS7t4RDQ7P3LmvV6BI9rETAx+X7ZvYkh5tgF3L5nP34qZ8nb4wzTYPd/jyZIb
+Uildp3YII7LdG+uEOn0BXbLZBxZcf6xK3E9L+xuO16zEU0nE/cmHCD+gKHlV+tt6NrNKUqG6Q9vKxYrhm/GmIXrvIQcpHEaY9HGXFNU7TdqtUi6dsw==
                                                                                 Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 102 of
                                                                                                                       136


                                                                                                                                                                                                          Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
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   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 09 Aug 2023 19:46:04 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   193.27.12.196

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   PtWj8KGOskn1FBEAzodFqsnCKYitrekU0K6o8tA00edgTLqcNLG6XZBH0uBcXIlD7cPRbdNNMBhLhY/x/bl7laPsAaXcsLCDyJBGtjpmoIfWC47W82PNp8VgxMyWZeCoSEGYsGXoiN1lCa84D+OgRYwid6ENyJkj5k
   +cRRBnMN5ycCtOpDBpx4HJxs8FvQqnEwQ3lnXmcMzHZupUBhRTzD4oci94x7hIZdJhtbkp7NkHk4N5Et5H8bQsVtPKMtiqpn/iUETMSaDDPQQFR/ADzfCXx5VhCa7fpziiI+OhYHSVEfnS5PvZL3s+7LXMhzcCfFn3a8F36HPSjhgsS3FVAA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-09-Aug-2023-19-46-04-GMT.mhtml

   Hash (SHA256)
   644c95f9ffdc725cbd27172b564d61a1a5b9fd8cab57fc54f837587d1b65ca15

   Signature (PKCS#1v1.5)
Ba7x9wn+vGx1J00xw9oLAxO81xo5gNKyd5tVLRWO4EIpcD5bxfhNR69/tVLPus5q5rVg7w0xopovxH0EVZrdFfElS9ZLI2lhMgt55goxkNXpG8vskKmpmsSBgmIc8m3F00pFCyon6FBUVAQdQbYcMaEklvjCjVu5s/szhu25WPac6PjOAgOpQSsFPV6W/oRBTXxHZLvP5ZTZHxhqglbcUCRwPvx/TJ
+0s8/mk449RFY0ZrI5AnEHq++1KOdeqCU+ADhP94UHpScrn4u1DAT80qzdfeKCKBdwLU/3G/sQe1QQYmKW7MPsdvZzUNjhlyMyiCkRrNtZtqXb7ppSzfztEg==
                                                                                 Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 103 of
                                                                                                                       136


                                                                                                                                                                                                       Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com : 2Pack /Set Smiley Face Yellow pink Flag 3x5 Ft, Moderate-Outdoor Both Sides 100D Polyester,Canvas Header and Double Stitched 3' x 5' Happy Face Flags : Patio, Lawn & Garden

   URL
   https://www.amazon.com/dp/B07VGL41PX

   Collection Date
   Fri, 25 Aug 2023 13:01:47 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   bbOIQl4c6pgiQOoVIDLOizvhO7UY1+eH0+h6Xs0+Ba+xtUGZD748S38WDv948f9TjWNX4faspGOiY2xqYNsNTOOpJNjl5yfIhZQ17zlPWHZDxFUz+gwqr5rbaU4KO8qy1ROUgHRsUAp6EHOPChrR7cW74kIxrCKdJDIiKGITwMjIBuEB1bpUCzPpXNNYIyfIOUPX4/RJdy8I+eUyNnbb9UFw69tn//
   +9ywa7VCi94OOM9aJwYZAZMp8yDsbuJPsIinLGHtecwp+m6PlyVxsXD8RXO2Gjl+F6mOljAfMEJ8pGAo1Ewsp6k5EhaNPW8uzXU0HyMpL6fnZFMQj8z3+7jg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B07VGL41PX]]_Fri,-25-Aug-2023-13-01-47-GMT.mhtml

   Hash (SHA256)
   3329b8fe568a81e4b5847dfdfc5f80ef939dcfb984d289b6c1a5384e9b702765

   Signature (PKCS#1v1.5)
wzpHWKV8nYS0y/WIPHrIHtfg3sqk4bDdlB85XvbCMoLHEAolTb4kWlTwlcnSIf6sISM+4RI6rwgOtCkgeASHSGieUR+i11U+wnhDyTwE78eaO5UrRX3yd5D+3KQM/ceAYHO6zGyw3bCXNcQIARp0xRElyFmhEuom4cinWxvoPfPzUkQsAPmJS5C+++5D2EmTDdsleO8ez8xHH3LqZuHy/
qhUJDFTT4nU1QFuvu71BA8tbQiD3UkPc3UrSeNGZbnYdYdRWIvS7O4biQpIqSSoPTnDB4NxqsOPGm6/uZvUn1dQFEyhd3+c9rfXwq4mYmc4sccEBkJxWIE28SaS9t+thw==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 104 of
                                                                                                                        136


                                                                                                                                                                                                Investigator Name: Remmel Jae Inabangan




                                                                               Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 25 Aug 2023 13:04:53 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   qwvIYD5aBt6xwvKYYmnDnGDjHWlAg/ug5DJCZK9pIWqREaM0SLM6UB+gVoyWiai3zaBJ1j3ddAY6SpQ28WmFM74meK32ndWYH4SQayqugFYg05IzYCc9awj3ZVtxmYYMxQsJhHB/kn1bBPfiANEsgxzqAy5L1M/nSen88qWfqds3QyxQq7i+OomQrzMvGjmn/
   TuxHyFvrLeYtak2HfBeYM2lMg48Cnv8UrU4jKBzYdHJM0JPwsI2gQNnv+DakoX3nkACUYXcofTS9wIozP333YBghF2KaaXD7xqnj7b6yGFKnLPx5LHKqAkcgybAgGgBEoOxc5mapbHjh//DDnLS9A==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-25-Aug-2023-13-04-53-GMT.mhtml

   Hash (SHA256)
   0157de7b7f7dca81444886b698b36a3bdd458620a42fb985549afca6d042a678

   Signature (PKCS#1v1.5)
mnRrD2/Xt0GJBFfyPV5N4Ec9tx4y2tHeW7l8QLfJu0ZjvCmAgML8mhjMVY5xJtMIA9AralQwZ7s1mXfLzRB1guhn2IeOo/vaLV1ov0IAytGb1e+MmvB07SvlbMTvS9EIATtbUEdDa7QYlMuNfcTRx4O3QBNdnvgrxg7dG7++w/
ErTclQYnPxcKFHvcXxwPcnQbPFs3AgH4vEF2ZaXGqcITlqmT7wWeVclgPoNZcWNcAK7HHG3NVMJb0LasnhbFz1j5bh1kJkUEZ5eXuffM2Sq7OydLfVP4FKum1LyTQ6ScouRwUmZTv6hI5xTzstwhMshHfBTmEM58Tiyvpb/6cx3Q==
                                                                               Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 105 of
                                                                                                                     136


                                                                                                                                                                                                  Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   DAISY SMILEY FACE BEER DRINK BOTTLE CAP OPENER CHROME KEYRING | eBay

   URL
   https://www.ebay.com/itm/232437932810

   Collection Date
   Wed, 09 Aug 2023 20:58:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   193.27.12.196

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   B6NvNShynLYHEnI7TeZydD8gsVQNgHQ8S6u08464tjFW600wxBJpeEc6mfZxPkeyAUUvZ7ml71K/X1uO3gxVEpPBucAfZw/E7BcQ9pp+tKnSURxDTBvwu8O8Xd61kdX2aq/1xTynHEGrTCyCwrbsvQ1dmIogKhAreUcOZCYJZeL92tU+oQAXsNw9/
   P7ZGTl4CAFCI0DSJtesfm0qoiA3oTjLD9nv97+W7siuaHB5G++MlS6sVUB/6b7ySxB5oByfZ5qf4c2lHDf4DS+c+J/tJ4kA/x7B4rCfc4EJkoNTFbzp6uxe2hPTGoFFGmSc6hFumReK5TG9+mfWJwpCPwskGA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]232437932810]]_Wed,-09-Aug-2023-20-58-14-GMT.mhtml

   Hash (SHA256)
   59c66e2cbff756fac77d268f5a5e436fd057d8674b1a9cc857d04b82c96085e1

   Signature (PKCS#1v1.5)
X3m1uU22AgzlzeTrylW4y2dHJVhoWDIrLlBg6qPpWkw1fU2RZodlD7sVPdCsS+MEftr5ktGm+H7cMETfl04tDhUtoObyluTik8ztgsAcItD1/28J0JmylLM422klJO6+4oSbjTYMBCnLRTGtQz/z7HnVSz8Hj0PRs3eUmAT4K9LcuR+OeEU6YWXCe+ApO+/
vsowWA5iT8i9dxRUTqxDPnWX0zc05U8nahB79fEAv0eLrQ1DQGx9e48zyRxv7mEemXNaZ5eIzKn6p3Y0OPIMU40WTRVwjem1Yp6k3KcTLyRtJ5dOCPMMSDfe9YyG+Fh3TBGi8/SydrRSDYezO02MEDA==
                                                                                 Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 106 of
                                                                                                                       136


                                                                                                                                                                                                          Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 09 Aug 2023 20:59:37 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   193.27.12.196

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   WP9PNYGf05Hk2T5csLD4wR1CA4irjhp9iD2sL+3Q4hoAIR/qiOWJ5RgPlnVHKPBsiMFYZGzsEVvCBjZdO5lvx7Ijxg2HY4Lu9m5MhoghjFuJbTA+AO6aSlBkM5WUtqpdgtWCdDrW6tQcEsSVt47nQWzb22HCWEJNiffg9jzUraKYVu7jBbTQK+HKcKbEYV54vuy5C7OnnWDIKMLj/
   Q5HHic61bmL0nyXedIvVG+98QhVxpfFKj1vOwKmWlOazwlNfU6MbrmCn0G5V2BYDuFsuXxmqMBIXx0P6Av6qYUvx/AsDxi+ojw2Od3lGTaO0R97qMT7UDy810Bc5pjNV5J9BA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-09-Aug-2023-20-59-37-GMT.mhtml

   Hash (SHA256)
   dd25ea9613531dd14dabad1b76eef32d4f7ad268f12d66ee29444713898a9031

   Signature (PKCS#1v1.5)
I2lKm8eeSfMT+Z4ba1CyZt69lwbbiA51GmkX+2irN2hIpS/ixnxvjRlyBIp9N4Bdj/Avzy+FbxB+UBdPTITbvd5lLEpiVsKp3n1Q3jl8F3lcAPJDZlMjq1W1GhUeoHEw8Joq20vLlr0BFmoQzUQ9saxdFMnP+p5I0ANB0SZPSlLR47YwJ/
bqh6twbeC5dsKqeSlkXC4AJQy6Fq1i2HeMGoQIaC4fg5MBg9qF4p49ZGmhNMwJbBLHP6zeAOOvnUsbs/H829yJXMvKjMtuSyOtJhHdinKe1WVIzGzE6fqvAT2qSTrHSMBgGboYfMN7Qhy2cSRZRGwBQ/FAfST/srS82w==
                                                                                 Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 107 of
                                                                                                                       136


                                                                                                                                                                                                     Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: RONG YAN SHENG SHI 6pcs Cute smiley pendant necklace for girls preppy jewelry necklace set for ladies (6) : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/dp/B0CBPBRVZK

   Collection Date
   Tue, 08 Aug 2023 08:59:02 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   MyuC/qTSbJVR37vHflmBM1QKQ9Q2hmUaLXmgvfjLlVCmbrivEG798tU4sF8F7sEw4/rSjrGeK3nCggo5LYeqM8x6H5L3gvNGw+N16fFB0lTXJgi9AYoN0a9dePi7iUnzUWL+CppC7Nw3XmYQtpysiROAbn54hrxG93dDA7habUqEnGvX89RG+eofgtibZL7U7OYhK/
   ykw68g2dvfdCVxKSZl5CIK8Kc1zVDuvIpHeqhZvx/85EZ2RsX1iPHhNJ51pJSaYK8T3oiLIoVoEopSUJN2oNFd/oAXbOzG+jNVXWfuS9wfJ4sUBaQ+Vuj3G006iCoMZxWWlfznegICgJJrzw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0CBPBRVZK]]_Tue,-08-Aug-2023-08-59-02-GMT.mhtml

   Hash (SHA256)
   ff942dbcee928807dcb8c22e3d74e844ac516b2ce50be713e24e2468bce41644

   Signature (PKCS#1v1.5)
OEnynUzanwQycQQh6lp4zV75ZHFe3ZeL6Tw3XkppvZluNKTDHSwd0B9cbwbTW3DwrNsP3qSQyK73DEoQGqvhy2PZPZUIV1G6ulcn7rjtqAgHNWcoVmImcvNdsvizNgPXTnP0fSVnxyCA7fVlP9lG7frpzMtmrs2z2wlMcdTIZSaW65NXYm4cuoWpkxEKJQpYeQ7QKKxgEDA6Id7c4VXGzkmzQ8Krt
VVzQgSVlZo8A68rSBJ+jZcwS36R+MjsyE1cnr5nl+mN1BX1J0ypf3UFTYeiKBOgIMw0NPzze07ueTpkcQx5X9SEQeRQFHZaRXEJsPXVlt8RoMGobIjYafQ3DA==
                                                                                 Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 108 of
                                                                                                                       136


                                                                                                                                                                                                        Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 08 Aug 2023 09:00:55 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Za3QWhuqztVYU9aZwLXiaJklEZTpU1kwDTbZG2KgKdjDqFwaU+gyPJ7BbnkdX6u8CpG3pzh1RTCeqxqsz4c+UhKdvNCd5A2muyJVVpSlgC0fvBawN3ud4XNI79FXiS9BcBHjtmaKmaZQ05RIFbZkVhh8bYnj+xgcXAPklMqppKY+j/9hp8pLYO5a6RlP6pyGq/
   BcrCq0Tzs8qhTGzhNmw7UEO26Y53Uds0zBYUWK4CS4Zrmgz3Y4TxosRB9LeJFy/qTTr4++sJJ5XDrkpNRZv5T25YWFaJPWbokYL4i5jFdX718s3vCc68O7qQ9H2pvOhks2m0yMZJnWh+aQVA5LQw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-08-Aug-2023-09-00-55-GMT.mhtml

   Hash (SHA256)
   2a82c37b23674ec9775eb8962118c06d00207b77e18dc7a087b4a5a1ada4d8db

   Signature (PKCS#1v1.5)
Ra51yT+aQf864OzSBI+mADputfCeV1CurT3e60w4wnt0EKe6BfPuUhHq9VdZFTV2g5+/9qs0yye8u444uLUAFho5ArK6sj4Ba2R7v8D0mqPVQvWOI/QE7XwgkYsy32P0RJhZeTlBZ6yf2zkqHxxFDLVDB7AjAwAXOKLLA6XjqXmKLEoEI8e/kp1YmCJ13m
+O80AqzVOsPGhJxX29WkvD3QCcDkCPP6c3Q8C0JcoGnjjKa27ZTn+mspBD2IhLpUcbjkevH43IQO/xvwZNY6VrzH/HdHot9cr9SMLj1g5Z4bFoExTVM32fgRDODiBKI5bU1K6IdtnTxw2mAbPJlEq2iQ==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 109 of
                                                                                                                      136


                                                                                                                                                                                                                                     Investigator Name: Remmel Jae Inabangan




                                                                            Evidence Collection Report
   Page Title
   Amazon.com: 10Pcs Sun Foil Balloons Smiley White Cloud Mylar Balloons Smiley-face Sun 1st Birthday Number Foil Balloon for Birthday Wedding Baby Shower Christmas Holiday Summer Party Decoration Supplies Favor : Toys & Games

   URL
   https://www.amazon.com/dp/B0CBBJQH6C

   Collection Date
   Tue, 15 Aug 2023 08:34:19 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   j42Lv1+iPcsQUV+q5BJjWpLsc5SOhHAcbwDVso5juDfXLyesi7fClLVEDxQG6qr2gw0BQ7p5cBH7d3jLnFcfZsQvc1LgjxIIzTMTAMI6HXJzDq2hI75/1GSDyGpbJtNRbtkqkoSso11ipAs1B9ncLIhFa1wmX342tZyNjUvhRmsVyZDOPJuiDlgnI/H2VZ3PDWorwruFOsv1dkPrQRMa8K/iIuc0LO5ibyMj
   +asCRQdDjCBspU1dq4nhlshIXsIJ5uitmn14BtupMc4pwRI2dh8FMR/svvGM3ESjJEubveynE109gqrqjAE8RLeTf4No39eHdF8o7qYqM6vxkynJYg==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0CBBJQH6C]]_Tue,-15-Aug-2023-08-34-19-GMT.mhtml

   Hash (SHA256)
   2f140b4f3aab42908c718347f4df319926113d9cd6b89861be5f7b1c696e9f0a

   Signature (PKCS#1v1.5)
Xr9TFKnDG1/cAvRq4FFTTwHBOX0ucvHbqofYvvQBCivjaqIhJeDw6ejI2TnGjqQGr+gMVyQ4NbVR0lafxuCRQeoRitcfnZy5LJBp7d3Pdm5+s9MXbvxQl1lYU4InM1Qhi3zocsfaVQpNTZ7NXYmjdC/zlouVVnJB9o6jc
+zGJx2C8RUVUNXVzQMkXAQ0UFHmtPWg5oDmWTeoWWaZdj5N1d7PRUSBIkuarwZFSy14/v4G5lUe/kQnWADJM75EoDRP7HD9gMYoQJc71nPUvAvFVkJ5+QLk6NhIWKGJgg96AxE6GGD8YVt5rKipW1knRKuCz0uOiBBiKjqFCKJEfEwRVA==
                                                                                 Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 110 of
                                                                                                                       136


                                                                                                                                                                                                        Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 15 Aug 2023 08:36:53 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   f6lMvtC2zGgV6Id5ZeaJaEwlyhKBDyuX8+OXy6hjIGbAdgYNd4SZmssSTnhXSM4ZZ/bw5bFd3J9BmuxrlLPH1NTDPxy63HbWeSHJEJyO8M5wKLyOTo0B+SPoidrNurmxUh/4yAkFnK0BG9X+o8eUOgIONwIfICk3ylx385umWVsFgM5eCmPMi8syt3/
   glXLoJRM09BCowZHpeH72aJWX2gwGGHjZgYz75jy1ni7ya/OomWDiqlHB9qIDGeMOuktWITwte6SeVjr2fm9pAKaiUusTHEcNoZfmUsvQv/ztE41oDgvSrrI1huSuruQ1mXT5BojwaHlpSzmd3OTFtaq9pA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-15-Aug-2023-08-36-53-GMT.mhtml

   Hash (SHA256)
   45d811ed7dba6e5b22c1935e430ef67222530dcf333a5c4c6a7e7cc3e648b174

   Signature (PKCS#1v1.5)
AJD1lBShgdq/x8yNY+gX61MWwbofsuvwyGkbzjkY3jZpp1XaLKTVkw3yEJMUPO6QXZd6kQ1+hWq9LIjFyIJqueR+ffMA7S95r3dbt4Y2X8xr5ml3xiELdnkaLVYOGQ4zEwHVKYMTuIf5mLO9fy0gG8Og2vtI9XCOtWuWtTBLp3Qb+liaaUo+/GFkCFtEGR+ljAb8FVhANiyd6vKO8O0SFD9fb/
l2C6p7DEQ/FEugWrM5987lmOGCQQ15QVQ+cCWX94X4zivM+Jmtbpcu4my5jo9EfsJuFIH5lbfVRpf7rAI5+7bsMN9bQHiJ12uzdKVSjg3z3vaJRaJ4xz0YvBHaFw==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 111 of
                                                                                                                      136


                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Personalised Smiley Face Baby Grows Bodysuits | eBay

   URL
   https://www.ebay.com/itm/145015288717

   Collection Date
   Tue, 29 Aug 2023 06:28:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   di3NwfsDfo+uzJI+eJtiXS2FbbhBQg2COUeA6uqXjrJVvBllwEUe0iwF0mRuQCl1hZ1Er6i4Ys29w5R9L93q9gCnFcW5rlbJuGoPUfqcvB2eKaKFDW1OPJxdU4MLZiR14kvYOiaM3tejagIFHPSJcPzuqTtS6ob91g+J/t5vzJg=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]145015288717]]_Tue,-29-Aug-2023-06-28-27-GMT.pdf

   Hash (SHA256)
   67fb48c4c8839ce9c062d3bc533767ab6e253c8c46bb198238fcc74d4f78e24a

   Signature (PKCS#1v1.5)
UR+fG29BoTg3ZBbDPIXboQfmhyOVXfFOKRKqaCAfBs06WVBAkT02+DhFTOWKx8PerLyv2GzAD9nPUqIltqzK/h2HdT+SvDo1OjjBf5SeODlvonYrEqDwUitTXxd0hp1Kq4x4rrUVcHkEVfHwvBZM+c6rbaLoUh6wPWLieMP8aG0=
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 112 of
                                                                                                                        136


                                                                                                                                                                                                           Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 29 Aug 2023 09:33:29 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   112.206.74.192

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   NrmiKTjgNeGK5I5VcGFjnMr2MIqeFxObVrEFaSRdumsntoBjuYWwQI484tQYnntdEn/kpwOEps5AUaN8ZCNzDnOTKNlOmuHvIoSbSBOaPca1rEowda2xxRqty7KlllJRDAAvZFXuoDC6xDe1qGdJSPF64D8L9LRjU/HemRV9TjA1E83fKDoIsVHmLlO64WM1Yt1JaWPpzFJZbCWn
   +NdJZgCX5g7oQa6I7O9+M4R3aDhHx10yNV8QoJinDkR5Z2P44+vt5puRABgwLnyHEQvIzaTQeMG+I7Q1ihaHl4zD2hF5/PtXZWf6gcVfrwn7sNKkClxe56VfKZCM5Bcdv/oa7g==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-29-Aug-2023-09-33-29-GMT.mhtml

   Hash (SHA256)
   036198389949a3dea445c834769a1e069cf07f6c642a89157a405550c5da7b9c

   Signature (PKCS#1v1.5)
RdwpjNq82AMRB1m8YEeHVLQBe9jOE0a73FvpIz0UjHNfDGT/yuiiGTwkJTOorrSmRK9cRhUeAqLNw26O7n9Qg2S37hsAiFQ2Lx8e/DLUde+SvfsCv6BPJUQax73ty+3N4koMNhn7enMClPGGcbj2gZQYxKYV/cXu+ZWuaWnJjkOpyADehj0uiu26CBHhDDlldooY0kF+ZirQZTKxt5oCSx2/NWo/
RbLqMgobUyo/8nBwQVRPFjLCuG43543uLSexcms8Q42OBYo7XaDDtqrD20fyZ0Z5PxylHPJSlh6YMpGNzOnGNTTcNnHAe+FIxp+gnBjbJx9/Qeo46O6I6ivpNQ==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 113 of
                                                                                                                      136


                                                                                                                                                                                                                        Investigator Name: Remmel Jae Inabangan




                                                                             Evidence Collection Report
   Page Title
   Amazon.com : RUITASA 9 Pieces Assorted Color Shiny Smile Face Embroidery Patches DIY Embroidery Iron On,Shiny Spark Smiley Patch for Clothes Dress Hat Backpacks Curtain Sewing Decorating : Arts, Crafts & Sewing

   URL
   https://www.amazon.com/dp/B09646QD5W

   Collection Date
   Tue, 08 Aug 2023 17:19:39 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   sXQ4UVdgk+BZdgFRdYsK2e6uRp16Xq9AzmUH7JCYMm+FKJ0YtcvtSQ524Rajqhl5RP71ZaH0saISMZxhdk/WGbUOqZsthsWjETwirb/k/lSG9DIwzUTXTSy006DhVOb0x9NatkJZsjuhAl9CGuALDYNtSxBdJLAYFlvYS
   +RoX1rPBnglLhCCSK6APznrIOrB3QId459so5XDCh32ZHlpP7SQuh3RqOM1KvBLirgb9QfaduG7o3JpvF+jkqcOYiUrriumeguxG6gAORsgVN85PrnrO8u4/5TcoURZmf0+cn9qX9kbNQ4bKyrfx0S7mvW5lAnZHqKPCKZ8i6G8NJY+rA==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B09646QD5W]]_Tue,-08-Aug-2023-17-19-39-GMT.mhtml

   Hash (SHA256)
   a5d582c70b90294b115459c7c95ec5ecfc7afb22159d8b27932e61c3a2cf4bee

   Signature (PKCS#1v1.5)
YjgW7AaF4WqT5U2comtrVakrTFya57k77fXBVmJSLTlFboqorB+Ogf3pE+Fw0DdmaZonaGnqUDyam6OCSR9ut58KoCExucx8CCT+oTmlgdWQdJAou2HYBVxOs77OhqAmxt9a51bJIa+fcsah/w407FKdw7GwYiaA3qwLUlMVnYhEXS0DEEw7A1oGKvEA2MzfHOsU2X2/6wEzRrdv1M6jxK/
C8aVHuPY1DjtlORkN0iQvXyNdW7626rFpPhCiYn1ndnXFyNERwmqsgzKkQunOFzMvN3/7zfdNh1YZWb+VVOP9nI+saDVcSqfXG3KfOA4qZ8qKT1T4CYtDojBftrexvg==
                                                                                 Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 114 of
                                                                                                                       136


                                                                                                                                                                                                            Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 08 Aug 2023 17:21:52 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   HJVyFjpmqgyEjIVtuj46IY9GUaMqczUqoQQO5S7scUctw9IQM2iBOzst1BGff5wBtBa3h7ujuE923l4epRo/MiQ+o
   +DAfrAPV347juvTD1jjeve4PHzYXR16zSAN5Du9mpasXYjxe8cjrJ1H4dBPNJmcbdXE46lT8aaYu73Dv4svHeCZihHuaOozhSLMcSKKPgSCXDZuowyfmtgW0icyU3FW4Sgn5tdnlq+JXgutculYwcM7fQh/lvkPjzlo1FupBrldFoBgZDaxDjtPIli3hx0YtH5kTJBfzgdSfElbn8M9pHfE
   +cRM61ByS0z2AEoDBda84X75O2J7bXXQsVzMoA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-08-Aug-2023-17-21-52-GMT.mhtml

   Hash (SHA256)
   4f532635886636ef21711843231c66a1956e6daf2b99742910f2e369c4e23415

   Signature (PKCS#1v1.5)
gOrMoygIFofYtOxYVkO0tA5V+JAGqZ7QJuZlGfuRV+ic9EvjXOgn7cTKt7mvNBz0UUs7vSM6yc4V4R73oWeZ4gB1PaSprYi0ygoRe8q22sShk/iJLc6+91FcNm+aUeaj0nn26KG6fS+wIrOrJRPo6jq/
s1pmsJrkvCCdDqHcJMwhOLNgq9DRoOhQ5QpvqiXGTJ4f8D7FIMjU3dhrMOhOVTPk73FzrQ3obq9QTuc5C6nC7gtg8aCjB5s25UdfJCSmEEIsr//kQKNSz647gL8rkGEbOrn8G0EAKLGhBvKydLcVm1yARpjnH0ODWe/Zd5nuXJSWD8HwOZIMyPjOI/bvCA==
                                                                                        Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 115 of
                                                                                                                              136


                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                                   Evidence Collection Report
   Page Title
   Baby Blue Melted Smiley Face Poster, Light Blue Wall Art, Trippy Wall Decor | eBay

   URL
   https://www.ebay.com/itm/364442723481

   Collection Date
   Tue, 29 Aug 2023 06:04:12 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   gCYYHFp7bVmi794G9pLlBotYeryJnDVXz/2ZqUOiHb+1GzJq0UTuFPZobnK22Fm2Q+hUXCV2H2TW2MppN9yUPavAxZbjiIl2VgNcUyJUkdp7WVU9YaFyUHCScp9QipCcKvrs5c1FeQJoktkeBcQn/EX26GeBflgQgJ4L+bmz8tw=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]364442723481]]_Tue,-29-Aug-2023-06-04-12-GMT.pdf

   Hash (SHA256)
   e15406eb3905ce00a346fb74221c5529714aa64edf09cee77ce3d84f526b2985

   Signature (PKCS#1v1.5)
VDlOw2s5/KzNLahhb9C/hQEfOt4Ui+dHbgKzQHbxxPT/9tSH7vWhJGQGe/OPUrUBxU31Yh/tz8RGtf65qaOnROsRAFlbca0ysdBgT8cYMQkRh3AnP8yFvNSY2hsmHJj1bPjWCZhREVD84P9GLOdqjM/YZwkYnMiL5Kf0upb1gQc=
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 116 of
                                                                                                                        136


                                                                                                                                                                                                               Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 29 Aug 2023 08:13:59 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   112.206.74.192

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Ib/clCvOmMKpr5m8INK9a74PHHOwIygtrlMNz0z+Bp0cprLs6ijEvUrdkgkZtgmalgzDs+joHsArcf6F6KekAQNRvtFZYY9Ah0sx9ULgvUsazW9Vl0+mc6CajRsyELiU+7Va1NBuGNmt5J1O3LGIGQLuRwYNbWixjuvnlYbLesHj/bLh9Xtw02uEQN+sKBoYTeLlFw47hESdtdg5FJaMh0Hb6/VHt0Ghr/
   fXdzHyXaZg4Y2YVP6bauJSwKOi7bARq3RBg1p2eEwZwQ4MT+vLRH36/clVnHn6YOy3LqdGXPD+I8K8Weeui5rbEzx90iknhX5H1LKk5IJY56KYpKV4vg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-29-Aug-2023-08-13-59-GMT.mhtml

   Hash (SHA256)
   cfc2dbdfb01cd967294aa16aeda91e63d633b6dd532ad6931a8e41c02568e91f

   Signature (PKCS#1v1.5)
dpJtk4icQc4pcDMe+UExnkImmuo4p6PgaJXbJ3Rj6vhOwqWiriJx4XtRc2kwhvj8n80z7Kn/UK6lqQpU+i0qziYYrqVUKajp4xqV7iMlu7TwoqP0iZUBm/
eAmt3T5NJ42Pm3FQSni0SjfHA7je7PRkz9a8u28YrTxA9P5Q5gNb9ueGDQlMs3nuCy7QM4BeIRs7e9YP7SWUXkcwZXH6kzpAJExG7nIk8CHkNSa2/okJmVljPEa87W968LbbmubskWT0wV15LK1TK2vnWAYY4kPwVP0sKQIpkxuF+95lH3uD1gA8K1bNnocFMaQo94cx5lAdFFH9ClJO
+k8oTSCe8nhA==
                                                                                      Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 117 of
                                                                                                                            136


                                                                                                                                                                                                       Investigator Name: Remmel Jae Inabangan




                                                                                   Evidence Collection Report
   Page Title
   15/50PCS scary ghost face smiley face cool graffiti stickers vinyl waterproof for laptops, skateboards, water bottles, guitars | Wish

   URL
   https://www.wish.com/c/64a8cb579775d38bd8d7f83b

   Collection Date
   Fri, 25 Aug 2023 07:45:10 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   pUfZ6MAiPSigFLwKntOd+9gVP+iT7ze3usr1X85sbobpW9Gttr0XlbwatYK3QZbyGs/Oz9MlQYFLrjitG6JtzrjXNFoIQTEE0HVXGzAhO8kMPbPh8FJlMJWj5SPMsclSM/dMwIqJIxEHmMP25RcIMN+rHQR34SVChJwNqFHHt0R/tRpihOcbqSAAxLVK56yKi
   +IPQSOSJ21W39QWw0cwNqQ0Cdhy1Amy9QiRYdC2Nx0DfQxENGDEmhBJH6x6n3vExLPSAIe9iKvhJCHjPef4GU6CtysAPLDvOSs9doX0tPK+LjGtqTAglG7klm6RXMcx21dETR7BeTHDy5AGmLsMPw==




                                                                                                              File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]c[fs]64a8cb579775d38bd8d7f83b]]_Fri,-25-Aug-2023-07-45-10-GMT.mhtml

   Hash (SHA256)
   51c89bbb0aed28031ef8236bc2cf261d061913934eb11a4481aa89e9618d2ebb

   Signature (PKCS#1v1.5)
OrGJVDV/GL/uDWoMfIGcFP1Wu6ImmpV+P0knt+c4w7kwwtngVarwTL1T0kgwPeYsk6EKGeGsvey2c9W8gZhJkGo4W6oCLQkE1LaUSJCetChxxnmBlEKonQzYx9Ct/sP3QuZd7Nuf+MtfdZBvfjC3TKnz5PUi5t2ZhFEmT5RZKqNtO7btC9z+Pef+fsolAyFWxEGIupOLa
+BVZe1RxsSNBj0SZfKCMZTSpknZkUTp95PXkKxwDyggAg77wCbRv+hifFYjyjNvPO4S0RLu76DiVG15/k0MU7R2Ad3s+TBllpcvikFJAxbLiK9TNr2sQJyif9ceN3onjV5fSyIiDjgxag==
                                                                                 Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 118 of
                                                                                                                       136


                                                                                                                                                                                               Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Cart | Wish

   URL
   https://www.wish.com/cart

   Collection Date
   Fri, 25 Aug 2023 07:46:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   MxQCe54jwKS7E70ck1wowxxVFX5H0WcuCl+FIWfMnUuqaGr+e4sXhE4AvSJnamO8JsL5D2KPvZyFZEXwaIcdADm5sxRQCpFBKIWGVOi6LYnM9TYZeLfyLhBpW17pUGOHp2gdhNEVasBCt3V6MbwSDX0qdDE773PcUkNq1SJQor3r+7suVuB/kk40MI4F/
   iOF6v634HFgRu7USpXFeFlYJckzfvcLPY/QZ71XmTuWFFajpvTVKJ9dSzveT37/Fr1RtJWgKGRqRv7QhpWL8oPe7Zs+sJXDbR6uzPlYDUymugKFAx22k056OvaihqfN6gdoe/KjdLCUidDi6k3DXPN9UA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]cart]]_Fri,-25-Aug-2023-07-46-14-GMT.mhtml

   Hash (SHA256)
   430f8f96be92fdaaa13053b01263234bc22ad8e96addbff52a6be3350b3cde48

   Signature (PKCS#1v1.5)
gdB/eCNtF7Waq9xkilR+E2nLvFWDLxlAZmvI3DyU9QyJrEO0iC9qwzQFd60B5vry3mik94UTqIsCf7VOlFP8a/nJuekW70UAkDIGgL0GkXHCgZUVpPtOFuosAAKYhsHqMrbWD4UVGyOZBKtCF/3qxSmQQCeR6egjRd/vuarKyJpaIWDHtZrhV3J2lBq
+nXxzTR1/7omj2lZn7rzbCrHAej0BJC9kG3Pa6JKocegQ7yAtijA/rZeMGzyxo6VjXIHfrNthXlNHsKOtWytnZyrkd4ad9YW+HbYPRz7JcWW0FyEAlfeTtK5R3WlFHTDdEiFgEEw6BfBAm3BCzP3KJhw/wg==
   2a0d:5600:6:79::5

   Browser Information                                                     Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 119 of
                                                                                                                 136
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   JTVE3yAsqxlHppjoEf3L8CFVjOGMuXv2ozvtDIyBdcntvEyzugKirJeUD+0/LlkNWvptVacRSKcZinnKI1GpKv2osfEgUPtl/7Lj90sHVQvkORBJKgPOc6VDqmJGOUw3WoUaA5iwOrKGWH+Kp67k+6s/3RtxjAE851hjmNLcvHLiEUCgWZxyfgC2okommfjjci4K0KBSwDjzZqyZ0l6Ii7RCdkIoYeR
   +WbAX4tmSrLEw7aTUYeXT6kN6E91oc9+mDXnmkQJxrnlsBNdoVy+79uXMTytXGVuvdPicZIvRt0gztYbu13Ai73OdmjokFFEKOl+44JIOP9bcTVDtIg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]165093189220]]_Tue,-08-Aug-2023-00-33-28-GMT.mhtml

   Hash (SHA256)
   ae7c5f9b758c3bcc7ce30a2508b98f91b162d5265daa58babc024776680be093

   Signature (PKCS#1v1.5)
P33EiVu/AkZig4/jRyfA3OnXammHE+K6k/KBexKFyWj2dUQ59ohREbkwU1YIobD9RuRH1eSKK5mzI1LODOAoaQniwXRNW1EIEX5tYhi2/+/bEQPpiRysR0VXayd1vvM4Wh/rOzjB1DineHqIR7UAvKFZfG+aq8iu4mwuU6nhKldsoLdRSywZFnvP07vnNF4V0/
yuS9cSdfSSoWcozoMKrmZQ6VafWiIUkZ0Vka/FRMFAJ6+wqQFv105jnYTI60vqgnxOLIjuipp79UY8NFzTmo+BbMdJmZAX9vcUUFHA/u8L7uzZ80oNS3nIOoJDpGsgDLUFP2Tl6XjfJSDYh/qpXA==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 120 of
                                                                                                                        136


                                                                                                                                                                                                 Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 08 Aug 2023 00:34:55 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   D9kQr5Q0gNq4ELiQU8lfhZ1Ur+srMs+jVx+HSw/5eMu5a6J5ur9L3ZGWEAlDmEc/DMSEcJ3uy3IHHVYy+qoX8nmfyMst+xIUdF2TwwkHC/qxDs53Aeus8spQaESh5Fwtse0SBtwBSZ9vgQpGgVryfPA/UNeMM5wPKuD5v1sa/ylxn9Y6SZj9FA6dcz/
   W29z97+ujHqBiH6jyaCkIXlqMEgY4XyMw6lGXDiFL/pdJ6XlawxI/nE8iI7lJKVjymrQtHWqQEEAXGvWk/VM516EPhDMUVuX8sbKzsAD6miMf5ow1/uY6pAziVOEMD/NfkeTT0dCYPWV/yGKKi+0ufUwAtg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-08-Aug-2023-00-34-55-GMT.mhtml

   Hash (SHA256)
   acb02b1ce0129a1128a71614b1c6e63cf854a4a7a8c4b9c5ca538719ec116bf6

   Signature (PKCS#1v1.5)
gwHvPsEcChyPmDQwzg/3whSGL55LHJymPS8mqaurvWg8IOMPZ2s4RfvM3qHCCiEi5ie8nJk4jqgnKzu90plDypjEGQP+botOFqpLe4VXKJX5pq87dr3nuF499dXlR9VczdNey/QFYs9gfH/R7ZzThIOp/17DgavdZn9r7XVM/rVVoskqDz8DDBrJ2az
+E6UcZOILlIT7+N7qMd6qqV96gBuUE5xoP2huhSqAbOFtFtVfoTK5E0V1tInZCleOoaNyqfn0F4bciL9DBLq2/T5dhUtvPtX41sH3lNNZxppzRjRbDO5YWdmS1ayZ5kD8/KVWHwQF1IDAaovroLKtb2hGsA==
                                                                                 Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 121 of
                                                                                                                       136


                                                                                                                                                                                                            Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 09 Aug 2023 10:43:49 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:491d:2d00:69bf:7906:a752:afb0

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   f4dlLkWoEB/w99yaudRP1MBlaV+6saZWPnD1FN2v7Fc+18g6DgpU5OW7XlnNr96L4AFyawU4kASMwRLk+X8p04paR/rrWauZiBW9fvC8ZdGThq6o6Aiz8HlBRrXrVdSnsxGeW4thnajodUc/qHQB1VfTYbf5sNO6SlCWWZ7HYhoxdj4PLIYI77rHIqwGo97kxhYnCtL/RAyry/
   lRuSMIv2PzHCyxKTFwD+HNbH83WDQW8CTI+aNmBipgDWrhXOtsd66rGkIXmEVScDjA/p6xYSPkEumaB4ncT/OvdZWOj5Wbmon9B/pzZ8rWIAfV+6iy27UXlByjqUF5naP+RbRiRg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-09-Aug-2023-10-43-49-GMT.mhtml

   Hash (SHA256)
   233c26238392aec16c3eff05d2fe8507fcb72a7be34f34bd160f75b05e58c823

   Signature (PKCS#1v1.5)
aeBxWlgMOik7hU/Z5yHyHW1GxmC9cDJygswjlCEX3bPnV9TSwRleZP/R923eTM+Tu2wCwNEHa7JN/Y4zS0gWfn38G4vvtWrW69BTNhi9qiwkOyInJzdKqToG0VGRqAnqAI86X13c1GI1jyfoeBVq9FRVZ/dBmMwObFl2oeuv461rn
+b9WewzUQ1GXddXahOIJdFEqpDvAM4LqPU0b9gjfgMPVefcNQsR4ZsZARfa4iND6kE+ts7TnYwcL1Ry1PiYOi1R+VXDHpRoqxwjUEV/frea5sDYuqSyBUsUQHozS+9qU/XUTqoSYBj5fVhvvKJeqbuT7baf1eJa68jiki71gQ==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 122 of
                                                                                                                      136


                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Stainless Steel Fashion Smiley Face Nurse's Pocket Watch Fob Gift | eBay

   URL
   https://www.ebay.com/itm/255470047494

   Collection Date
   Wed, 02 Aug 2023 06:37:03 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   nwg2y7XiIy8mNtatwzsGhPkec2wLptjT1kVj4xW7qkK9k0ueEuw5V6P85by6x2D3AN+Tn6DLiGq8PBqk8JxyGUYkdoNaI25PKptIaHR692yBdwoToSiZVrdUbJJKbx4LVoVfvZbs7tYdWil1Ylvh0boBmKkvbNbKIvcrLWx8MD0=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]255470047494]]_Wed,-02-Aug-2023-06-37-03-GMT.pdf

   Hash (SHA256)
   c0587dc4fb1e02db968c090fb61ae018bf46863ccbd9b0d76f9269d0f51d5c6a

   Signature (PKCS#1v1.5)
nEJZSIGxCgbim/oUhZiJbk/t6i5c7BC/+ZEzK+pN/a4RLAe4vhTo8hcPsSKxo5rv2jGf8tEgyhjG56YaTlmWB7EkUvz0ZTXKBIwB1ZRBEH1piezpva1EmFiSETZ+rw6tucSPQ0ijrbqm4+OCw4ja1DfltJEBHumnt+Gh8cLDlpU=
                                                                                 Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 123 of
                                                                                                                       136


                                                                                                                                                                                                       Investigator Name: Michaela Borja




                                                                             Evidence Collection Report
   Page Title
   Smiley World Daisy Smiley Bathroom Rug Sets Anti Slip 2 Piece Bath Mats + U Shape Contour Rug | Wish

   URL
   https://www.wish.com/c/6016a408e24d9495a1e01e25

   Collection Date
   Sat, 12 Aug 2023 12:53:40 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4983:8100:5986:86e7:734b:2fc3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Ckqx7NygXlYHh/QCrcMFG1V81CX+G/NJmdorKCdPOSwQOZa8OvZgJaIMcob167Q0yFBjjKzYmgkkaKvPmJjUxvWkpsPi2niRxG49FAtovntNY6y5TZgkAmCcjhubKbj
   +lbRFrDOxQUZycDy9DNUWAb9u9mJEiqLSLJC5BsxWUNT/1r1gx057cpyUmwR8S9QW8fOk0QNgrcfLGT9yAhcSrKFfHXcPtD2BsUARaN8v+nJRvpDM737iwWjI+UCCxxqR8MXUc/4lbN0rt/KELHDM6CmEj+VZZBwYoVLYUYsI/GBW5LpTN0LBSQONHCqW
   +qOoLTmd1v1xHe22ue9jhNoHfw==




                                                                                                          File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]c[fs]6016a408e24d9495a1e01e25]]_Sat,-12-Aug-2023-12-53-40-GMT.mhtml

   Hash (SHA256)
   c1210b8052c911c64a4d98a2bc2c3c17b383d2952cdc594dc63934c5b8301027

   Signature (PKCS#1v1.5)
it9BkHjkxCnsjyU9vPUyKU3yTdm1b6HjgRfoVp2d1HBZMus8cSkQVxYo5uKZZnTkSSrJsXQwP1F24vFMZKI3Dopemg3qyBe3zgDoY60hDJn7DLHxGE/S+Svv45wR70yydSTerUlXEiZy/8aG4TfMW73uPmdl91DFQjJMJuDddYORhHa+3sVAPqEUBwQ9Y4RY3eSrNwp4D4QzpbmNE8Cvi7WwCE7l/
IzjG6tcdo0W+LTKm/fHhBGFt9VHkvYK95Yw0PnDvXM5fnliWB+GM1wIJ5Lxx5sCpNcUngS3vUe69prIwHzvZNMQcdsxbuRp3k3MBnPmPiXVJ9/SO4F31eLU9g==
                                                                                 Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 124 of
                                                                                                                       136


                                                                                                                                                                                                          Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Cart | Wish

   URL
   https://www.wish.com/cart

   Collection Date
   Sat, 12 Aug 2023 12:56:05 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4983:8100:5986:86e7:734b:2fc3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   b2SXwX+D45pvRFQ2c/vpp6FzuOSg1qV1yWTbZRK9+ZaDP6MfzyB19BJ3hxQ53181DkQldaNfokaUzjpgl4xc/NS1Mz3Ar0Z2ZSETcpefcGtAO99AavChe7IVYdupGmDpr0hlKP9O7JPEKsPXQkjyX6lIgUC/x9w3rl7m7mwuESGzSJMWG8k0ax36v62OERZL369Di3v0EEqXhvSGJ+8Yz0nC
   +ZAEDTVHaThIYe9SOv8SYLQeTcPcO+Bpc1CX5qgxEYiS4iGAij3KiUUPhBKrApZSayYuZ/9s3/kS/JCOodsnuvLn9Z49cGTuB6Lsj+mSEpk5admQbrYG0YoxfzMASg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]cart]]_Sat,-12-Aug-2023-12-56-05-GMT.mhtml

   Hash (SHA256)
   4567ff39d6171854ea5a951544bc15fb0b9fe4923a807a3fd481645f4e1560fe

   Signature (PKCS#1v1.5)
oBhgOWFGbFTUIKFFiPmBgptxYxR05zCWhAXlii58n103iekUbZ9I2CXsORXpYlr6lu0xOLwor7YUbjAfoyQtaiTXCHHczmfyXbYLmZ911zDQLPzSGxH9yyBEhXoM1iKsEtHBOmYvtAUvPbSClLHu/nxPQxnoKq3puatIW7ccEt5ufAnJfls/
wOdtHgRR0sRRB7326e4dYeUElJlKJGpGbvf4wSJVhSBpe6pXrSUvP242JfBCgqM4IFduEjlFNa+aNR85JIbxqztqZlY2hvWsRYRjIjWxyRxzUTvsnCOhzHde2Q4Fi+aIwKqXTHiYrIqOlZDGYubNPp9mK9qFPitMag==
                                                                               Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 125 of
                                                                                                                     136


                                                                                                                                                                                                     Investigator Name: Remmel Jae Inabangan




                                                                            Evidence Collection Report
   Page Title
   Amazon.com: SDNCYE Smile Dots Tote Bag for Women,Crossbody shoulder Canvas Travel Tote Bag, Handbag Zipper Nylon smiley Dots Tote Bag : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/dp/B0C1FM63QW

   Collection Date
   Tue, 08 Aug 2023 13:54:44 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   X+v0h1sqSuNkFyCAcG3rF7rOpBz3ddDvJbnyItN8l+SIgPdu3RNMGYIKeEsuMbKe9J70AUENrb9J1/4iA3IvjavJo/O47GRrYvB48o1ecxNjOkw64GOycJIQVmXT7S6JOS9vhcL3e8aIffeSs3PxIQ3B8nvrMcd3RYpdMexpvt5svRxsaOSDoL4dbb
   +n1clRFYdYzR/7pmhrTRdnKod4JTMNnu4EGDHDvziI0QeLl9u79bO20rGBRAEEh3/rS3BKwPAxgB+3OLWR4jJ0Ij7kyN1UhqoZSPVljqa0phz5hqpqN7aOwvCRjx+SH4ZhAtiE2vtPMgiLUMl4ynLP8RhhBA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0C1FM63QW]]_Tue,-08-Aug-2023-13-54-44-GMT.mhtml

   Hash (SHA256)
   2d0490cb46cd279a5115b339f32a80daad43f93255d27543fc144344d56698b1

   Signature (PKCS#1v1.5)
qHXOjHB6siRZvhcdxLbn4bBG7bkNJA9Osk7xfqr6OEAW/
+QSargVhbrTkPdmq0Suwx0+PAIk3UkjCg8CO2zxWg60f4qh1Bf06MHcapSFensn3ck6i26toMhQ4m4VGEIyMATNymngVYYn5JUvI3O1hXvDdwIicyenhzSGlLpHqxeFLAtFi8YbI9mkG2rOJzlwy47nsU4ZEH70h4eQFvHoF998SjlUWBChZm7EM+y6qimLOz/
wKkP6neyyWUV1uYO5KlpD7eBKwfICbeJQRIzWQvsu1NYBPIP7kA1ORhluCBoYZYqhiAnW7xbAaVeoO5TvhWRD7mbZidVJTbXnVo0tPw==
                                                                                 Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 126 of
                                                                                                                       136


                                                                                                                                                                                                        Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 08 Aug 2023 13:58:47 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   R7ONW7RSaKg2Y0uIdeUnkD1pH6rcHb3mEsG21idTxEQiDJWdq5myIEW4PotUE6EFPOUAlwIRoOGTfK60EuhE1ZDgisU9vFj1pJ/guiHmwLIZtoQoonDsFz6zxbxgGu0eP8GmZsZseZDNIakE4F0+JRdZHmtJlChbTYdkf+VNQopFrHfCmHeYA97Imivu/
   J498S2Y7XbeKgRYmOvGeQHfJFwjPYskvP3ROIy1yipl43migFvyPyK0c/reXv0XMtA+SHoqprppKFWTSh9ChvQa+RfHtb4aNvj8CI4Y1y4VqU6IZb00Ww96yTxh3A0abZ5btwST+2urLTJDPNs3NSBF8Q==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-08-Aug-2023-13-58-47-GMT.mhtml

   Hash (SHA256)
   34a4157c9f425391708b3ec524b79a4993d185c07bae1d35c80eaa83b2967d13

   Signature (PKCS#1v1.5)
yGqVlQ28rDZR99Dxf9184BQbvqKniEdTehpzO0xY6wwfbqDD0SIdhQnN9AlE/OawYTkZyROJ3dJRgHZB6YE2hBazn6xePddGV4mv1fFtG43S0tXKqPAYTT4lX+GORXly/U5xsNv05lbsbybkE6QLF77tOrXe5kS6l0Kwit9aXuNY1S0/JOY1z/QS9IuZpdOOYdFg0CsFizXD7psIzCsRdeKud
+khmJxDOjkfjUvbiZyKV4k/+Dsl0AKR4KbAGiHhHDJdUe0Zt5Vd8aQgPDOTbmuSznav4LROp8DYxT1vxyKeok6itFbJ0fISd3didRO9/leuV3n7t5DDWJt4ztv3Iw==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 127 of
                                                                                                                      136


                                                                                                                                                                                           Investigator Name: Remmel Jae Inabangan




                                                                             Evidence Collection Report
   Page Title
   Fortnite Map Smiley Face Men TS Hip Hop Hoodie Flaming Earth (Size UK L) | eBay

   URL
   https://www.ebay.com/itm/115856187042

   Collection Date
   Wed, 30 Aug 2023 05:54:18 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   CXXFbWPPmxIXjnel0eoYwfcgHMWqIrMaU8os8bss0tRJUQua7L4ff2SdOruriUAhv4fNR/QaHhLL3EEXy2EGHT9mbnumw8P3sSOp1564ushRp6OSOatMD1OJiYf1TcJGIRfwns/CYAAa86bfOgBtVgLiudSymygknHMG8KfgHbDL8YvE4Sf0F
   +KWIurE9NzZ0aBMEU1zgeMKn8t5EUpbFwRhggSRTy7DAStnHVXYqrk4Z1qvIfIgN7rSZjeqKMMtOIcA+3Gcwqob+ZBCZ/A4XzUeyyBuZ8C7KqDmdGEunPExvOg0hbQN9jAWD6092/zPvIwVt1SLAfhI0iBZBjyTLw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]115856187042]]_Wed,-30-Aug-2023-05-54-18-GMT.mhtml

   Hash (SHA256)
   33dd4744a6b02bb6e163c0ae837c9d60bbc2adbacee7df47de69c2f0e0da95f6

   Signature (PKCS#1v1.5)
pZXzHIWyPEBEznhviWx+u45XcenOYLO7RcRCUNI9WpJq8rLXvv208Dpp0qNkeV9u84fSdS0e2e/v/4j1T5bkPEADygus5ZFWWHWHhSxyFtmS8UwwFP1bKhav5Jr7xi0m3hxgByBZhyoPb628EYgKvEYyOmbnR//XJM56JESDVny
+zg7p6QCCu8hkNMWu1OYt7SxiEQMrSAt4KNDWA73kUwbXC907wKhrCeh9xSdesjJTtu1te9I3LJZZHu2Lshy7HOYLP88SFqk1jrUmlcqB4hmwsi29n11flPm7lMN+Hidg+IpwB03SOYEG6BIyk5nUE875VvNGDVD4kawstBRUmg==
                                                                                 Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 128 of
                                                                                                                       136


                                                                                                                                                                                                            Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 30 Aug 2023 05:55:35 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   hpg/6fGmfa9J+pZbuA5XJLb3FW9ye6aUl8cv/pmeQMBWZE3qyV9CowvgOM6vKcmxp5qUP+3Hh6hzig/SziYds9lVa3V6PG++LwCF1lYOC4jDxT217bdpTJozxWi
   +AT06OZUejNZ8bkr0YuMEz9vdZfshn0CqgIJW9q21oU3rk16Q120BfKDftM4PteFIJGTU3DTNovtFEZDmzkAIojy12igsqxr7ELCf75L6t7QaE2lsG/hKPcGrCALcsfdMIQSOVScJncXtOnG5VNf9AFSfryvGHyhjhDVXrx9ILRDvBnqnOI58pO0y1V6iytzz+olcSp8EFr8gOZZKdjQkZaA/9g==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-30-Aug-2023-05-55-35-GMT.mhtml

   Hash (SHA256)
   492a7584aa976e79df1e77a54cc3ee0031a657c8213067f3a754117400385c9f

   Signature (PKCS#1v1.5)
GEhUuy1OQxNCPJ6W2CMrOcmp8/QWVWgOUYLkdMmkp1vXltGQik+tr9LLu7q8WeX13zP4n2xTqvWwhcgJT+nb5dG3iadZ7QymRw4ASX+CtOHSLTRjxtLBOTcac526pI3Ermi19m/eMDYV7jd2cJqkDa4fO6DMGibDZ4Gcrk3ln+jqUVz+JnVTI56lnn/
RsVYheARNkEiVa3cPcIfk5JVQpIkYgP1biWbdttDQUhHObHwDHZRFuAv5k/W/VF8D7yr6mKAE1tsV2HqvHQc50MuTJ3XLN3QqdNxQwl8YVltvkXQgSui2/cGgOxakHnDap992VqP141T+6S1lz81La/D+Tg==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 129 of
                                                                                                                      136


                                                                                                                                                                                                                              Investigator Name: Remmel Jae Inabangan




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: 3pcs Smiley Face Foil Helium Balloons Black one Balloons for Baby Girl Boy One Happy Dude Themed First 1st Hippie Groovy Birthday Party Decorations High Chair Photography Backdrops Supplies : Toys & Games

   URL
   https://www.amazon.com/dp/B0C3YLDD61

   Collection Date
   Tue, 15 Aug 2023 09:05:40 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   pvNHWiGNp4DJ99Fn1zKQPFSmd794nZzAOeSDUKPDZUwx/Tk1brVwRE1KQc+8erO9vchfpWUU1TIThgBBDkaBwvhaavXSa6yXj+yBUg+VztcSw1FczO/QRU4bCvwGq0iXESNPABTTgWez/ovEV
   +G33fro4WVXaBKWqOXdXR8OSECsDX7KC9hNc639TMZU2LaZ5RgBRvBitQKNXbWyQYf7xLm29uvNug2JUJ4JmOMyBlDaE6Zz42E2I0ncgiPB/LGbTr6b+52nW1RaDswj4O6lIcLv/9Qd9fdAAiSkIe8amb8yO2SMGOP96ZK/KJa+b8xOMtMkLED60oQDcQ7nOYs+tg==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0C3YLDD61]]_Tue,-15-Aug-2023-09-05-40-GMT.mhtml

   Hash (SHA256)
   5f2abef90ac8e9b23ac9ba83c30f07cd243ef3dc6201ca7fac87bf31578cd753

   Signature (PKCS#1v1.5)
cP0ywVGWcDrOtBh1UH4K+rBIS4yjdj72xolUSNtnSbFuP0MNmW7lCgJUtqUEY5muBLOgg7QEcrvFhIuSehPP30SocHls5vwIJQTqDyZIlnS8Ebetgamw0rOqLPuNU8ESTlx+e/QjYikYUvwBHddyhz8okz8c
+SNYZxHyy3NRkJmxRIxI2wdOIPZk9WtbQV4Hxtp5RJCUrFl0g3DmHkdcL00tmpYV7qXmJ1W9IPkwYMWV+sN/tXDiUs19wuoSDI940Skhc98w4sVfhxXmjRkVnokSfVA3KNw79wBAk84vREKE602UWl4ZQk0HJBilnpQJgGD/9v+zdDDkx6sVJ7taVA==
                                                                                 Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 130 of
                                                                                                                       136


                                                                                                                                                                                                        Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 15 Aug 2023 09:08:12 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   Wt23d8IW8FW6xu4e4P1MMDiw0uAgzEhJ/JKP9Ij3h1r30JEKKvofPDKYa8GQYtLtvfJVstIl6UaJ+xVT0oMCJvQ80sAxE2q3lB+LCW6NwFuK3ykYuS104wQVg1oxGEwKVSBR7DWSSCpY0bzk60b8RYMmedC3rUYiSoEWp+tAar+ahMwu9S+DqX7A2ZvAiryrWOu3l/vfM09hy3J3h/
   AQWD5jI9xdrY8pA48dYw63QM0vgTPpMn9ldCym92F0KQ2s1ag+8Oxyy4XCr2zZiVPJSdr3OzquUmh/NSOO4fE6Zk2LIOE/QTgdFc25mWpQuclAVeeO6oMCMMYM6dtitpyXIQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-15-Aug-2023-09-08-12-GMT.mhtml

   Hash (SHA256)
   7ac54603f8477dcd16f40bd01f598bc9c50bbe3d51f2638dc29faaf708147a33

   Signature (PKCS#1v1.5)
BQsbfBxjlGr31tW4buxohBLNx7Svgddp+I9jeizR9NyH44BavAe/J2DtauSJc/qDC9D6gBckSbiXmYCTiY+uOy6GhP1wUE7tZ1c5bTF5DNgmJCtWR9kw2D3Kq1/EgflpaslRiLGVgACnnx8Ox78UXkio9ZFv7pMhgae0C79Ibx1YE4A65woIvTWZrxoubG6ABgHlmwp7LAl2Kn7nOKBc3D1laGk/
qC8gii9hAijG54hxm/J+o2AutZ5Jk2jjj2CVVNcSWIc5AoD8BlKz8DGCX4UN4ywxVswhmmWmGPxpXGVtxtn48Oc5h6CPhc11Vf6Xmb1IbxIoCITQ98O12CFhaQ==
                                                                                     Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 131 of
                                                                                                                           136


                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                                  Evidence Collection Report
   Page Title
   10 of Smiley Face Mask funny design large fit 100% cotton nice feel black emoji | eBay

   URL
   https://www.ebay.com/itm/185150207168

   Collection Date
   Mon, 28 Aug 2023 10:15:28 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   k6ZXGOz4VnsB+GnPM8oyd18QgcxC7b20hauJd8Y2u3pUUUNMn6Y1tKaJmfBd1Pu/MWpCwpSic3LqpwpncTZ8OluAjCwrmgcW85OEG/ZFbr2oVZ0Te7wMEY6icxfDj/cOCfQ/krsZufCxu8QNUWTDjYfRIvuVcLsai/VWLHwbMdY=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]185150207168]]_Mon,-28-Aug-2023-10-15-28-GMT.pdf

   Hash (SHA256)
   72776083587b9db2decd371bc7b1f57fe75de762f6d3c26522a5171ecb8ef9a0

   Signature (PKCS#1v1.5)
TSEQm9cNKEsW911hC+NyHPaz3XOnFmtGns6a4T6PaLRIukM1bFpE3N9ApJiTTF0P3RFR+klyGUkX7bRBv0oPaB4UO+sQybycan0Mb4OPFAkiIDoSvcrTNarG/Y0rTk428J6oZyG4xbV0wkelXgwTKJolyV+KqA/ZZzyf/DHFNpo=
                                                                                 Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 132 of
                                                                                                                       136


                                                                                                                                                                                                              Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Mon, 28 Aug 2023 20:54:36 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   112.206.74.192

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   cF8+tyA8b5taBAnAylBrq/1+OX5Br1PYIat83KuOFEC+ENb193VEGRzoqVNzOoQpdUoSXzuIQYqdeL+k1s+140fNsWs6z8PBk2GojF9V9aDP8dXNGDZ8Tfc0aaWCRdyJea1hFe44Cb9lD+GyAb7tTwhFTZAvThJNTaLT4/60z+P7NNgDt0E0j6/ePrQD+OFHHzKbaQRyjGuVE
   +fFA7cBYFm6EJtItj9/86XVHN8mpJNHExFbeNGJ68vNMRPefEikjlhRz7eki3vVjXlopC0M8zv+UOTrN1vTXOKKPs29JEj1RgEjj14KE1iy1shmkStqAShNuTtPr2VFnGEdQrNbmg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Mon,-28-Aug-2023-20-54-36-GMT.mhtml

   Hash (SHA256)
   703a220883afb557e6628960a6b9b0a0c2305eac1843901a050f5f46e601238f

   Signature (PKCS#1v1.5)
TIskdqrdnKu8KrJqQpla1xLlAprJgkkOO+spr+jm+DJwrVjlCiq+52DwHj8vGGrhGCl3V5NU4Qo+n6h+lW/hUOHWNGIDuxh8W5fAPR7mnPYJc+wZlzE/xDqPZibg/YGeiapaEHDJ2KYXzeP48mcQrClvm9ua2Sph+nbAH1RGP1JjuNjftPRP5TxxwigESprjV5DW+CxpD2ttQMiyDA0MASkazzK0PzQRz8i
+LjWpBkqdYLzvw4o6f7GjjjB/ctdjAvsihE/LhuzfIJz57sngyWxIikJ8o7DoYlAP3Nojai8I1iGW3flDlu3q1fbzJ8H7Ttl4c9s7WlsehOPSCORTsQ==
                                                                                  Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 133 of
                                                                                                                        136


                                                                                                                                                                                                           Investigator Name: Remmel Jae Inabangan




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Smiley Face Ring, Emoji Ring, Solid 925 Sterling Silver Happy Face Ring, Gold Chunky Ring, Stacking Ring, Birthday Gift Ring, Friendship Ring : Handmade Products

   URL
   https://www.amazon.com/dp/B09NH2G7FB

   Collection Date
   Wed, 16 Aug 2023 11:44:45 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   KuVi4YQv/+Mf8WdeX1F+BD8EPI8S9EGmS+GpFyB5uvUA+LC12qhGzL3IKH2NbennZyKUIGuxFTcdGXjJEM4JwdiNH4gHh7MmKg/Do2S0o4GjabZM/X4g85U+YbP8K4G21bztS8BX7z9LqWpqIgpqVQqbTpiXvwpcPI6Wo2ZWbbIgugWqIeMQV5HWudBxYegCQ/
   +d0R1Z8CNtBL2mbIBJnrZ1fHVRM8cy7kXsINMaaEgdwHkygSKZYWyK1zFrWfmCyTxX2EEwvtPwmh1idk03ZG9LbxeIGQEsUno5d6TO9rKFeP3sVoTU0FlyqMZw973aDpJY8jJbxWfmBcWLAaiM2w==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B09NH2G7FB]]_Wed,-16-Aug-2023-11-44-45-GMT.mhtml

   Hash (SHA256)
   90754bb86cf993b9e3a3516f4ff9752e79d8acf6f5cc54cd3e34c9477ac9b815

   Signature (PKCS#1v1.5)
FjtbKA9BXxSNS4YbqNBzAOxsvAUupiZJs1tuLM48LefDBUzpGH/8NYlUiFQK9jSuwoiqnhPV5xtOW22X4GHemhkMPUr/RVmTH0g600SfAgXTPM/jaB5zm4HlfH/
FeVHBticrqdUQtl9ZfZtNTg7mHPxjLfzyK5H2cAUsxlMAxOMrG3nSL02yj943vjYmxeYTz5GueILizTiI79gfD6DqMCsL8l4YGP3qc1+JbVBhe+ShusVXFPzG4nwU24dC1aEohA5ts/5QZS4ggPqqzIj5RPT7O+BWnW76r6fB17oGwGfgILtFesskk31iU65+CAcXgnqHVI06+cKt9IKAC/i98Q==
                                                                                 Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 134 of
                                                                                                                       136


                                                                                                                                                                                                         Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 16 Aug 2023 11:46:35 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   t1R/CSzNYo0U+sNQ0i8aHukrzuF/bDYEXeRLV2mIVhhMbVlLABCO1AQnNUlGecnkfIET2dnwBDsZHbrDzXu/Xxb4gU2Ag4O1mCVYPbiSpLJmasv31IKEnVkPpQ0NvyYXWainj6IM
   +SV1HNh3zodanlmL0zmjWgc20avT0PbCeI4sNOf4jCbI67SGD3cry4vZ01G9cK2UTm9cCMdlJLwNnM50Qg9lDAb8FlngSEII38xtxTNKvnE85U4COiIh+tf/xD5sG/h/eryf6Yd5iz4xqH6Dcffdf3OIznKdQMZNVOlgeGptl9+pAqkt8K3SeUV8FwFBKjNL0ECLxRGhGNEsZw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-16-Aug-2023-11-46-35-GMT.mhtml

   Hash (SHA256)
   3f2fc7c94b71189b5a0e81a5af1960e0af1132ef7f689d0c59c65a76baf65dbc

   Signature (PKCS#1v1.5)
d1tQeaw3xJ5G1CaFb2aQ86PzB9s/ELDHRv1iXmWrhJypAdtUnLnHYfszZ8vVlSbspD0k2P5WjATfHg3pmRzaNvhwL2JF2SjDscovV/1yzQ+bem89wxDCqAj3JiIN9WggVgUFzvg8gOP+5cob1rBtW3NAHFnw
+WQb6FUMW9apaRcI31N0pK4McmC02+Pf8U45IygeexSY3VjOfVAhCaeVtF9bh7X5M6tcWRLj2toNxUFe5uID7D2JIccEEmvLn1Zff4likoKhfejunsVmAEeA6rqzrmppYJegu2bY7mdoyfCbjupz2ndhfIvAoehfiwEsEteMESMwm+3QKQBWevMDPg==
                                                                                Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 135 of
                                                                                                                      136


                                                                                                                                                                                                                Investigator Name: Michaela Borja




                                                                             Evidence Collection Report
   Page Title
   Smiley Face Beaded Choker Necklace Beads Colourful Cute Y2k Beach Summer | eBay

   URL
   https://www.ebay.com/itm/125879297576

   Collection Date
   Fri, 04 Aug 2023 01:08:15 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:49c4:8c00:5d47:e620:261b:674

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   EidiaZmmd9F5DvAbQ3s81b9v37uSXui3Oc+hdt7cjJDQHUkZWal2V7lFmvkv4j9gG6dvxN/lyx1pCUdCCQA9OhPW7aBHn2N+OeETizB51fI9QdlG3l+Kaq7Q39UZcx/l/RZGbb0xPtqyLF8YMntnDYeveSZxa9I/zZbIr/M6fnd14lA0C3A0TCKjXquOG5jQP9IjMi2u+vGMyH1C/
   BlGMmRTODtgtqTb65UIZcsIQQdpePWNGNdnO089rmb2aA8ruv+WyBW1TcnlrZnAm00n6KV/M0s7e/uu60psxftVlf2iDclqHJ8y2LoUVlD0jFxq3//OzXiJsJPmZcAiqHHwtg==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]125879297576]]_Fri,-04-Aug-2023-01-08-15-GMT.mhtml

   Hash (SHA256)
   4f785c03913c066230517313daf7d765c9b6c4e8b7303b3a9870d920d007dca6

   Signature (PKCS#1v1.5)
PMZqzHY1HruCB4RUViiPSC5tLEHTmyPbey85LQIIkxuNeVo0pCvWe0r4yzxD1ikaj0CGG/hDByDs/mPRo3JZpeEOWqCj8L3xPcYlBxlFSqlpfBoLBvZGlr3LfWXWyMpbt1Zhf/w9Wp8+iZ1glDvjc9ZcX/9gexN6/NvBwS0lnsai5LJTqIb3ZGi15pMI+O4AMLKoksA8QhjpuR2UCnrtmmYm51x+O/
SacqGbYkwJDnK58+vpenxO0yGkd6YOQOmyvsUSp7XHgS9t2FOJBZRpnTR2+i9MjZv7QndcAX/Q7Nlf7uY648ToRACc1Dtb69zfDdrT5cV539bMt9Za8qr/rg==
                                                                                   Case 1:23-cv-23799-RAR Document 5-10 Entered on FLSD Docket 10/18/2023 Page 136 of
                                                                                                                         136


                                                                                                                                                                                                            Investigator Name: Michaela Borja




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   2001:4450:49c4:8c00:5d47:e620:261b:674

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   bhQJt8aCPzXkm06SF+PsR8Niajya8K6fMFlrP1PFLlI0S/ZsAmQEJupksDCSkZ3g02UGRND55JXdPYeIwvEd2hT3uvMhdOP7RaBkwYPZAeG/hBxK3oaP+dBM7hDothFDpl13TudNn91xuk8Jqj1JICSENJw34aJB+1HUDwjQMjQE+047OH47RGVv8TEEa7BMCGWXcH16B/CT
   +SZ22IDVomAyZ8tceTtGE6fRSzpQifvxMUjltbJd0ygNcFfg+5dx+61x5/pZmu1EgPfv8Cs/i2Ol8ATU5rr+I0HFYAkeJ6iWKzUPM0DGJDuSN5AqiqCcP3XBs8u6x5A44W+uwskMMQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Fri,-04-Aug-2023-01-09-45-GMT.mhtml

   Hash (SHA256)
   2009bf10f7b5f33cab9b5475bd82de155bdfa3ea4f2f983d888313c24ea3bc7e

   Signature (PKCS#1v1.5)
QbcXwCIuasgUNTKZwz0OwhATnsFaoi3YkT9VlHdcveyhEjSPRmIoLL9DbUCC0zKoTMnpMTTnK9D103G+2pfnvwoEnl8Kq7Zd25CJYGmWDojPFxXe7vw1ZXL71P7Drl9OwTQkUsEb9LuQCW8WrzsIwsn9qfxEfd95ackQ9boaBg/gy9xWYgnhgPz2cuOdEjulj46Lu9kKiy2hgjDFAunlAto561ReplsZ/
dCNQ3skjqyOqRHEdiJd/5i+xfJCP7j3+bPj1trTMPlHR7JBItyoUNfzyw+KiHFOx+RQA7O3rB06UDL9CGKmJ5W3ngqcsSkI+Qq7j3dpy+VGbm4gedFQNQ==
